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                        ADRMOP,AO279,APPEAL,REFDIS,REFSET-EDL

                     U.S. District Court
         California Northern District (San Francisco)
      CIVIL DOCKET FOR CASE #: 3:17-cv-00939-WHA
                      Internal Use Only


Waymo LLC v. Uber Technologies, Inc. et al     Date Filed: 02/23/2017
Assigned to: Hon. William Alsup                Jury Demand: Both
Referred to: Magistrate Judge Jacqueline       Nature of Suit: 830 Patent
Scott Corley                                   Jurisdiction: Federal Question
            Magistrate Judge Elizabeth D.
Laporte (Settlement)
Case in other court: Federal Circuit, 17-
                    01904
Cause: 28:1338 Patent Infringement
Special Master
John Lee Cooper       represented by John L. Cooper
Farella Braun +                      Farella Braun & Martel LLP
Martel LLP                           Russ Building, 30th Floor
235 Montgomery                       235 Montgomery Street
Street, Suite 1700                   San Francisco, CA 94104
San Francisco, CA                    415/954-4400
94104                                Fax: 415-954-4480
415-954-4400                         Email: jcooper@fbm.com
Special Master                       ATTORNEY TO BE NOTICED
Plaintiff
Waymo LLC             represented by Charles Kramer Verhoeven
                                     Quinn Emanuel Urquhart & Sullivan,
                                     LLP
                                     50 California Street, 22nd Floor
                                     San Francisco, CA 94111
                                     (415) 875-6600



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                                      Fax: (415) 875-6700
                                      Email:
                                      charlesverhoeven@quinnemanuel.com

                                      LEAD ATTORNEY
                                      ATTORNEY TO BE NOTICED

                                      Andrea Pallios Roberts
                                      Quinn Emanuel Urquhart Oliver &
                                      Hedges LLP
                                      50 California Street, 22nd Floor
                                      San Francisco, CA 94111
                                      415-875-6600
                                      Fax: 415-875-6700
                                      Email:
                                      andreaproberts@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      Andrew Michael Holmes
                                      Quinn Emanuel Urquhart & Sullivan,
                                      LLP
                                      50 California Street
                                      22nd Floor
                                      San Francisco, CA 94111
                                      415-875-6600
                                      Fax: 415-875-6700
                                      Email:
                                      drewholmes@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      David Andrew Perlson
                                      Quinn Emanuel Urquhart & Sullivan,
                                      LLP
                                      50 California Street, 22nd Floor
                                      San Francisco, CA 94111
                                      415-875-6600



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                                      Fax: 415-875-6700
                                      Email:
                                      davidperlson@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      Felipe Corredor
                                      Quinn Emanuel Urquhart & Sullivan,
                                      LLP
                                      50 California Street, 22nd Floor
                                      San Francisco, CA 94111
                                      415-875-6600
                                      Fax: 415-875-6700
                                      Email:
                                      felipecorredor@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      Grant Nicholas Margeson
                                      Quinn Emanuel Urquhart & Sullivan,
                                      LLP
                                      50 California Street, 22nd Floor
                                      San Francisco, CA 94111
                                      415-875-6600
                                      Fax: 415-875-6700
                                      Email:
                                      grantmargeson@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      James Dubois Judah
                                      Quinn Emanuel Urquhart & Sullivan,
                                      LLP
                                      50 California Street, 22nd Floor
                                      San Francisco, CA 94111
                                      (415) 875-6600
                                      Fax: (415) 875-6700
                                      Email:
                                      jamesjudah@quinnemanuel.com



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                                      ATTORNEY TO BE NOTICED

                                      Jared Weston Newton
                                      1299 Pennsylvania Ave NW
                                      Suite 825
                                      Washington, DC 20004
                                      202-538-8108
                                      Email:
                                      jarednewton@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      Jeffrey William Nardinelli
                                      Quinn Emanuel Urquhart and Sullivan
                                      LLP
                                      50 California Street, 22nd Floor
                                      San Francisco, CA 94111
                                      415-875-6600
                                      Fax: 415-875-6700
                                      Email:
                                      jeffnardinelli@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      John William McCauley , IV
                                      QUINN EMANUEL URQUHART &
                                      SULLIVAN LLP
                                      50 California Street
                                      22nd Floor
                                      San Francisco, CA 94111
                                      475-875-6600
                                      Fax: 415-875-6700
                                      Email:
                                      johnmccauley@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      John M. Neukom
                                      Quinn Emanuel Urquhart & Sullivan,



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                                      LLP
                                      50 California Street, 22nd Floor
                                      San Francisco, CA 94111
                                      (415) 875-6600
                                      Fax: (415) 875-6700
                                      Email:
                                      johnneukom@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      Jordan Ross Jaffe
                                      Quinn Emanuel Urquhart & Sullivan,
                                      LLP
                                      50 California Street, 22nd Floor
                                      San Francisco, CA 94111
                                      (415) 875-6600
                                      Fax: (415) 875-6700
                                      Email:
                                      jordanjaffe@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      Joshua Lee Sohn
                                      Quinn Emmanuel Urqhart Oliver
                                      Hedges
                                      50 California Street
                                      22nd Floor
                                      San Francisco, CA 94111
                                      415-875-6600
                                      Fax: 415 875 6700
                                      Email:
                                      joshuasohn@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      Kevin Alexander Smith
                                      Quinn Emmanuel et al
                                      50 California St.
                                      22nd Floor



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CAND-ECF                                                         Page 6 of 202
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                                      SF, CA 94111
                                      415-875-6383
                                      Fax: 4158756700
                                      Email:
                                      kevinsmith@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      Leo Patrick Cunningham
                                      Wilson Sonsini Goodrich & Rosati
                                      650 Page Mill Road
                                      Palo Alto, CA 94304-1050
                                      650-320-4573
                                      Fax: 650-565-5100
                                      Email: lcunningham@wsgr.com
                                      ATTORNEY TO BE NOTICED

                                      Lindsay Cooper
                                      Quinn Emanuel
                                      50 California
                                      San Francisco, CA 94111
                                      415-875-6449
                                      Email:
                                      lindsaycooper@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

                                      Melissa J Baily
                                      Quinn Emanuel Urquhart & Sullivan,
                                      LLP
                                      50 California Street, 22nd Floor
                                      San Francisco, CA 94111
                                      (415) 875-6600
                                      Fax: (415) 875-6700
                                      Email:
                                      melissabaily@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED




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CAND-ECF                                                         Page 7 of 202
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                                      Patrick Thomas Schmidt
                                      Quinn Emanuel, LLP
                                      865 S. Figueroa, St.
                                      Los Angeles, CA 90017
                                      213-443-3000
                                      Email:
                                      patrickschmidt@quinnemanuel.com
                                      ATTORNEY TO BE NOTICED

V.
Defendant
Uber Technologies, represented by Aaron James Bergstrom
Inc.                              Uber Technologies, Inc.
                                  1455 Market Street
                                  4th Floor
                                  San Francisco, CA 94103
                                  4155337652
                                  Email: abergstrom@uber.com
                                  LEAD ATTORNEY
                                  ATTORNEY TO BE NOTICED

                                      Arturo J. Gonzalez
                                      Morrison & Foerster LLP
                                      425 Market Street
                                      San Francisco, CA 94105
                                      (415) 268-7020
                                      Email: agonzalez@mofo.com
                                      LEAD ATTORNEY
                                      ATTORNEY TO BE NOTICED

                                      Angela Lucia Padilla
                                      VMware, Inc.
                                      3401 Hillview Avenue
                                      Palo Alto, CA 94304
                                      650-427-5000



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CAND-ECF                                                         Page 8 of 202
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                                      Fax: 650-475-5101
                                      Email: angela.padilla@uber.com
                                      ATTORNEY TO BE NOTICED

                                      Daniel Pierre Muino
                                      Morrison & Foerster LLP
                                      425 Market Street
                                      San Francisco, CA 94105-2482
                                      415-268-7475
                                      Email: dmuino@mofo.com
                                      ATTORNEY TO BE NOTICED

                                      Edward Takashima
                                      Boies, Schiller, and Flexner LLP
                                      401 Wilshire Boulevard, Suite 850
                                      Santa Monica, CA 90401
                                      310-752-2400
                                      Fax: 310-752-2490
                                      Email: etakashima@bsfllp.com
                                      ATTORNEY TO BE NOTICED

                                      Eric Akira Tate
                                      Morrison & Foerster LLP
                                      425 Market Street
                                      San Francisco, CA 94105
                                      415-268-6915
                                      Fax: 415-268-7522
                                      Email: etate@mofo.com
                                      ATTORNEY TO BE NOTICED

                                      Esther Kim Chang
                                      Morrison & Foerster LLP
                                      425 Market Street
                                      San Francisco, CA 94105
                                      (415) 268-7000
                                      Fax: (415) 268-7522



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CAND-ECF                                                         Page 9 of 202
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                                      Email: EChang@mofo.com
                                      ATTORNEY TO BE NOTICED

                                      Hamish Hume
                                      Boies Schiller Flexner
                                      1401 New York Ave., NW
                                      Washington, DC 20005
                                      202-237-2727
                                      Fax: 202-237-6131
                                      Email: hhume@bsfllp.com
                                      ATTORNEY TO BE NOTICED

                                      Jessica E Phillips
                                      Boies Schiller Flexner LLP
                                      1401 New York Avenue, NW
                                      11th Floor
                                      Washington, DC 20005
                                      202-895-7592
                                      Email: jphillips@bsfllp.com
                                      ATTORNEY TO BE NOTICED

                                      Karen Leah Dunn
                                      Boies, Schiller and Flexner LLP
                                      5301 Wisconsin Avenue, NW
                                      Washington, DC 20015
                                      202-237-2727
                                      Fax: 202-237-6131
                                      Email: kdunn@bsfllp.com
                                      ATTORNEY TO BE NOTICED

                                      Kyle N. Smith
                                      Boies, Schiller and Flexner LLP
                                      1401 New York Avenue, N.W.
                                      Washington, DC 20005
                                      202-895-7585
                                      Fax: 202-237-6131



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                                       Email: ksmith@bsfllp.com
                                       ATTORNEY TO BE NOTICED

                                       Martha Lea Goodman
                                       Boies, Schiller and Flexner LLP
                                       5301 Wisconsin Avenue, NW
                                       Washington, DC 20015
                                       202-237-2727
                                       Fax: 202-237-6131
                                       Email: mgoodman@bsfllp.com
                                       ATTORNEY TO BE NOTICED

                                       Matthew Ian Kreeger
                                       Morrison & Foerster LLP
                                       425 Market Street, 32nd Floor
                                       San Francisco, CA 94105-2482
                                       415-268-7000
                                       Fax: 415.268.7522
                                       Email: mkreeger@mofo.com
                                       ATTORNEY TO BE NOTICED

                                       Meredith Richardson Dearborn
                                       Boies Schiller Flexner LLP
                                       435 Tasso Street
                                       Suite 205
                                       Palo Alto, CA 94301
                                       (650) 445-6400
                                       Fax: (650) 329-8507
                                       Email: mdearborn@bsfllp.com
                                       ATTORNEY TO BE NOTICED

                                       Michael A. Brille
                                       Boies, Schiller & Flexner LLP
                                       5301 Wisconsin Ave NW
                                       Washington, DC 20015
                                       (202) 237-2727



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                                       Fax: (202) 237-6131
                                       Email: mbrille@bsfllp.com
                                       ATTORNEY TO BE NOTICED

                                       Michael A. Jacobs
                                       Morrison & Foerster LLP
                                       425 Market Street
                                       San Francisco, CA 94105-2482
                                       (415) 268-7455
                                       Fax: (415) 268-7522
                                       Email: mjacobs@mofo.com
                                       ATTORNEY TO BE NOTICED

                                       Michael Darron Jay
                                       Boies Schiller & Flexner LLP
                                       401 Wilshire Boulevard, Suite 850
                                       Santa Monica, CA 90401
                                       310-752-2400
                                       Fax: 310-752-2490
                                       Email: mjay@bsfllp.com
                                       ATTORNEY TO BE NOTICED

                                       Michelle Ching Youn Yang
                                       Morrison Foerster LLP
                                       2000 Pennsylvania Avenue, NW
                                       Washington, DC 20006
                                       202-887-1537
                                       Email: myang@mofo.com
                                       ATTORNEY TO BE NOTICED

                                       Nicole Townsend Bartow
                                       Uber Technologies, Inc.
                                       1455 Market Street, 4th Floor
                                       San Francisco, CA 94103
                                       415 533-7652
                                       Email: nbartow@uber.com



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CAND-ECF                                                        Page 12 of 202
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                                       ATTORNEY TO BE NOTICED

                                       Rudolph Kim
                                       Morrison & Foerster LLP
                                       755 Page Mill Road
                                       Palo Alto, CA 94304
                                       650-813-5869
                                       Fax: 650-494-0792
                                       Email: rudykim@mofo.com
                                       ATTORNEY TO BE NOTICED

                                       Sylvia Rivera
                                       Morrison & Foerster LLP
                                       555 W. Fifth Street
                                       Suite 3500
                                       Los Angeles, CA 90013-1024
                                       213-892-5734
                                       Fax: 213-892-5454
                                       Email: srivera@mofo.com
                                       ATTORNEY TO BE NOTICED

                                       Wendy Joy Ray
                                       Morrison & Foerster LLP
                                       707 Wilshire Boulevard
                                       Suite 6000
                                       Los Angeles, CA 90017
                                       213.892.5200
                                       Fax: 213.892.5454
                                       Email: wray@mofo.com
                                       ATTORNEY TO BE NOTICED
Defendant
Otto Trucking LLC represented by David Shane Brun
                                 Goodwin Procter LLP
                                 Three Embarcadero Center
                                 San Francisco, CA 94111



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                                       415-733-6000
                                       Fax: 415-677-9041
                                       Email: sbrun@goodwinlaw.com
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Brett Michael Schuman
                                       Goodwin Procter LLP
                                       Three Embarcadero Center
                                       San Francisco, CA 94111
                                       415-733-6000
                                       Fax: 415-677-9041
                                       Email: bschuman@goodwinlaw.com
                                       ATTORNEY TO BE NOTICED

                                       Hayes Phillips Hyde
                                       Goodwin Procter LLP
                                       Three Embarcadero Center
                                       San Francisco, CA 94111
                                       415-733-6000
                                       Fax: 415-677-9041
                                       Email: hhyde@goodwinlaw.com
                                       ATTORNEY TO BE NOTICED

                                       Hong-An Vu
                                       Goodwin Procter LLP
                                       601 S. Figueroa St
                                       41St Floor
                                       Los Angeles, CA 90017
                                       213.426.2500
                                       Fax: 213.623.1673
                                       Email: hvu@goodwinlaw.com
                                       ATTORNEY TO BE NOTICED

                                       Indra Neel Chatterjee
                                       Goodwin Procter LLP



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                                       135 Commonwealth Drive
                                       Menlo Park, CA 94025
                                       (650) 752-3100
                                       Fax: (650) 853-1038
                                       Email:
                                       NChatterjee@goodwinlaw.com
                                       ATTORNEY TO BE NOTICED

                                       James Lin
                                       Goodwin Procter LLP
                                       135 Commonwealth Dr.
                                       Menlo Park, CA 94025
                                       (650) 752-3100
                                       Fax: (650) 853-1038
                                       Email: JLin@goodwinlaw.com
                                       ATTORNEY TO BE NOTICED

                                       Rachel Melissa Walsh
                                       Goodwin Procter LLP
                                       Three Embarcadero Center
                                       24th Floor
                                       San Francisco, CA 94111
                                       (415) 733-6000
                                       Fax: (415) 677-9041
                                       Email: RWalsh@goodwinlaw.com
                                       ATTORNEY TO BE NOTICED
Defendant
Ottomotto LLC          represented by Aaron James Bergstrom
                                      (See above for address)
                                      LEAD ATTORNEY
                                      ATTORNEY TO BE NOTICED

                                       Arturo J. Gonzalez
                                       (See above for address)
                                       LEAD ATTORNEY



https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?906469016259996-... 6/30/2017
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                                       ATTORNEY TO BE NOTICED

                                       Daniel Pierre Muino
                                       (See above for address)
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Eric Akira Tate
                                       (See above for address)
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Esther Kim Chang
                                       (See above for address)
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Hamish Hume
                                       (See above for address)
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Michael A. Jacobs
                                       (See above for address)
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Rudolph Kim
                                       (See above for address)
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Angela Lucia Padilla
                                       (See above for address)
                                       ATTORNEY TO BE NOTICED




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                                       Edward Takashima
                                       (See above for address)
                                       ATTORNEY TO BE NOTICED

                                       Karen Leah Dunn
                                       (See above for address)
                                       ATTORNEY TO BE NOTICED

                                       Martha Lea Goodman
                                       (See above for address)
                                       ATTORNEY TO BE NOTICED

                                       Michael A. Brille
                                       (See above for address)
                                       ATTORNEY TO BE NOTICED

                                       Nicole Townsend Bartow
                                       (See above for address)
                                       ATTORNEY TO BE NOTICED

                                       Sylvia Rivera
                                       (See above for address)
                                       ATTORNEY TO BE NOTICED

                                       Wendy Joy Ray
                                       (See above for address)
                                       ATTORNEY TO BE NOTICED

V.
Respondent
Stroz Friedberg,       represented by Robert Burkart Ellis
LLC                                   Kirkland and Ellis LLP
                                      300 North LaSalle
                                      Chicago, IL 60654
                                      312-862-2309



https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?906469016259996-... 6/30/2017
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                                       Email: robert.ellis@kirkland.com
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Kevin K Chang
                                       555 California Street
                                       Suite 2700
                                       San Francisco, CA 94104
                                       415-439-1400
                                       Fax: 415-439-1500
                                       Email: kevin.chang@kirkland.com
                                       ATTORNEY TO BE NOTICED

V.
Intervenor Dft
Anthony                represented by Amy E Craig
Levandowski                           Ramsey & Ehrlich LLP
                                      803 Hearst Ave.
                                      Berkeley, CA 94710
                                      (510) 548-3600
                                      Fax: (510) 291-3060
                                      Email: amy@ramsey-ehrlich.com
                                      ATTORNEY TO BE NOTICED

                                       Ismail Jomo Ramsey
                                       Ramsey & Ehrlich LLP
                                       803 Hearst Avenue
                                       Berkeley, CA 94710
                                       510-548-3600
                                       Fax: 510-291-3060
                                       Email: izzy@ramsey-ehrlich.com
                                       ATTORNEY TO BE NOTICED

                                       Miles F. Ehrlich
                                       Ramsey & Ehrlich LLP



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                                          803 Hearst Avenue
                                          Berkeley, CA 94710
                                          510-548-3600
                                          Fax: 510-291-3060
                                          Email: miles@ramsey-ehrlich.com
                                          ATTORNEY TO BE NOTICED
Miscellaneous
Lyft, Inc.                represented by Carolyn Hoecker Luedtke
                                         Munger, Tolles Olson LLP
                                         560 Mission Street
                                         27th Floor
                                         San Francisco, CA 94105
                                         415/512-4027
                                         Fax: 415-644-6927
                                         Email: carolyn.luedtke@mto.com
                                         LEAD ATTORNEY
                                         ATTORNEY TO BE NOTICED

V.
Intervenor
Lior Ron                  represented by Jonathan Alan Patchen
                                         Taylor & Patchen, LLP
                                         One Ferry Building
                                         Suite 355
                                         San Francisco, CA 94111
                                         415-788-8200
                                         Fax: 415-788-8208
                                         Email: jpatchen@taylorpatchen.com
                                         LEAD ATTORNEY
                                         ATTORNEY TO BE NOTICED


 Date
                     #       Docket Text
 Filed



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 02/23/2017            1 COMPLAINT for Violation of Defense of Trade
                         Secret Act; Demand for Jury Trial against Otto
                         Trucking LLC, Ottomotto LLC, Uber
                         Technologies, Inc. (Filing Fee $ 400.00, receipt
                         number 0971-11180330.). Filed by Waymo LLC.
                         (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                         Exhibit C, # 4 Civil Cover Sheet)(Verhoeven,
                         Charles) (Filed on 2/23/2017) Modified on
                         2/28/2017 (gbaS, COURT STAFF). (Entered:
                         02/23/2017)
 02/23/2017            2 Proposed Summons. (Verhoeven, Charles) (Filed
                         on 2/23/2017) (Entered: 02/23/2017)
 02/23/2017            3 Proposed Summons. (Verhoeven, Charles) (Filed
                         on 2/23/2017) (Entered: 02/23/2017)
 02/23/2017            4 Proposed Summons. (Verhoeven, Charles) (Filed
                         on 2/23/2017) (Entered: 02/23/2017)
 02/23/2017            5 Certificate of Interested Entities by Waymo LLC
                         Pursuant to Civil L.R. 3-15 and FRCP 7.1
                         (Verhoeven, Charles) (Filed on 2/23/2017)
                         (Entered: 02/23/2017)
 02/23/2017            6 NOTICE by Waymo LLC Report on the Filing or
                         Determination of an Action Regarding a Patent
                         or Trademark (Verhoeven, Charles) (Filed on
                         2/23/2017) (Entered: 02/23/2017)
 02/24/2017            7 Case assigned to Magistrate Judge Joseph C.
                         Spero.

                          Counsel for plaintiff or the removing party is
                          responsible for serving the Complaint or Notice
                          of Removal, Summons and the assigned judge's
                          standing orders and all other new case documents
                          upon the opposing parties. For information, visit
                          E-Filing A New Civil Case at



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                          http://cand.uscourts.gov/ecf/caseopening.

                          Standing orders can be downloaded from the
                          court's web page at
                          www.cand.uscourts.gov/judges. Upon receipt, the
                          summons will be issued and returned
                          electronically. Counsel is required to send
                          chambers a copy of the initiating documents
                          pursuant to L.R. 5-1(e)(7). A scheduling order
                          will be sent by Notice of Electronic Filing (NEF)
                          within two business days. Consent/Declination
                          due by 3/10/2017. (as, COURT STAFF) (Filed on
                          2/24/2017) (Entered: 02/24/2017)
 02/27/2017            8 CONSENT/DECLINATION to Proceed Before a
                         US Magistrate Judge by Waymo LLC..
                         (Verhoeven, Charles) (Filed on 2/27/2017)
                         (Entered: 02/27/2017)
 02/28/2017            9 Initial Case Management Scheduling Order
                         with ADR Deadlines: Case Management
                         Statement due by 5/19/2017. Case
                         Management Conference set for 5/26/2017
                         02:00 PM in Courtroom G, 15th Floor, San
                         Francisco. (gbaS, COURT STAFF) (Filed on
                         2/28/2017) (Entered: 02/28/2017)
 02/28/2017           10 Summons Issued as to Otto Trucking LLC. (gbaS,
                         COURT STAFF) (Filed on 2/28/2017) (Entered:
                         02/28/2017)
 02/28/2017           11 Summons Issued as to Ottomotto LLC. (gbaS,
                         COURT STAFF) (Filed on 2/28/2017) (Entered:
                         02/28/2017)
 02/28/2017           12 Summons Issued as to Uber Technologies, Inc..
                         (gbaS, COURT STAFF) (Filed on 2/28/2017)
                         (Entered: 02/28/2017)




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 02/28/2017           13 REPORT on the filing of an action regarding
                         Patent Infringement. (cc: form mailed to register).
                         (gbaS, COURT STAFF) (Filed on 2/28/2017)
                         (Entered: 02/28/2017)
 03/01/2017           14 CLERK'S NOTICE of Impending Reassignment
                         to U.S. District Judge (klhS, COURT STAFF)
                         (Filed on 3/1/2017) (Entered: 03/01/2017)
 03/01/2017           15 NOTICE of Appearance by John M. Neukom
                         (Neukom, John) (Filed on 3/1/2017) (Entered:
                         03/01/2017)
 03/01/2017           16 ORDER, Case reassigned to William Alsup.
                         Magistrate Judge Joseph C. Spero no longer
                         assigned to the case. This case is assigned to a
                         judge who participates in the Cameras in the
                         Courtroom Pilot Project. See General Order
                         65 and http://cand.uscourts.gov/cameras.
                         Signed by Executive Committee on 3/1/17.
                         (Attachments: # 1 Notice of Eligibility for
                         Video Recording)(haS, COURT STAFF) (Filed
                         on 3/1/2017) (Entered: 03/01/2017)
 03/01/2017           17 NOTICE of Appearance by Melissa J Baily
                         (Baily, Melissa) (Filed on 3/1/2017) (Entered:
                         03/01/2017)
 03/01/2017           18 NOTICE of Appearance by Jordan Ross Jaffe
                         (Jaffe, Jordan) (Filed on 3/1/2017) (Entered:
                         03/01/2017)
 03/01/2017           19 NOTICE of Appearance by David Andrew
                         Perlson (Perlson, David) (Filed on 3/1/2017)
                         (Entered: 03/01/2017)
 03/02/2017           20 CLERK'S NOTICE Scheduling Initial CMC on
                         Reassignment. (This is a text-only entry generated
                         by the court. There is no document associated with
                         this entry.) Case Management Statement due by


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                          5/11/2017. Initial Case Management Conference
                          set for 5/18/2017 11:00 AM in Courtroom 8, 19th
                          Floor, San Francisco. Standing orders can be
                          downloaded from the court's web page at
                          www.cand.uscourts.gov/whaorders. (dl, COURT
                          STAFF) (Filed on 3/2/2017) (Entered:
                          03/02/2017)
 03/08/2017           21 Clerk's Notice of Video Recording Request.
                         Video Camera hearing set for 5/18/2017 11:00
                         AM. Objections to Video Recording due
                         3/15/2017. (dl, COURT STAFF) (Filed on
                         3/8/2017) (Entered: 03/08/2017)
 03/09/2017           22 NOTICE of Appearance by James Dubois Judah
                         (Judah, James) (Filed on 3/9/2017) (Entered:
                         03/09/2017)
 03/10/2017           23 AMENDED COMPLAINT against All
                         Defendants. Filed byWaymo LLC. (Attachments:
                         # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                         Exhibit D)(Verhoeven, Charles) (Filed on
                         3/10/2017) (Entered: 03/10/2017)
 03/10/2017           24 MOTION for Preliminary Injunction filed by
                         Waymo LLC. Motion Hearing set for 4/27/2017
                         08:00 AM in Courtroom 8, 19th Floor, San
                         Francisco before Hon. William Alsup. Responses
                         due by 3/24/2017. Replies due by 3/31/2017.
                         (Attachments: # 1 Proposed Order, # 2
                         Declaration Public Redacted Version of Brown
                         Declaration, # 3 Declaration Public Redacted
                         Version of Droz Declaration, # 4 Exhibit Droz
                         Exhibit A, # 5 Exhibit Droz Exhibit B, # 6
                         Exhibit Droz Exhibit C, # 7 Exhibit Droz Exhibit
                         D, # 8 Exhibit Droz Exhibit E, # 9 Exhibit Droz
                         Exhibit F, # 10 Exhibit Droz Exhibit G, # 11
                         Exhibit Droz Exhibit H, # 12 Exhibit Droz



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                          Exhibit I, # 13 Declaration Public Redacted
                          Version of Grossman Declaration, # 14 Exhibit
                          Grossman Exhibit 1, # 15 Exhibit Public
                          Redacted Version of Janosko Declaration, # 16
                          Declaration Public Redacted Version of Willis
                          Declaration, # 17 Exhibit Willis Exhibit A, # 18
                          Exhibit Willis Exhibit B, # 19 Exhibit Willis
                          Exhibit C, # 20 Exhibit Willis Exhibit D, # 21
                          Exhibit Willis Exhibit E, # 22 Exhibit Willis
                          Exhibit F, # 23 Exhibit Willis Exhibit G, # 24
                          Exhibit Willis Exhibit H, # 25 Exhibit Willis
                          Exhibit I, # 26 Declaration Public Redacted
                          Version of Kintz Declaration, # 27 Appendix
                          Kintz Appendix A, # 28 Appendix Public
                          Redacted Version of Kintz Appendix B, # 29
                          Exhibit Kintz Exhibit A, # 30 Exhibit Kintz
                          Exhibit B)(Verhoeven, Charles) (Filed on
                          3/10/2017) (Entered: 03/10/2017)
 03/10/2017           25 Administrative Motion to File Under Seal filed by
                         Waymo LLC. (Attachments: # 1 Declaration
                         Declaration of James Judah in Support of
                         Administrative Motion to File Under Seal, # 2
                         Proposed Order, # 3 Unredacted Version of
                         Waymo's Motion for a Preliminary Injunction, # 4
                         Redacted Version of Waymo's Motion for a
                         Preliminary Injunction, # 5 Redacted Version of
                         Jaffe Declaration in Support of Waymo's Motion,
                         # 6 Unredacted Version of Jaffe Declaration in
                         Support of Waymo's Motion, # 7 Unredacted
                         Version of Jaffe Ex. 1, # 8 Unredacted Version of
                         Jaffe Ex. 2, # 9 Unredacted Version of Jaffe Ex.
                         3, # 10 Unredacted Version of Jaffe Ex. 4, # 11
                         Unredacted Version of Jaffe Ex. 5, # 12
                         Unredacted Version of Jaffe Ex. 6, # 13
                         Unredacted Version of Jaffe Ex. 7, # 14
                         Unredacted Version of Jaffe Ex. 8, # 15


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                          Unredacted Version of Jaffe Ex. 9, # 16
                          Unredacted Version of Jaffe Ex. 10, # 17
                          Unredacted Version of Jaffe Ex. 11, # 18
                          Unredacted Version of Jaffe Ex. 12, # 19
                          Unredacted Version of Jaffe Ex. 13, # 20
                          Unredacted Version of Jaffe Ex. 14, # 21
                          Unredacted Version of Jaffe Ex. 15, # 22
                          Unredacted Version of Jaffe Ex. 16, # 23
                          Unredacted Version of Jaffe Ex. 17, # 24
                          Unredacted Version of Jaffe Ex. 18, # 25
                          Unredacted Version of Jaffe Ex. 19, # 26
                          Unredacted Version of Jaffe Ex. 20, # 27
                          Unredacted Version of Jaffe Ex. 21, # 28
                          Redacted Versions of Jaffe Exs. 1-21, # 29
                          Unredacted Version of Brown Declaration in
                          Support of Waymo's Motion, # 30 Redacted
                          Version of Brown Declaration in Support of
                          Waymo's Motion, # 31 Unredacted Version of
                          Droz Declaration in Support of Waymo's Motion,
                          # 32 Redacted Version of Droz Declaration in
                          Support of Waymo's Motion, # 33 Unredacted
                          Version of Droz Ex. A, # 34 Unredacted Version
                          of Droz Ex. B, # 35 Unredacted Version of Droz
                          Ex. C, # 36 Unredacted Version of Droz Ex. D, #
                          37 Unredacted Version of Droz Ex. E, # 38
                          Unredacted Version of Droz Ex. F, # 39
                          Unredacted Version of Droz Ex. G, # 40
                          Unredacted Version of Droz Ex. H, # 41
                          Unredacted Version of Droz Ex. I, # 42 Redacted
                          Versions of Droz Exs. A-I, # 43 Unredacted
                          Version of Grossman Declaration in Support of
                          Waymo's Motion, # 44 Redacted Version of
                          Grossman Declaration in Support of Waymo's
                          Motion, # 45 Unredacted Version of Grossman
                          Ex. 1, # 46 Redacted Version of Grossman Ex. 1,
                          # 47 Unredacted Version of Janosko Declaration



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                          in Support of Waymo's Motion, # 48 Redacted
                          Version of Janosko Declaration in Support of
                          Waymo's Motion, # 49 Unredacted Version of
                          Willis Declaration in Support of Waymo's
                          Motion, # 50 Redacted Version of Willis
                          Declaration in Support of Waymo's Motion, # 51
                          Unredacted Version of Willis Ex. A, # 52
                          Unredacted Version of Willis Ex. B, # 53
                          Unredacted Version of Willis Ex. C, # 54
                          Unredacted Version of Willis Ex. D, # 55
                          Unredacted Version of Willis Ex. E, # 56
                          Unredacted Version of Willis Ex. F, # 57
                          Unredacted Version of Willis Ex. G, # 58
                          Unredacted Version of Willis Ex. H, # 59
                          Unredacted Version of Willis Ex. I, # 60
                          Redacted Version of Willis Exs. A-I, # 61
                          Unredacted Version of Kintz Declaration in
                          Support of Waymo's Motion, # 62 Redacted
                          Version of Kintz Declaration in Support of
                          Waymo's Motion, # 63 Unredacted Version of
                          Kintz Appendix B, # 64 Redacted Version of
                          Kintz Appendix B)(Verhoeven, Charles) (Filed
                          on 3/10/2017) Modified on 3/13/2017 (alsS,
                          COURT STAFF). (Entered: 03/10/2017)
 03/10/2017           26 MOTION to Expedite Discovery filed by Waymo
                         LLC. (Attachments: # 1 Proposed Order)
                         (Verhoeven, Charles) (Filed on 3/10/2017)
                         (Entered: 03/10/2017)
 03/10/2017           27 Declaration of Jordan R. Jaffe in Support of 24
                         MOTION for Preliminary Injunction , 26
                         MOTION to Expedite Discovery filed byWaymo
                         LLC. (Attachments: # 1 Redacted Versions of
                         Jaffe Exs. 1-21, # 2 Exhibit 22, # 3 Exhibit 23, #
                         4 Exhibit 24, # 5 Exhibit 25, # 6 Exhibit 26, # 7
                         Exhibit 27, # 8 Exhibit 28, # 9 Exhibit 29, # 10



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                          Exhibit 30, # 11 Exhibit 31, # 12 Exhibit 32, # 13
                          Exhibit 33, # 14 Exhibit 34, # 15 Exhibit 35, # 16
                          Exhibit 36, # 17 Exhibit 37, # 18 Exhibit 38, # 19
                          Exhibit 39, # 20 Exhibit 40, # 21 Exhibit 41, # 22
                          Exhibit 42, # 23 Exhibit 43, # 24 Exhibit 44, # 25
                          Exhibit 45, # 26 Exhibit 46, # 27 Exhibit 47, # 28
                          Exhibit 48, # 29 Exhibit 49, # 30 Exhibit 50, # 31
                          Exhibit 51, # 32 Exhibit 52, # 33 Exhibit 53, # 34
                          Exhibit 54, # 35 Exhibit 55, # 36 Exhibit 56, # 37
                          Exhibit 57, # 38 Exhibit 58, # 39 Exhibit 59, # 40
                          Exhibit 60)(Related document(s) 24 , 26 ) (Jaffe,
                          Jordan) (Filed on 3/10/2017) (Entered:
                          03/10/2017)
 03/10/2017           28 ADMINISTRATIVE MOTION to Shorten Time
                         for Briefing and Hearing on Waymo's Motion for
                         Expedited Discovery re 26 MOTION to Expedite
                         Discovery filed by Waymo LLC. Responses due
                         by 3/14/2017. (Attachments: # 1 Declaration
                         Declaration of Jordan R. Jaffe in Support of
                         Administrative Motion, # 2 Proposed Order)
                         (Verhoeven, Charles) (Filed on 3/10/2017)
                         (Entered: 03/10/2017)
 03/10/2017           29 NOTICE OF NON-RECUSAL AND
                         DEADLINE FOR MOTIONS TO
                         DISQUALIFY. Signed by Judge Alsup on
                         3/10/17. (alsS, COURT STAFF) (Filed on
                         3/10/2017) (Additional attachment(s) added on
                         3/10/2017: # 1 Certificate/Proof of Service)
                         (alsS, COURT STAFF). (Entered: 03/10/2017)
 03/10/2017           30 NOTICE of Appearance by Arturo J. Gonzalez
                         (Gonzalez, Arturo) (Filed on 3/10/2017) (Entered:
                         03/10/2017)
 03/10/2017           31 NOTICE of Appearance by Michael A. Jacobs
                         (Jacobs, Michael) (Filed on 3/10/2017) (Entered:



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                          03/10/2017)
 03/10/2017           32 CERTIFICATE OF SERVICE by Waymo LLC
                         re 12 Summons Issued to Uber Technologies
                         (Judah, James) (Filed on 3/10/2017) (Entered:
                         03/10/2017)
 03/10/2017           33 CERTIFICATE OF SERVICE by Waymo LLC
                         re 10 Summons Issued to Otto Trucking (Judah,
                         James) (Filed on 3/10/2017) (Entered:
                         03/10/2017)
 03/10/2017           34 CERTIFICATE OF SERVICE by Waymo LLC
                         re 11 Summons Issued to Ottomotto (Judah,
                         James) (Filed on 3/10/2017) (Entered:
                         03/10/2017)
 03/10/2017           35 NOTICE of Appearance by Eric Akira Tate (Tate,
                         Eric) (Filed on 3/10/2017) (Entered: 03/10/2017)
 03/10/2017           36 NOTICE of Appearance by Rudolph Kim (Kim,
                         Rudolph) (Filed on 3/10/2017) (Entered:
                         03/10/2017)
 03/10/2017           37 NOTICE of Appearance by Daniel Pierre Muino
                         (Muino, Daniel) (Filed on 3/10/2017) (Entered:
                         03/10/2017)
 03/10/2017           38 NOTICE of Appearance by Wendy Joy Ray (Ray,
                         Wendy) (Filed on 3/10/2017) (Entered:
                         03/10/2017)
 03/12/2017           39 Proposed Summons. (Verhoeven, Charles) (Filed
                         on 3/12/2017) (Entered: 03/12/2017)
 03/12/2017           40 Proposed Summons. (Verhoeven, Charles) (Filed
                         on 3/12/2017) (Entered: 03/12/2017)
 03/12/2017           41 Proposed Summons. (Verhoeven, Charles) (Filed
                         on 3/12/2017) (Entered: 03/12/2017)
 03/13/2017           42 Discovery Letter Brief filed by Otto Trucking


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                          LLC, Ottomotto LLC, Uber Technologies, Inc..
                          (Gonzalez, Arturo) (Filed on 3/13/2017) (Entered:
                          03/13/2017)
 03/13/2017           43 NOTICE OF CASE MANAGEMENT
                         CONFERENCE ON 24 MOTION FOR
                         PRELIMINARY INJUNCTION. Signed by
                         Judge Alsup on 3/13/2017. Case Management
                         Conference set for 3/16/2017 11:30 AM in
                         Courtroom 8, 19th Floor, San Francisco.
                         (whalc2, COURT STAFF) (Filed on 3/13/2017)
                         (Entered: 03/13/2017)
 03/13/2017           44 ORDER RE 42 LETTER DATED MARCH
                         13, 2017. Signed by Judge Alsup on 3/13/2017.
                         Response due by 3/15/2017. (whalc2, COURT
                         STAFF) (Filed on 3/13/2017) (Entered:
                         03/13/2017)
 03/13/2017           45 NOTICE of Appearance by Matthew Ian Kreeger
                         (Kreeger, Matthew) (Filed on 3/13/2017)
                         (Entered: 03/13/2017)
 03/13/2017               *Please Disregard- EFE filed in error. Proofs of
                          Service filed at {32], 33 , 34 ***Electronic filing
                          error. Re: 39 Proposed Summons filed by Waymo
                          LLC, 40 Proposed Summons filed by Waymo
                          LLC, 41 Proposed Summons filed by Waymo
                          LLC

                          Summons previously issued at Docket Numbers
                          10 , 11 , 12 . Please file a return of summons as
                          executed or unexecuted.

                          (alsS, COURT STAFF) (Filed on 3/13/2017)
                          Modified on 3/14/2017 (alsS, COURT STAFF).
                          (Entered: 03/13/2017)
 03/14/2017           46 Clerk's Notice of Video Recording Request.


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                          Video Camera hearing set for 4/27/2017 08:00
                          AM. Objections to Video Recording due
                          3/21/2017. (dl, COURT STAFF) (Filed on
                          3/14/2017) (Entered: 03/14/2017)
 03/14/2017           47 NOTICE RE CASE MANAGEMENT
                         CONFERENCE ON MOTION FOR
                         PRELIMINARY INJUNCTION. Signed by
                         Judge Alsup on 3/14/2017. (whalc2, COURT
                         STAFF) (Filed on 3/14/2017) (Entered:
                         03/14/2017)
 03/14/2017           48 Summons Issued as to Uber Technologies, Inc..
                         (alsS, COURT STAFF) (Filed on 3/14/2017)
                         (Entered: 03/14/2017)
 03/14/2017           49 Summons Issued as to Otto Trucking LLC. (alsS,
                         COURT STAFF) (Filed on 3/14/2017) (Entered:
                         03/14/2017)
 03/14/2017           50 Summons Issued as to Ottomotto LLC. (alsS,
                         COURT STAFF) (Filed on 3/14/2017) (Entered:
                         03/14/2017)
 03/14/2017           51 ADMINISTRATIVE MOTION Regarding Case
                         Management Conference filed by Otto Trucking
                         LLC, Ottomotto LLC, Uber Technologies, Inc..
                         Responses due by 3/16/2017. (Gonzalez, Arturo)
                         (Filed on 3/14/2017) (Entered: 03/14/2017)
 03/15/2017           52 Waymo's Response to (re 42 Defendants'
                         Discovery Letter Brief ) filed byWaymo LLC.
                         (Attachments: # 1 Exhibit A, # 2 Exhibit B)
                         (Verhoeven, Charles) (Filed on 3/15/2017)
                         Modified on 3/16/2017 (ysS, COURT STAFF).
                         (Entered: 03/15/2017)
 03/15/2017           53 TENTATIVE ORDER RE ACCESS TO
                         UNDER-SEAL MATERIAL (To Be Discussed
                         at the Conference on March 16). Signed by


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                          Judge Alsup on 3/15/2017. (whalc2, COURT
                          STAFF) (Filed on 3/15/2017) (Entered:
                          03/15/2017)
 03/15/2017           54 TENTATIVE ORDER RE EXPEDITED
                         DISCOVERY (To Be Discussed at the
                         Conference on March 16). Signed by Judge
                         Alsup on 3/15/2017. (whalc2, COURT STAFF)
                         (Filed on 3/15/2017) (Entered: 03/15/2017)
 03/15/2017           55 NOTICE of Appearance by Felipe Corredor
                         (Corredor, Felipe) (Filed on 3/15/2017) (Entered:
                         03/15/2017)
 03/15/2017           56 NOTICE of Appearance by Grant Nicholas
                         Margeson (Margeson, Grant) (Filed on
                         3/15/2017) (Entered: 03/15/2017)
 03/16/2017           57 Clerk's Notice DECLINING Video Recording re:
                         21 Clerk's Notice of Video Recording Request re
                         5/18/2017 CMC. (Related documents(s) 21 )(dl,
                         COURT STAFF) (Filed on 3/16/2017) (Entered:
                         03/16/2017)
 03/16/2017           58 TRANSCRIPT ORDER for proceedings held on
                         03/16/2017 before Hon. William Alsup by Otto
                         Trucking LLC, Ottomotto LLC, Uber
                         Technologies, Inc., for Court Reporter Belle Ball.
                         (Tate, Eric) (Filed on 3/16/2017) (Entered:
                         03/16/2017)
 03/16/2017           59 TRANSCRIPT ORDER for proceedings held on
                         03/16/2017 before Hon. William Alsup by
                         Waymo LLC, for Court Reporter Belle Ball.
                         (Jaffe, Jordan) (Filed on 3/16/2017) (Entered:
                         03/16/2017)
 03/16/2017               (Court only) ***Motions terminated: 51
                          ADMINISTRATIVE MOTION Regarding Case
                          Management Conference filed by Uber


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                          Technologies, Inc., Otto Trucking LLC,
                          Ottomotto LLC. (whalc2, COURT STAFF) (Filed
                          on 3/16/2017) (Entered: 03/16/2017)
 03/16/2017           60 ORDER RE 42 ACCESS TO UNDER-SEAL
                         MATERIAL by Hon. William Alsup. (whalc2,
                         COURT STAFF) (Filed on 3/16/2017)
                         (Entered: 03/16/2017)
 03/16/2017           61 ORDER RE 26 28 EXPEDITED DISCOVERY
                         AND RELATED MATTERS by Judge Alsup.
                         (whalc2, COURT STAFF) (Filed on 3/16/2017)
                         (Entered: 03/16/2017)
 03/16/2017               Set/Reset Deadlines as to 24 MOTION for
                          Preliminary Injunction . Responses due by
                          4/7/2017. Replies due by 4/21/2017. Motion
                          Hearing set for 5/4/2017 08:00 AM in Courtroom
                          8, 19th Floor, San Francisco before Hon. William
                          Alsup. (whalc2, COURT STAFF) (Filed on
                          3/16/2017) (Entered: 03/16/2017)
 03/16/2017               (Court only) ***Deadlines terminated. (whalc2,
                          COURT STAFF) (Filed on 3/16/2017) (Entered:
                          03/16/2017)
 03/16/2017           62 Minute Entry for proceedings held before Hon.
                         William Alsup: Initial Case Management
                         Conference held on 3/16/2017. See Separate
                         Orders.Total Time in Court 22 minutes. Court
                         Reporter Name Belle Ball. Plaintiff Attorney
                         Charles Verhoeven; David Perlson; Jordan
                         Jaffe; Melissa Baily. Defendant Attorney
                         Arturo Gonzalez; Michael Jacobs. Attachment
                         minute order.(dl, COURT STAFF) (Date
                         Filed: 3/16/2017) . (Entered: 03/17/2017)
 03/17/2017           63 Transcript of Proceedings held on March 16,
                         2017, before Judge William Alsup. Court



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                          Reporter Belle Ball, CSR, CRR, RDR,
                          belle_ball@cand.uscourts.gov, telephone number
                          (415)373-2529. Per General Order No. 59 and
                          Judicial Conference policy, this transcript may be
                          viewed only at the Clerk's Office public terminal
                          or may be purchased through the Court Reporter
                          until the deadline for the Release of Transcript
                          Restriction. After that date it may be obtained
                          through PACER. Any Notice of Intent to Request
                          Redaction, if required, is due no later than 5
                          business days from date of this filing. (Re 58
                          Transcript Order, 59 Transcript Order ) Release
                          of Transcript Restriction set for 6/15/2017.
                          (Related documents(s) 58 , 59 ) (Ball, Belle)
                          (Filed on 3/17/2017) (Entered: 03/17/2017)
 03/20/2017           64 REQUEST FOR TECHNOLOGY
                         TUTORIAL. Signed by Judge Alsup on
                         3/20/2017. (whalc2, COURT STAFF) (Filed on
                         3/20/2017) (Entered: 03/20/2017)
 03/20/2017               Set/Reset Hearing Tutorial Hearing set for
                          4/12/2017 10:00 AM in Courtroom 8, 19th Floor,
                          San Francisco. (whalc2, COURT STAFF) (Filed
                          on 3/20/2017) (Entered: 03/20/2017)
 03/20/2017           65 Clerk's Notice DECLINING Video Recording re:
                         46 Clerk's Notice of Video Recording Request.
                         (Related documents(s) 46 )(dl, COURT STAFF)
                         (Filed on 3/20/2017) (Entered: 03/20/2017)
 03/20/2017           66 Clerk's Notice of Video Recording Request.
                         Video Camera hearing set for 4/12/2017 10:00
                         AM. Objections to Video Recording due
                         3/27/2017. (dl, COURT STAFF) (Filed on
                         3/20/2017) (Entered: 03/20/2017)
 03/21/2017           67 ORDER GRANTING 25 ADMINISTRATIVE
                         MOTION TO FILE UNDER SEAL by Hon.


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                          William Alsup. (whalc2, COURT STAFF)
                          (Filed on 3/21/2017) (Entered: 03/21/2017)
 03/23/2017           68 ADMINISTRATIVE MOTION to Allow Sameer
                         Kshirsagar Access to Certain Material filed by
                         Otto Trucking LLC, Ottomotto LLC, Uber
                         Technologies, Inc.. Responses due by 3/27/2017.
                         (Attachments: # 1 Declaration of W. Ray, # 2
                         Exhibit 1 to Ray Declaration, # 3 Exhibit 2 to Ray
                         Declaration, # 4 Exhibit 3 to Ray Declaration, # 5
                         Proposed Order)(Gonzalez, Arturo) (Filed on
                         3/23/2017) (Entered: 03/23/2017)
 03/23/2017           69 Declaration of Wendy J. Ray in Support of 68
                         ADMINISTRATIVE MOTION to Allow Sameer
                         Kshirsagar Access to Certain Material
                         (CORRECTED DECLARATION) filed byOtto
                         Trucking LLC, Ottomotto LLC, Uber
                         Technologies, Inc.. (Attachments: # 1 Exhibit 1, #
                         2 Exhibit 2, # 3 Exhibit 3)(Related document(s)
                         68 ) (Gonzalez, Arturo) (Filed on 3/23/2017)
                         (Entered: 03/23/2017)
 03/23/2017           70 ORDER TO SHOW CAUSE RE 68 SAMEER
                         KSHIRSAGAR. Signed by Judge Alsup on
                         3/23/2017. Show Cause Response due by
                         3/24/2017. (whalc2, COURT STAFF) (Filed on
                         3/23/2017) (Entered: 03/23/2017)
 03/23/2017           71 NOTICE of Appearance by Andrew Michael
                         Holmes (Holmes, Andrew) (Filed on 3/23/2017)
                         (Entered: 03/23/2017)
 03/23/2017           72 STIPULATION for Extension of Defendants'
                         Deadline to Answer or Otherwise Respond to the
                         Amended Complaint filed by Otto Trucking LLC,
                         Ottomotto LLC, Uber Technologies, Inc..
                         (Gonzalez, Arturo) (Filed on 3/23/2017) (Entered:
                         03/23/2017)


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 03/24/2017           73 REQUEST FOR LITERATURE [re 64
                         Order]. Response due by NOON on 4/5/2017.
                         Signed by Judge William Alsup on 3/24/2017.
                         (whasec, COURT STAFF) (Filed on 3/24/2017)
                         (Entered: 03/24/2017)
 03/24/2017           74 NOTICE of Appearance by Jeffrey William
                         Nardinelli (Nardinelli, Jeffrey) (Filed on
                         3/24/2017) (Entered: 03/24/2017)
 03/24/2017           75 RESPONSE TO ORDER TO SHOW CAUSE by
                         Waymo LLC . (Verhoeven, Charles) (Filed on
                         3/24/2017) (Entered: 03/24/2017)
 03/24/2017           76 Certificate of Interested Entities by Otto Trucking
                         LLC, Ottomotto LLC, Uber Technologies, Inc.
                         (Gonzalez, Arturo) (Filed on 3/24/2017) (Entered:
                         03/24/2017)
 03/24/2017           77 Statement -Corporate Disclosure Statement by
                         Otto Trucking LLC, Ottomotto LLC, Uber
                         Technologies, Inc.. (Gonzalez, Arturo) (Filed on
                         3/24/2017) (Entered: 03/24/2017)
 03/24/2017           78 NOTICE of Appearance by Meredith Richardson
                         Dearborn (Dearborn, Meredith) (Filed on
                         3/24/2017) (Entered: 03/24/2017)
 03/24/2017           79 MOTION for leave to appear in Pro Hac Vice by
                         Karen L. Dunn ( Filing fee $ 310, receipt number
                         0971-11262240.) filed by Otto Trucking LLC,
                         Ottomotto LLC, Uber Technologies, Inc.. (Dunn,
                         Karen) (Filed on 3/24/2017) (Entered:
                         03/24/2017)
 03/24/2017           80 MOTION for leave to appear in Pro Hac Vice by
                         Hamish P.M. Hume ( Filing fee $ 310, receipt
                         number 0971-11262241.) filed by Otto Trucking
                         LLC, Ottomotto LLC, Uber Technologies, Inc..
                         (Hume, Hamish) (Filed on 3/24/2017) (Entered:


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                          03/24/2017)
 03/24/2017           81 MOTION for leave to appear in Pro Hac Vice by
                         Martha L. Goodman ( Filing fee $ 310, receipt
                         number 0971-11262244.) filed by Otto Trucking
                         LLC, Ottomotto LLC, Uber Technologies, Inc..
                         (Goodman, Martha) (Filed on 3/24/2017)
                         (Entered: 03/24/2017)
 03/25/2017           82 MOTION for leave to appear in Pro Hac Vice by
                         Jessica E. Phillips ( Filing fee $ 310, receipt
                         number 0971-11262274.) filed by Otto Trucking
                         LLC, Ottomotto LLC, Uber Technologies, Inc..
                         (Phillips, Jessica) (Filed on 3/25/2017) (Entered:
                         03/25/2017)
 03/25/2017           83 MOTION for leave to appear in Pro Hac Vice by
                         Kyle N. Smith ( Filing fee $ 310, receipt number
                         0971-11262276.) filed by Otto Trucking LLC,
                         Ottomotto LLC, Uber Technologies, Inc.. (Smith,
                         Kyle) (Filed on 3/25/2017) (Entered: 03/25/2017)
 03/25/2017           84 NOTICE of Appearance by Michael Darron Jay
                         (Jay, Michael) (Filed on 3/25/2017) (Entered:
                         03/25/2017)
 03/27/2017           85 NOTICE of Appearance by Meredith Richardson
                         Dearborn - CORRECTION OF DOCKET # 78
                         (Dearborn, Meredith) (Filed on 3/27/2017)
                         (Entered: 03/27/2017)
 03/27/2017           86 MOTION for leave to appear in Pro Hac Vice -
                         CORRECTION OF DOCKET # 79 ( Filing fee $
                         310, receipt number 261FUCO0.) Filing fee
                         previously paid on 3/24/2017 filed by Ottomotto
                         LLC, Uber Technologies, Inc.. (Dunn, Karen)
                         (Filed on 3/27/2017) (Entered: 03/27/2017)
 03/27/2017           87 MOTION for leave to appear in Pro Hac Vice -
                         CORRECTION OF DOCKET # 80 ( Filing fee $


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                          310, receipt number 261FUCOH.) Filing fee
                          previously paid on 3/24/2017 filed by Ottomotto
                          LLC, Uber Technologies, Inc.. (Hume, Hamish)
                          (Filed on 3/27/2017) (Entered: 03/27/2017)
 03/27/2017           88 MOTION for leave to appear in Pro Hac Vice -
                         CORRECTION OF DOCKET # 81 ( Filing fee $
                         310, receipt number 261FUCP8.) Filing fee
                         previously paid on 3/24/2017 filed by Ottomotto
                         LLC, Uber Technologies, Inc.. (Goodman,
                         Martha) (Filed on 3/27/2017) (Entered:
                         03/27/2017)
 03/27/2017           89 MOTION for leave to appear in Pro Hac Vice -
                         CORRECTION OF DOCKET # 82 ( Filing fee $
                         310, receipt number 261G1OML.) Filing fee
                         previously paid on 3/25/2017 filed by Ottomotto
                         LLC, Uber Technologies, Inc.. (Phillips, Jessica)
                         (Filed on 3/27/2017) (Entered: 03/27/2017)
 03/27/2017           90 MOTION for leave to appear in Pro Hac Vice -
                         CORRECTION OF DOCKET # 83 ( Filing fee $
                         310, receipt number 261G1ORC.) Filing fee
                         previously paid on 3/25/2017 filed by Ottomotto
                         LLC, Uber Technologies, Inc.. (Smith, Kyle)
                         (Filed on 3/27/2017) (Entered: 03/27/2017)
 03/27/2017           91 NOTICE of Appearance by Michael Darron Jay -
                         CORRECTION OF DOCKET # 84 (Jay, Michael)
                         (Filed on 3/27/2017) (Entered: 03/27/2017)
 03/27/2017               (Court only) ***Motions terminated: 82
                          MOTION for leave to appear in Pro Hac Vice by
                          Jessica E. Phillips ( Filing fee $ 310, receipt
                          number 0971-11262274.) filed by Uber
                          Technologies, Inc., Otto Trucking LLC,
                          Ottomotto LLC, 83 MOTION for leave to appear
                          in Pro Hac Vice by Kyle N. Smith ( Filing fee $
                          310, receipt number 0971-11262276.) filed by


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                          Uber Technologies, Inc., Otto Trucking LLC,
                          Ottomotto LLC, 80 MOTION for leave to appear
                          in Pro Hac Vice by Hamish P.M. Hume ( Filing
                          fee $ 310, receipt number 0971-11262241.) filed
                          by Uber Technologies, Inc., Otto Trucking LLC,
                          Ottomotto LLC, 81 MOTION for leave to appear
                          in Pro Hac Vice by Martha L. Goodman ( Filing
                          fee $ 310, receipt number 0971-11262244.) filed
                          by Uber Technologies, Inc., Otto Trucking LLC,
                          Ottomotto LLC, 79 MOTION for leave to appear
                          in Pro Hac Vice by Karen L. Dunn ( Filing fee $
                          310, receipt number 0971-11262240.) filed by
                          Uber Technologies, Inc., Otto Trucking LLC,
                          Ottomotto LLC. (whalc2, COURT STAFF) (Filed
                          on 3/27/2017) (Entered: 03/27/2017)
 03/27/2017           92 ORDER DENYING AS MOOT 68
                         ADMINISTRATIVE MOTION RE SAMEER
                         KSHIRSAGAR by Hon. William Alsup.
                         (whalc2, COURT STAFF) (Filed on 3/27/2017)
                         (Entered: 03/27/2017)
 03/27/2017           93 *****FILED IN ERROR. See 96 . (Entered:
                         03/27/2017)
 03/27/2017           94 *****FILED IN ERROR. See 97 . (Entered:
                         03/27/2017)
 03/27/2017           95 ADMINISTRATIVE MOTION to Shorten Time
                         for Hearing on Defendants' Motion to Compel
                         Arbitration filed by Otto Trucking LLC,
                         Ottomotto LLC, Uber Technologies, Inc..
                         Responses due by 3/31/2017. (Attachments: # 1
                         Declaration of Arturo J. Gonzalez, # 2 Exhibit A
                         to Gonzalez Decl., # 3 Exhibit B to Gonzalez
                         Decl., # 4 Proposed Order)(Gonzalez, Arturo)
                         (Filed on 3/27/2017) (Entered: 03/27/2017)
 03/27/2017           96 ORDER DENYING 86 PRO HAC VICE


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                          APPLICATION by Hon. William Alsup.
                          (whalc2, COURT STAFF) (Filed on 3/27/2017)
                          (Entered: 03/27/2017)
 03/27/2017           97 ORDER DENYING 87 PRO HAC VICE
                         APPLICATION by Hon. William Alsup.
                         (whalc2, COURT STAFF) (Filed on 3/27/2017)
                         (Entered: 03/27/2017)
 03/27/2017           98 ORDER DENYING 88 PRO HAC VICE
                         APPLICATION by Hon. William Alsup.
                         (whalc2, COURT STAFF) (Filed on 3/27/2017)
                         (Entered: 03/27/2017)
 03/27/2017           99 ORDER DENYING 89 PRO HAC VICE
                         APPLICATION by Hon. William Alsup.
                         (whalc2, COURT STAFF) (Filed on 3/27/2017)
                         (Entered: 03/27/2017)
 03/27/2017         100 ORDER DENYING 90 PRO HAC VICE
                        APPLICATION by Hon. William Alsup.
                        (whalc2, COURT STAFF) (Filed on 3/27/2017)
                        (Entered: 03/27/2017)
 03/27/2017         101 SUMMONS Returned Executed by Waymo LLC.
                        Uber Technologies, Inc. served on 3/16/2017,
                        answer due 4/6/2017. (Jaffe, Jordan) (Filed on
                        3/27/2017) (Entered: 03/27/2017)
 03/27/2017         102 SUMMONS Returned Executed by Waymo LLC.
                        Ottomotto LLC served on 3/16/2016, answer due
                        4/6/2016. (Jaffe, Jordan) (Filed on 3/27/2017)
                        (Entered: 03/27/2017)
 03/27/2017         103 SUMMONS Returned Executed by Waymo LLC.
                        Otto Trucking LLC served on 3/22/2017, answer
                        due 4/12/2017. (Jaffe, Jordan) (Filed on
                        3/27/2017) (Entered: 03/27/2017)
 03/27/2017         104 MOTION for leave to appear in Pro Hac Vice



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                          ( Filing fee $ 310, receipt number 261FUCO0.)
                          Filing fee previously paid on 3/24/2017 filed by
                          Ottomotto LLC, Uber Technologies, Inc.. (Dunn,
                          Karen) (Filed on 3/27/2017) (Entered:
                          03/27/2017)
 03/27/2017         105 MOTION for leave to appear in Pro Hac Vice
                        ( Filing fee $ 310, receipt number 261FUCOH.)
                        Filing fee previously paid on 3/24/2017 filed by
                        Ottomotto LLC, Uber Technologies, Inc.. (Hume,
                        Hamish) (Filed on 3/27/2017) (Entered:
                        03/27/2017)
 03/27/2017         106 MOTION for leave to appear in Pro Hac Vice
                        ( Filing fee $ 310, receipt number 261FUCP8.)
                        Filing fee previously paid on 3/24/2017 filed by
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Goodman, Martha) (Filed on 3/27/2017)
                        (Entered: 03/27/2017)
 03/27/2017         107 MOTION for leave to appear in Pro Hac Vice
                        ( Filing fee $ 310, receipt number 261G1OML.)
                        Filing fee previously paid on 3/25/2017 filed by
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Phillips, Jessica) (Filed on 3/27/2017) (Entered:
                        03/27/2017)
 03/27/2017         108 MOTION for leave to appear in Pro Hac Vice
                        ( Filing fee $ 310, receipt number 261G1ORC.)
                        Filing fee previously paid on 3/25/2017 filed by
                        Ottomotto LLC, Uber Technologies, Inc.. (Smith,
                        Kyle) (Filed on 3/27/2017) (Entered: 03/27/2017)
 03/27/2017         109 ORDER GRANTING 104 APPLICATION
                        FOR ADMISSION OF ATTORNEY KAREN
                        DUNN PRO HAC VICE by Hon. William
                        Alsup. (whalc2, COURT STAFF) (Filed on
                        3/27/2017) (Entered: 03/27/2017)




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 03/27/2017         110 ORDER GRANTING 105 APPLICATION
                        FOR ADMISSION OF ATTORNEY HAMISH
                        HUME PRO HAC VICE by Hon. William
                        Alsup. (whalc2, COURT STAFF) (Filed on
                        3/27/2017) (Entered: 03/27/2017)
 03/27/2017         111 ORDER GRANTING 106 APPLICATION
                        FOR ADMISSION OF ATTORNEY
                        MARTHA GOODMAN PRO HAC VICE by
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 3/27/2017) (Entered:
                        03/27/2017)
 03/27/2017         112 ORDER GRANTING 107 APPLICATION
                        FOR ADMISSION OF ATTORNEY JESSICA
                        PHILLIPS PRO HAC VICE by Hon. William
                        Alsup. (whalc2, COURT STAFF) (Filed on
                        3/27/2017) (Entered: 03/27/2017)
 03/27/2017         113 ORDER GRANTING 108 APPLICATION
                        FOR ADMISSION OF ATTORNEY KYLE
                        SMITH PRO HAC VICE by Hon. William
                        Alsup. (whalc2, COURT STAFF) (Filed on
                        3/27/2017) (Entered: 03/27/2017)
 03/27/2017         114 Administrative Motion to File Under Seal filed by
                        Otto Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Declaration
                        of Arturo J. Gonzalez in Support of Admin.
                        Motion, # 2 Proposed Order, # 3 Redacted
                        Version of Defendants' Motion to Compel
                        Arbitration, # 4 Unredacted Version of
                        Defendants' Motion to Compel Arbitration, # 5
                        Redacted Version of Gonzalez Decl ISO Motion
                        to Compel Arbitration, # 6 Unredacted Version of
                        Gonzalez Decl ISO Motion to Compel
                        Arbitration, # 7 Unredacted Version of Exhibit 1
                        to Gonzalez Decl. (ENTIRE DOCUMENT



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                          SUBMITTED UNDER SEAL), # 8 Unredacted
                          Version of Exhibit 2 to Gonzalez Decl. (ENTIRE
                          DOCUMENT SUBMITTED UNDER SEAL))
                          (Gonzalez, Arturo) (Filed on 3/27/2017) (Entered:
                          03/27/2017)
 03/27/2017         115 MOTION to Compel Arbitration of, and to Stay,
                        Trade Secret and UCL Claims (Redacted Public
                        Version) filed by Otto Trucking LLC, Ottomotto
                        LLC, Uber Technologies, Inc.. Motion Hearing
                        set for 5/4/2017 08:00 AM in Courtroom 8, 19th
                        Floor, San Francisco before Hon. William Alsup.
                        Responses due by 4/10/2017. Replies due by
                        4/17/2017. (Attachments: # 1 Declaration of
                        Arturo J. Gonzalez (Redacted Public Version), #
                        2 Exhibit 1 (Public Version), # 3 Exhibit 2
                        (Public Version), # 4 Proposed Order)(Gonzalez,
                        Arturo) (Filed on 3/27/2017) (Entered:
                        03/27/2017)
 03/27/2017         116 CERTIFICATE OF SERVICE by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc.
                        Certificate of Service Re Declaration in Support
                        of Administrative Motion to File Documents
                        Under Seal (Gonzalez, Arturo) (Filed on
                        3/27/2017) (Entered: 03/27/2017)
 03/27/2017         117 CERTIFICATE OF SERVICE by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc.
                        (re unredacted versions of documents submitted
                        under seal) (Gonzalez, Arturo) (Filed on
                        3/27/2017) (Entered: 03/27/2017)
 03/28/2017         118 NOTICE of Appearance by John William
                        McCauley, IV (McCauley, John) (Filed on
                        3/28/2017) (Entered: 03/28/2017)
 03/28/2017         119 OPPOSITION/RESPONSE (re 95
                        ADMINISTRATIVE MOTION to Shorten Time


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                          for Hearing on Defendants' Motion to Compel
                          Arbitration ) filed byWaymo LLC. (Attachments:
                          # 1 Affidavit of John W. McCauley, # 2 Exhibit
                          A)(Verhoeven, Charles) (Filed on 3/28/2017)
                          (Entered: 03/28/2017)
 03/28/2017         120 ORDER RE 95 114 115 EXCESSIVE
                        REDACTIONS. Signed by Judge Alsup on
                        3/28/2017. Responses due by 3/29/2017.
                        (whalc2, COURT STAFF) (Filed on 3/28/2017)
                        (Entered: 03/28/2017)
 03/28/2017         121 SCHEDULING ORDER (re 24 ). Signed by
                        Judge Alsup on 3/28/2017. Motion Hearing set
                        for 5/3/2017 07:30 AM in Courtroom 8, 19th
                        Floor, San Francisco before Hon. William
                        Alsup. Motion Hearing set for 5/3/2017 09:00
                        AM in Courtroom 8, 19th Floor, San Francisco
                        before Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 3/28/2017) (Entered:
                        03/28/2017)
 03/28/2017         122 MOTION for Hearing UBER'S REQUEST FOR
                        IN-CHAMBERS' CONFERENCE TO DISCUSS
                        CONFIDENTIAL MATTER filed by Otto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Gonzalez, Arturo) (Filed on
                        3/28/2017) (Entered: 03/28/2017)
 03/28/2017         123 ORDER RE 122 IN-CHAMBERS
                        CONFERENCE by Hon. William Alsup. In
                        Camera Hearing set for 3/29/2017 02:00 PM in
                        Courtroom 8, 19th Floor, San Francisco.
                        (whalc2, COURT STAFF) (Filed on 3/28/2017)
                        (Entered: 03/28/2017)
 03/29/2017         124 RESPONSE to 123 Order on Motion for Hearing
                        re In-Chambers Conference by Waymo LLC.
                        (Attachments: # 1 Exhibit 1)(Verhoeven, Charles)


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                          (Filed on 3/29/2017) Modified on 3/30/2017
                          (alsS, COURT STAFF). (Entered: 03/29/2017)
 03/29/2017         125 Joint Notice of 115 MOTION to Compel
                        Arbitration of, and to Stay, Trade Secret and UCL
                        Claims (Redacted Public Version)
                        (UNREDACTED VERSION OF BRIEF
                        PREVIOUSLY SUBMITTED UNDER SEAL [114-
                        4]) filed by Otto Trucking LLC, Ottomotto LLC,
                        Uber Technologies, Inc.. (Related document(s)
                        115 ) (Gonzalez, Arturo) (Filed on 3/29/2017)
                        Modified on 3/30/2017 (alsS, COURT STAFF).
                        (Entered: 03/29/2017)
 03/29/2017         126 TRANSCRIPT ORDER for proceedings held on
                        3/29/2017 before Hon. William Alsup by
                        Ottomotto LLC, Uber Technologies, Inc., for
                        Court Reporter Katherine Sullivan. (Dunn, Karen)
                        (Filed on 3/29/2017) (Entered: 03/29/2017)
 03/29/2017         127 TRANSCRIPT ORDER for proceedings held on
                        03/29/2017 before Hon. William Alsup by
                        Waymo LLC, for Court Reporter Katherine
                        Sullivan. (Perlson, David) (Filed on 3/29/2017)
                        (Entered: 03/29/2017)
 03/29/2017         129 Minute Entry for proceedings held before Hon.
                        William Alsup: In Camera Hearing held on
                        3/29/2017.Total Time in Court 50 minutes.
                        Court Reporter Name Kathy Sullivan. Plaintiff
                        Attorney David Perlson; Charles Verhoeven.
                        Defendant Attorney Arturo Gonzalez; Karen
                        Dunn. This is a text only Minute Entry (dlS,
                        COURT STAFF) (Date Filed: 3/29/2017)
                        (Entered: 03/30/2017)
 03/30/2017         128 Clerk's Notice CONSENTING TO Video
                        Recording re: 66 Clerk's Notice of Video
                        Recording Request. (Related documents(s) 66 )


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                          (dl, COURT STAFF) (Filed on 3/30/2017)
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 03/30/2017         130 ORDER RE ADMINISTRATIVE MOTIONS
                        TO 95 SHORTEN TIME AND 114 FILE
                        UNDER SEAL. Signed by Judge Alsup on
                        3/30/2017. Motion Hearing set for 4/27/2017
                        08:00 AM in Courtroom 8, 19th Floor, San
                        Francisco before Hon. William Alsup. (whalc2,
                        COURT STAFF) (Filed on 3/30/2017)
                        (Entered: 03/30/2017)
 03/31/2017         131 Transcript of Proceedings held on 3/29/17, before
                        Judge William H. Alsup. Court Reporter
                        Katherine Powell Sullivan, telephone number
                        415-794-6659. Per General Order No. 59 and
                        Judicial Conference policy, this transcript may be
                        viewed only at the Clerk's Office public terminal
                        or may be purchased through the Court
                        Reporter/Transcriber until the deadline for the
                        Release of Transcript Restriction. After that date
                        it may be obtained through PACER. Any Notice
                        of Intent to Request Redaction, if required, is due
                        no later than 5 business days from date of this
                        filing. (Re 127 Transcript Order, 126 Transcript
                        Order ) Redaction Request due 4/21/2017.
                        Redacted Transcript Deadline set for 5/1/2017.
                        Release of Transcript Restriction set for
                        6/29/2017. (Related documents(s) 127 , 126 )
                        (Sullivan, Katherine) (Filed on 3/31/2017)
                        (Entered: 03/31/2017)
 03/31/2017         132 ORDER RE DUE DILIGENCE REPORT.
                        Signed by Judge Alsup on 3/31/2017. (whalc2S,
                        COURT STAFF) (Filed on 3/31/2017)
                        (Entered: 03/31/2017)
 04/03/2017         133 Declaration of Arturo J. Gonzalez in Support of



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                          114 Administrative Motion to File Under Seal
                          filed byOtto Trucking LLC, Ottomotto LLC,
                          Uber Technologies, Inc. (Attachments: # 1
                          Exhibit Redacted version of Ex 1 to the Gonzalez
                          Decl., # 2 Exhibit Unredacted version of Ex 1 to
                          the Gonzalez Decl., # 3 Exhibit Redacted version
                          of Ex 2 to the Gonzalez Decl., # 4 Exhibit
                          Unredacted version of Ex 2 to the Gonzalez
                          Decl., # 5 Proposed Order REVISED Proposed
                          Order)(Related document(s) 114 ) (Gonzalez,
                          Arturo) (Filed on 4/3/2017) Modified on 4/4/2017
                          (alsS, COURT STAFF). (Entered: 04/03/2017)
 04/03/2017         134 Declaration of Arturo J. Gonzalez in Support of
                        114 Administrative Motion to File Under Seal
                        (Corrected, numbered versions of Exhibits 1 and
                        2 filed as 133 ) filed byOtto Trucking LLC,
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit (Corrected) Redacted
                        Version of Ex 1 to Gonzalez Decl., # 2 Exhibit
                        (Corrected) Unredacted Version of Ex 1 to
                        Gonzalez Decl., # 3 Exhibit (Corrected) Redacted
                        Version of Ex 2 to Gonzalez Decl., # 4 Exhibit
                        (Corrected) Unredacted Version of Ex 2 to
                        Gonzalez Decl., # 5 Proposed Order REVISED)
                        (Related document(s) 114 ) (Gonzalez, Arturo)
                        (Filed on 4/3/2017) Modified on 4/4/2017 (alsS,
                        COURT STAFF). (Entered: 04/03/2017)
 04/03/2017         135 Discovery Letter Brief re Defendants' Violation
                        of the Court's March 16 Expedited Discovery
                        Order filed by Waymo LLC. (Attachments: # 1
                        Exhibit 1, # 2 Exhibit 2)(Verhoeven, Charles)
                        (Filed on 4/3/2017) (Entered: 04/03/2017)
 04/03/2017         136 NOTICE of Appearance by Amy E Craig , Miles
                        F. Ehrlich, and Ismail J. Ramsey for Anthony
                        Levandowski (Craig, Amy) (Filed on 4/3/2017)


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                          (Entered: 04/03/2017)
 04/03/2017         137 STIPULATION WITH PROPOSED ORDER
                        Regarding Initial Disclosures and Rule 26(f)
                        Report filed by Waymo LLC. (Verhoeven,
                        Charles) (Filed on 4/3/2017) (Entered:
                        04/03/2017)
 04/03/2017         138 EXHIBITS re 114 Administrative Motion to File
                        Under Seal --Corrected Redacted Version of
                        Exhibit 1 to Gonzalez Decl. filed byOtto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Corrected Unredacted Version
                        of Exhibit 1 to Gonzalez Decl., # 2 Corrected
                        Redacted Version of Exhibit 2 to Gonzalez Decl.,
                        # 3 Corrected Unredacted Version of Exhibit 2 to
                        Gonzalez Decl.)(Related document(s) 114 )
                        (Gonzalez, Arturo) (Filed on 4/3/2017) (Entered:
                        04/03/2017)
 04/04/2017         139 ORDER SETTING HEARING RE 135
                        DISCOVERY LETTER DATED APRIL 3,
                        2017. Signed by Judge Alsup on 4/4/2017.
                        Meet-and-confer set for 4/5/2017 08:00 AM.
                        Hearing set for 4/5/2017 10:00 AM in
                        Courtroom 8, 19th Floor, San Francisco before
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 4/4/2017) (Entered:
                        04/04/2017)
 04/04/2017         140 ORDER GRANTING 114
                        ADMINISTRATIVE MOTION TO FILE
                        UNDER SEAL by Hon. William Alsup.
                        (whalc2, COURT STAFF) (Filed on 4/4/2017)
                        (Entered: 04/04/2017)
 04/04/2017         141 ORDER RE INITIAL DISCLOSURES AND
                        RULE 26(f) REPORT (pursuant to 137
                        stipulation) by Hon. William Alsup. (whalc2,


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                          COURT STAFF) (Filed on 4/4/2017) (Entered:
                          04/04/2017)
 04/04/2017         142 ORDER RE ARBITRATION AGREEMENT.
                        Signed by Judge Alsup on 4/4/2017. Responses
                        due by 4/10/2017. (whalc2, COURT STAFF)
                        (Filed on 4/4/2017) (Entered: 04/04/2017)
 04/04/2017         143 REQUEST RE SELECTION OF SPECIAL
                        MASTER. Signed by Judge Alsup on 4/4/2017.
                        (whalc2, COURT STAFF) (Filed on 4/4/2017)
                        (Entered: 04/04/2017)
 04/04/2017         144 ORDER RE DISCOVERY HEARING
                        TOMORROW. Signed by Judge Alsup on
                        4/4/2017. (whalc2, COURT STAFF) (Filed on
                        4/4/2017) (Entered: 04/04/2017)
 04/04/2017         145 ADMINISTRATIVE MOTION to Remove
                        Incorrectly Filed Documents: Dkt. Nos. 133-1,
                        133-3, 134-1,and 134-3 filed by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc..
                        Responses due by 4/10/2017. (Attachments: # 1
                        Proposed Order)(Gonzalez, Arturo) (Filed on
                        4/4/2017) (Entered: 04/04/2017)
 04/04/2017         146 REFERRAL FOR MEDIATION WITH
                        JUDGE LAPORTE. Signed by Judge Alsup on
                        4/4/2017. Case referred to mediation. (whalc2,
                        COURT STAFF) (Filed on 4/4/2017) (Entered:
                        04/04/2017)
 04/04/2017         147 MOTION for Modification of 61 Court's Order
                        filed by Anthony Levandowski. Responses due by
                        4/18/2017. Replies due by 4/25/2017.
                        (Attachments: # 1 Declaration of John Gardner, #
                        2 Proposed Order)(Craig, Amy) (Filed on
                        4/4/2017) Modified on 4/5/2017 (alsS, COURT
                        STAFF). (Entered: 04/04/2017)



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 04/04/2017               CASE REFERRED to Magistrate Judge Elizabeth
                          D. Laporte for Settlement (ahm, COURT STAFF)
                          (Filed on 4/4/2017) (Entered: 04/04/2017)
 04/04/2017               (Court only) ***Set/Clear Flags (ahm, COURT
                          STAFF) (Filed on 4/4/2017) (Entered:
                          04/04/2017)
 04/04/2017         148 ORDER SETTING HEARING ON 147
                        MOTION TO MODIFY ORDER DATED
                        MARCH 16, 2017. Signed by Judge Alsup on
                        4/4/2017. Responses due by 4/5/2017. Motion
                        Hearing set for 4/6/2017 09:30 AM in
                        Courtroom 8, 19th Floor, San Francisco before
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 4/4/2017) (Entered:
                        04/04/2017)
 04/04/2017               (Court only) *** Attorney Miles F. Ehrlich,Ismail
                          Jomo Ramsey for Anthony Levandowski added.
                          (alsS, COURT STAFF) (Filed on 4/4/2017)
                          (Entered: 04/04/2017)
 04/04/2017         149 NOTICE of Appearance by Lindsay Cooper on
                        behalf of Plaintiff Waymo LLC (Cooper, Lindsay)
                        (Filed on 4/4/2017) (Entered: 04/04/2017)
 04/04/2017         150 NOTICE of Appearance by Esther Kim Chang
                        (Chang, Esther) (Filed on 4/4/2017) (Entered:
                        04/04/2017)
 04/05/2017         151 MOTION to Intervene under Rule 24(b) filed by
                        Anthony Levandowski. Responses due by
                        4/19/2017. Replies due by 4/26/2017. (Craig,
                        Amy) (Filed on 4/5/2017) (Entered: 04/05/2017)
 04/05/2017         152 TRANSCRIPT ORDER for proceedings held on
                        04/05/2017 before Hon. William Alsup by Otto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc., for Court Reporter Belle Ball.


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                          (Gonzalez, Arturo) (Filed on 4/5/2017) (Entered:
                          04/05/2017)
 04/05/2017         153 ORDER REQUIRING RESPONSES RE 151
                        MOTION FOR PERMISSIVE
                        INTERVENTION. Signed by Judge Alsup on
                        4/5/2017. Responses due by 4/5/2017. (whalc2,
                        COURT STAFF) (Filed on 4/5/2017) (Entered:
                        04/05/2017)
 04/05/2017         154 Response re 73 Order Regarding Request for
                        Literature byWaymo LLC. (Attachments: # 1
                        Exhibit A)(Verhoeven, Charles) (Filed on
                        4/5/2017) (Entered: 04/05/2017)
 04/05/2017         155 TRANSCRIPT ORDER for proceedings held on
                        04/05/2017 before Hon. William Alsup by
                        Waymo LLC, for Court Reporter Belle Ball.
                        (Perlson, David) (Filed on 4/5/2017) (Entered:
                        04/05/2017)
 04/05/2017         156 RESPONSE to re 73 Order Re Request for
                        Literature by Otto Trucking LLC, Ottomotto
                        LLC, Uber Technologies, Inc.. (Gonzalez,
                        Arturo) (Filed on 4/5/2017) (Entered: 04/05/2017)
 04/05/2017         157 Minute Entry for proceedings held before Hon.
                        William Alsup: Discovery Hearing held on
                        4/5/2017. Defendant may file a written
                        response to plaintiff's letter by 5pm
                        today.Total Time in Court 50 minutes. Court
                        Reporter Name Belle Ball. Plaintiff Attorney
                        Jordan Jaffe; David Perlson; Jeff Nardinelli;
                        Lindsay Cooper. Defendant Attorney Arturo
                        Gonzalez; Karen Dunn; Hamish Hume;
                        Michelle Yang. Non-Party Attorney Ismail
                        Ramsey. Attachment minute order.(dl,
                        COURT STAFF) (Date Filed: 4/5/2017)
                        (Entered: 04/05/2017)


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 04/05/2017         158 Statement of Non-Opposition re 151 MOTION to
                        Intervene under Rule 24(b) filed byOtto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc..
                        (Related document(s) 151 ) (Gonzalez, Arturo)
                        (Filed on 4/5/2017) (Entered: 04/05/2017)
 04/05/2017         159 OPPOSITION/RESPONSE to 147 MOTION for
                        Modification of Court's March 16 Order filed by
                        Waymo LLC. (Verhoeven, Charles) (Filed on
                        4/5/2017) Modified on 4/6/2017 (alsS, COURT
                        STAFF). (Entered: 04/05/2017)
 04/05/2017         160 Transcript of Proceedings held on April 5, 2017,
                        before Judge William Alsup. Court Reporter
                        Belle Ball, CSR, CRR, RDR,
                        belle_ball@cand.uscourts.gov, telephone number
                        (415)373-2529. Per General Order No. 59 and
                        Judicial Conference policy, this transcript may be
                        viewed only at the Clerk's Office public terminal
                        or may be purchased through the Court Reporter
                        until the deadline for the Release of Transcript
                        Restriction. After that date it may be obtained
                        through PACER. Any Notice of Intent to Request
                        Redaction, if required, is due no later than 5
                        business days from date of this filing. (Re 155
                        Transcript Order, 152 Transcript Order ) Release
                        of Transcript Restriction set for 7/5/2017.
                        (Related documents(s) 155 , 152 ) (Ball, Belle)
                        (Filed on 4/5/2017) (Entered: 04/05/2017)
 04/05/2017         161 RESPONSE to re 135 Discovery Letter Brief re
                        Defendants' Violation of the Court's March 16
                        Expedited Discovery Order by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                        Exhibit 3)(Gonzalez, Arturo) (Filed on 4/5/2017)
                        (Entered: 04/05/2017)




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 04/05/2017         162 OPPOSITION/RESPONSE (re 151 MOTION to
                        Intervene under Rule 24(b) ) filed byWaymo
                        LLC. (Perlson, David) (Filed on 4/5/2017)
                        (Entered: 04/05/2017)
 04/06/2017         163 ORDER AFTER HEARING RE 135
                        DISCOVERY LETTER DATED APRIL 3,
                        2017. Signed by Judge Alsup on 4/6/2017.
                        Discovery due by 4/14/2017. (whalc2, COURT
                        STAFF) (Filed on 4/6/2017) (Entered:
                        04/06/2017)
 04/06/2017         164 TRANSCRIPT ORDER for proceedings held on
                        04/06/2017 before Hon. William Alsup by Otto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc., for Court Reporter Jo Ann
                        Bryce. (Gonzalez, Arturo) (Filed on 4/6/2017)
                        (Entered: 04/06/2017)
 04/06/2017         165 ORDER REQUESTING RESPONSE RE
                        REDACTED PRIVILEGE LOG. Signed by
                        Judge Alsup on 4/6/2017. (whalc2, COURT
                        STAFF) (Filed on 4/6/2017) (Entered:
                        04/06/2017)
 04/06/2017         166 TRANSCRIPT ORDER for proceedings held on
                        04/06/2017 before Hon. William Alsup by
                        Waymo LLC, for Court Reporter Jo Ann Bryce.
                        (Perlson, David) (Filed on 4/6/2017) (Entered:
                        04/06/2017)
 04/06/2017         167 Minute Entry for proceedings held before Hon.
                        William Alsup: Motion Hearing held on
                        4/6/2017 re 151 MOTION to Intervene under
                        Rule 24(b) filed by Anthony Levandowski, 147
                        MOTION filed by Anthony Levandowski.
                        Motion to Intervene is Granted. Total Time in
                        Court 1:18. Court Reporter Name JoAnn
                        Bryce. Plaintiff Attorney Charles Verhoeven;


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                          Melissa Baily; Jordan Jaffe. Defendant
                          Attorney Arturo Gonzalez; Karen Dunn. Non-
                          Party Attorney Ismail Ramsey; Miles Ehrlich.
                          Attachment minute order.(dl, COURT
                          STAFF) (Date Filed: 4/6/2017) (Entered:
                          04/06/2017)
 04/06/2017         168 TRANSCRIPT ORDER for proceedings held on
                        04/06/2017 before Hon. William Alsup by
                        Anthony Levandowski, for Court Reporter Jo
                        Ann Bryce. (Ramsey, Ismail) (Filed on 4/6/2017)
                        (Entered: 04/06/2017)
 04/06/2017         169 Transcript of Proceedings held on 4/6/17, before
                        Judge William H. Alsup. Court Reporter Jo Ann
                        Bryce, telephone number 510-910-5888,
                        joann_bryce@cand.uscourts.gov. Per General
                        Order No. 59 and Judicial Conference policy, this
                        transcript may be viewed only at the Clerk's
                        Office public terminal or may be purchased
                        through the Court Reporter until the deadline for
                        the Release of Transcript Restriction after 90
                        days. After that date, it may be obtained through
                        PACER. Any Notice of Intent to Request
                        Redaction, if required, is due no later than 5
                        business days from date of this filing. (Re 164
                        Transcript Order ) Release of Transcript
                        Restriction set for 7/5/2017. (Related documents
                        (s) 164 ) (Bryce, Joann) (Filed on 4/6/2017)
                        (Entered: 04/06/2017)
 04/06/2017               (Court only) TRANSCRIPT COPY DELIVERED
                          re 166 Transcript Order, 168 Transcript Order
                          (Related documents(s) 166 , 168 ) (Bryce, Joann)
                          (Filed on 4/6/2017) (Entered: 04/06/2017)
 04/06/2017         170 RESPONSE to re 165 Order Waymo's Response
                        to Uber's Redacted Privilege Log by Waymo



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                          LLC. (Verhoeven, Charles) (Filed on 4/6/2017)
                          (Entered: 04/06/2017)
 04/07/2017         171 MOTION for leave to appear in Pro Hac Vice for
                        Michelle Yang ( Filing fee $ 310, receipt number
                        0971-11296664.) filed by Otto Trucking LLC,
                        Ottomotto LLC, Uber Technologies, Inc.. (Yang,
                        Michelle) (Filed on 4/7/2017) (Entered:
                        04/07/2017)
 04/07/2017         172 ORDER DENYING 171 PRO HAC VICE
                        APPLICATION by Hon. William Alsup.
                        (whalc2, COURT STAFF) (Filed on 4/7/2017)
                        (Entered: 04/07/2017)
 04/07/2017               (Court only) ***Set/Clear Flags - removed
                          MEDIATION flag. Case is referred to a
                          Magistrate Judge Laporte for a Settlement
                          Conference. (cmf, COURT STAFF) (Filed on
                          4/7/2017) (Entered: 04/07/2017)
 04/07/2017         173 Administrative Motion to File Under Seal Re
                        Defendants' Opposition to Plaintiff's Motion for
                        Preliminary Injunction filed by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Declaration of Daniel Muino, #
                        2 Proposed Order, # 3 Redacted Version of
                        Defendants' Opposition to Plaintiff's Motion for
                        Preliminary Injunction, # 4 Unredacted Version
                        of Defendants' Opposition to Plaintiff's Motion
                        for Preliminary Injunction)(Gonzalez, Arturo)
                        (Filed on 4/7/2017) (Entered: 04/07/2017)
 04/07/2017         174 EXHIBITS re 173 Administrative Motion to File
                        Under Seal Re Defendants' Opposition to
                        Plaintiff's Motion for Preliminary Injunction -
                        Supporting Declarations filed byOtto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Unredacted Version of


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                          Declaration of James Haslim, # 2 Unredacted
                          Version of Ex. A to Haslim Decl., # 3 Unredacted
                          Version of Ex. B to Haslim Decl., # 4 Unredacted
                          Version of Ex. C to Haslim Decl., # 5 Unredacted
                          Version of Ex. D to Haslim Decl., # 6 Unredacted
                          Version of Ex. E to Haslim Decl., # 7 Redacted
                          Version of McManamon Decl., # 8 Unredacted
                          Version of McManamon Decl., # 9 Redacted
                          Version of Lebby Decl., # 10 Unredacted Version
                          of Lebby Decl., # 11 Redacted Version of Ex. 3 to
                          Lebby Decl., # 12 Unredacted Version of Ex. 3 to
                          Lebby Decl.)(Related document(s) 173 )
                          (Gonzalez, Arturo) (Filed on 4/7/2017) (Entered:
                          04/07/2017)
 04/07/2017         175 EXHIBITS re 173 Administrative Motion to File
                        Under Seal Re Defendants' Opposition to
                        Plaintiff's Motion for Preliminary Injunction filed
                        byOtto Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Unredacted
                        Version of Faulkner Decl., # 2 Redacted Version
                        of Kshirsagar Decl., # 3 Unredacted Version of
                        Kshirsagar Decl., # 4 Redacted Version of Ex. 1
                        to Kshirsagar Decl., # 5 Unredacted Version of
                        Ex. 1 to Kshirsagar Decl., # 6 Redacted Version
                        of Ex. 2 to Kshirsagar Decl., # 7 Unredacted
                        Version of Ex. 2 to Kshirsagar Decl., # 8
                        Unredacted Version of Ex. 3 to Kshirsagar Decl.)
                        (Related document(s) 173 ) (Gonzalez, Arturo)
                        (Filed on 4/7/2017) (Entered: 04/07/2017)
 04/07/2017         176 EXHIBITS re 173 Administrative Motion to File
                        Under Seal Re Defendants' Opposition to
                        Plaintiff's Motion for Preliminary Injunction -
                        Boehmke Declaration filed byOtto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Unredacted Version of



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                          Boehmke Decl., # 2 Unredacted Version of Ex. A
                          to Boehmke Decl., # 3 Unredacted Version of Ex.
                          B to Boehmke Decl., # 4 Unredacted Version of
                          Ex. C to Boehmke Decl., # 5 Unredacted Version
                          of Ex. D to Boehmke Decl., # 6 Unredacted
                          Version of Ex. E to Boehmke Decl., # 7
                          Unredacted Version of Ex. F to Boehmke Decl., #
                          8 Unredacted Version of Ex. G to Boehmke
                          Decl., # 9 Unredacted Version of Ex. H to
                          Boehmke Decl., # 10 Unredacted Version of Ex. I
                          to Boehmke Decl., # 11 Unredacted Version of
                          Ex. J to Boehmke Decl., # 12 Unredacted Version
                          of Ex. K to Boehmke Decl., # 13 Unredacted
                          Version of Ex. L to Boehmke Decl., # 14
                          Unredacted Version of Ex. M to Boehmke Decl.,
                          # 15 Unredacted Version of Ex. N to Boehmke
                          Decl., # 16 Unredacted Version of Ex. O to
                          Boehmke Decl., # 17 Unredacted Version of Ex.
                          P to Boehmke Decl.)(Related document(s) 173 )
                          (Gonzalez, Arturo) (Filed on 4/7/2017) (Entered:
                          04/07/2017)
 04/07/2017         177 OPPOSITION/RESPONSE (re 24 MOTION for
                        Preliminary Injunction ) filed byOtto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Declaration of Rhian Morgan,
                        # 2 Declaration of David Meall, # 3 Exhibit A to
                        Meall Decl., # 4 Exhibit B to Meall Decl., # 5
                        Declaration of A. Linaval, # 6*** EXHIBIT
                        FILED IN ERROR WITH CONFIDENTIAL
                        INFORMATION. DOCUMENT LOCKED.
                        DOCUMENT TO BE REFILED LATER. ***
                        Exhibit A to Linaval Decl., # 7 Proposed Order)
                        (Gonzalez, Arturo) (Filed on 4/7/2017) Modified
                        on 4/7/2017 (fff, COURT STAFF). (Entered:
                        04/07/2017)



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 04/07/2017         178 NOTICE of Settlement Conference and
                        Settlement Conference Order by Magistrate
                        Judge Elizabeth D. Laporte. A Settlement
                        Conference is set for 4/26/2017 at 9:30 AM in
                        Courtroom E, 15th Floor, San Francisco.
                        (shyS, COURT STAFF) (Filed on 4/7/2017)
                        (Entered: 04/07/2017)
 04/07/2017         179 EXHIBITS re 173 Administrative Motion to File
                        Under Seal Re Defendants' Opposition to
                        Plaintiff's Motion for Preliminary Injunction -
                        Exhibits 4, 5 and 7 to the Chang Decl. filed
                        byOtto Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Unredacted
                        Version of Ex. 4 to Chang Decl., # 2 Redacted
                        Version of Ex. 5 to Chang Decl., # 3 Unredacted
                        Version of Ex. 5 to Chang Decl., # 4 Redacted
                        Version of Ex. 7 to Chang Decl., # 5 Unredacted
                        Version of Ex. 7 to Chang Decl.)(Related
                        document(s) 173 ) (Gonzalez, Arturo) (Filed on
                        4/7/2017) (Entered: 04/07/2017)
 04/07/2017         180 Declaration of James Haslim in Support of 177
                        Opposition/Response to Motion, filed byOtto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Exhibit A
                        to Haslim Decl., # 2 Exhibit B to Haslim Decl., #
                        3 Exhibit C to Haslim Decl., # 4 Exhibit D to
                        Haslim Decl., # 5 Exhibit E to Haslim Decl.)
                        (Related document(s) 177 ) (Gonzalez, Arturo)
                        (Filed on 4/7/2017) (Entered: 04/07/2017)
 04/07/2017         181 Declaration of Paul McManamon in Support of
                        177 Opposition/Response to Motion, filed byOtto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Exhibit 1, #
                        2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Related
                        document(s) 177 ) (Gonzalez, Arturo) (Filed on


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                          4/7/2017) (Entered: 04/07/2017)
 04/07/2017         182 Declaration of Michael Lebby in Support of 177
                        Opposition/Response to Motion, filed byOtto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Exhibit 1, #
                        2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                        Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit
                        8, # 9 Exhibit 9)(Related document(s) 177 )
                        (Gonzalez, Arturo) (Filed on 4/7/2017) (Entered:
                        04/07/2017)
 04/07/2017         183 Declaration of Kevin Faulkner in Support of 177
                        Opposition/Response to Motion, filed byOtto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Related document(s) 177 )
                        (Gonzalez, Arturo) (Filed on 4/7/2017) (Entered:
                        04/07/2017)
 04/07/2017         184 Declaration of Sameer Kshirsagar in Support of
                        177 Opposition/Response to Motion, filed byOtto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Exhibit 1, #
                        2 Exhibit 2, # 3 Exhibit 3)(Related document(s)
                        177 ) (Gonzalez, Arturo) (Filed on 4/7/2017)
                        (Entered: 04/07/2017)
 04/07/2017         185 Declaration of Scott Boehmke in Support of 177
                        Opposition/Response to Motion,, filed byOtto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Exhibit A,
                        # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                        Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                        Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                        Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14
                        Exhibit N, # 15 Exhibit O, # 16 Exhibit P)
                        (Related document(s) 177 ) (Gonzalez, Arturo)
                        (Filed on 4/7/2017) (Entered: 04/07/2017)



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 04/07/2017         186 Declaration of Esther Kim Chang in Support of
                        177 Opposition/Response to Motion,, filed byOtto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Exhibit 1, #
                        2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                        Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit
                        8)(Related document(s) 177 ) (Gonzalez, Arturo)
                        (Filed on 4/7/2017) (Entered: 04/07/2017)
 04/07/2017               Set/Reset Hearing Settlement Conference set for
                          4/26/2017 09:30 AM in Courtroom E, 15th Floor,
                          San Francisco. (shyS, COURT STAFF) (Filed on
                          4/7/2017) (Entered: 04/07/2017)
 04/07/2017         187 EXHIBITS re 177 Opposition/Response to
                        Motion,, -Corrected Exhibit A to Linaval
                        Declaration filed byOtto Trucking LLC,
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Related document(s) 177 ) (Gonzalez, Arturo)
                        (Filed on 4/7/2017) (Entered: 04/07/2017)
 04/07/2017         188 Amended MOTION for leave to appear in Pro
                        Hac Vice for Michelle Yang ( Filing fee $ 310,
                        receipt number 0971-11296664.) Filing fee
                        previously paid on 04/06/2017 filed by Otto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Yang, Michelle) (Filed on
                        4/7/2017) (Entered: 04/07/2017)
 04/07/2017         189 CERTIFICATE OF SERVICE by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc. re
                        Unredacted Versions of Documents Submitted
                        Under Seal (Yang, Michelle) (Filed on 4/7/2017)
                        (Entered: 04/07/2017)
 04/07/2017         190 Declaration of Daniel P. Muino in Support of 173
                        Administrative Motion to File Under Seal Re
                        Defendants' Opposition to Plaintiff's Motion for
                        Preliminary Injunction (Corrected) filed byOtto


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                          Trucking LLC, Ottomotto LLC, Uber
                          Technologies, Inc.. (Related document(s) 173 )
                          (Gonzalez, Arturo) (Filed on 4/7/2017) (Entered:
                          04/07/2017)
 04/07/2017         191 CERTIFICATE OF SERVICE by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc. re
                        190 Declaration in Support, (Gonzalez, Arturo)
                        (Filed on 4/7/2017) (Entered: 04/07/2017)
 04/07/2017         192 NOTICE by Waymo LLC Waymo's Notice
                        Regarding Appointment of John Cooper as a
                        Special Master (Verhoeven, Charles) (Filed on
                        4/7/2017) (Entered: 04/07/2017)
 04/08/2017         193 EXHIBITS re 177 Opposition/Response to
                        Motion,, -Exhibits A, B and C to the Declaration
                        of Rhian Morgan [177-1]d 7 to the Chang Decl.
                        filed byOtto Trucking LLC, Ottomotto LLC,
                        Uber Technologies, Inc.. (Attachments: # 1
                        Exhibit B, # 2 Exhibit C)(Related document(s)
                        177 ) (Gonzalez, Arturo) (Filed on 4/8/2017)
                        (Entered: 04/08/2017)
 04/09/2017         194 REQUEST FOR BRIEFING RE
                        ARBITRATION AGAINST
                        LEVANDOWSKI. Signed by Judge Alsup on
                        4/9/2017. (whalc2, COURT STAFF) (Filed on
                        4/9/2017) (Entered: 04/09/2017)
 04/10/2017         195 ORDER GRANTING 188 APPLICATION
                        FOR ADMISSION OF ATTORNEY
                        MICHELLE YANG PRO HAC VICE by Hon.
                        William Alsup. (whalc2, COURT STAFF)
                        (Filed on 4/10/2017) (Entered: 04/10/2017)
 04/10/2017         196 ORDER RE JOHN COOPER. Signed by
                        Judge Alsup on 4/10/2017. (whalc2, COURT
                        STAFF) (Filed on 4/10/2017) (Entered:



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                          04/10/2017)
 04/10/2017         197 RESPONSE to re 142 Order, Set Deadlines -Uber
                        Technologies, Inc. and Ottomotto LLC's Response
                        to Order to Make Statement Under Oath by
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Declaration of Aaron
                        Bergstrom)(Gonzalez, Arturo) (Filed on
                        4/10/2017) (Entered: 04/10/2017)
 04/10/2017         198 RESPONSE to re 142 Order, Set Deadlines --Otto
                        Trucking LLC's Response to Order to Make
                        Statement Under Oath by Otto Trucking LLC.
                        (Attachments: # 1 Declaration of Rhian Morgan)
                        (Gonzalez, Arturo) (Filed on 4/10/2017) (Entered:
                        04/10/2017)
 04/10/2017         199 ADMINISTRATIVE MOTION to Remove
                        Incorrectly Filed Document: Docket No. [177-6]
                        (Exhibit A to the Declaration of Asheem Linaval)
                        filed by Otto Trucking LLC, Ottomotto LLC,
                        Uber Technologies, Inc.. Responses due by
                        4/14/2017. (Attachments: # 1 Proposed Order)
                        (Gonzalez, Arturo) (Filed on 4/10/2017) (Entered:
                        04/10/2017)
 04/10/2017         200 RESPONSE to re 142 Order, Set Deadlines
                        PLAINTIFF WAYMO LLCS RESPONSE TO THE
                        COURTS APRIL 4, 2017 ORDER RE
                        ARBITRATION AGREEMENT (DKT. 142) by
                        Waymo LLC. (Attachments: # 1 Affidavit of
                        Waymo LLC and Waymo Holding, Inc., # 2
                        Affidavit of Google Inc. and Alphabet Inc.)
                        (Verhoeven, Charles) (Filed on 4/10/2017)
                        (Entered: 04/10/2017)
 04/10/2017         201 EXHIBITS re 200 Response ( Non Motion ),
                        Exhibit A Affidavit of Google Inc. and Alphabet
                        Inc. filed byWaymo LLC. (Attachments: # 1


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                          Exhibit Exhibit B to Affidavit of Google Inc. and
                          Alphabet Inc., # 2 Exhibit Exhibit C to Affidavit
                          of Google Inc. and Alphabet Inc., # 3 Exhibit
                          Exhibit D to Affidavit of Google Inc. and
                          Alphabet Inc., # 4 Exhibit Exhibit E to Affidavit
                          of Google Inc. and Alphabet Inc., # 5 Exhibit
                          Exhibit F to Affidavit of Google Inc. and
                          Alphabet Inc., # 6 Exhibit Exhibit G to Affidavit
                          of Google Inc. and Alphabet Inc.)(Related
                          document(s) 200 ) (Verhoeven, Charles) (Filed on
                          4/10/2017) (Entered: 04/10/2017)
 04/10/2017         202 ORDER DENYING 147 MOTION TO
                        MODIFY PRIVILEGE LOG
                        REQUIREMENTS BASED ON FIFTH
                        AMENDMENT by Hon. William Alsup.
                        (whalc2, COURT STAFF) (Filed on 4/10/2017)
                        (Entered: 04/10/2017)
 04/10/2017         203 STIPULATION WITH PROPOSED ORDER
                        PERMITTING USE OF EQUIPMENT IN THE
                        COURTROOM FOR THE TECHNOLOGY
                        TUTORIAL filed by Otto Trucking LLC,
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit A, # 2 Exhibit B)
                        (Jacobs, Michael) (Filed on 4/10/2017) (Entered:
                        04/10/2017)
 04/10/2017               (Court only) ***Motions terminated: 151
                          MOTION to Intervene under Rule 24(b) filed by
                          Anthony Levandowski. (whalc2, COURT
                          STAFF) (Filed on 4/10/2017) (Entered:
                          04/10/2017)
 04/10/2017         204 OPPOSITION/RESPONSE (re 115 MOTION to
                        Compel Arbitration of, and to Stay, Trade Secret
                        and UCL Claims (Redacted Public Version) )
                        PLAINTIFF WAYMO LLCS OPPOSITION TO



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                          DEFENDANTS MOTION TO COMPEL
                          ARBITRATION OF, AND TO STAY, TRADE
                          SECRET AND UCL CLAIMS filed byWaymo
                          LLC. (Attachments: # 1 Affidavit Declaration of
                          David A Perlson, # 2 Exhibit Exhibit A to
                          Declaration of David A. Perlson, # 3 Exhibit
                          Exhibit B to Declaration of David A. Perlson, # 4
                          Exhibit Exhibit C to Declaration of David A.
                          Perlson, # 5 Exhibit Exhibit D to Declaration of
                          David A. Perlson, # 6 Exhibit Exhibit E to
                          Declaration of David A. Perlson, # 7 Exhibit
                          Exhibit F to Declaration of David A. Perlson, # 8
                          Exhibit Declaration of Rachael Meny)
                          (Verhoeven, Charles) (Filed on 4/10/2017)
                          (Entered: 04/10/2017)
 04/10/2017         205 Administrative Motion to File Under Seal
                        Portions of Exhibit A to Waymos Discovery Letter
                        Brief Re: Inspection of LiDAR Devices filed by
                        Waymo LLC. (Attachments: # 1 Jaffe
                        Declaration, # 2 Proposed Order, # 3 Redacted
                        Version of Exhibit A, # 4 Unredacted Version of
                        Exhibit A)(Jaffe, Jordan) (Filed on 4/10/2017)
                        (Entered: 04/10/2017)
 04/10/2017         206 Discovery Letter BriefRe: Inspection of LiDAR
                        Devices filed by Waymo LLC. (Attachments: # 1
                        Exhibit A)(Jaffe, Jordan) (Filed on 4/10/2017)
                        (Entered: 04/10/2017)
 04/10/2017         207 CERTIFICATE OF SERVICE by Waymo LLC
                        re 205 Administrative Motion to File Under Seal
                        Portions of Exhibit A to Waymos Discovery Letter
                        Brief Re: Inspection of LiDAR Devices
                        (Margeson, Grant) (Filed on 4/10/2017) (Entered:
                        04/10/2017)
 04/11/2017         208 *****FILED IN ERROR. See 209 . (Entered:



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                          04/11/2017)
 04/11/2017         209 ORDER SETTING DISCOVERY HEARING
                        RE 206 INSPECTION. Signed by Judge Alsup
                        on 4/11/2017. Responses due by 4/11/2017.
                        Motion Hearing set for 4/12/2017 11:30 AM in
                        Courtroom 8, 19th Floor, San Francisco before
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 4/11/2017) (Entered:
                        04/11/2017)
 04/11/2017         210 Discovery Letter BriefRequesting Relief Related
                        to the Courts April 6 Order After Hearing Re
                        Discovery Letter Dated April 3, 2017 filed by
                        Otto Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Exhibit 1, #
                        2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                        Exhibit 5, # 6 Exhibit 6)(Gonzalez, Arturo) (Filed
                        on 4/11/2017) Modified on 4/11/2017 (ewn,
                        COURT STAFF). Modified on 4/11/2017 (ewn,
                        COURT STAFF). (Entered: 04/11/2017)
 04/11/2017         211 ORDER SETTING HEARING RE 210
                        DISCOVERY LETTER DATED APRIL 11,
                        2017. Signed by Judge Alsup on 4/11/2017.
                        Responses due by 4/11/2017. Motion Hearing
                        set for 4/12/2017 11:30 AM in Courtroom 8,
                        19th Floor, San Francisco before Hon. William
                        Alsup. (whalc2, COURT STAFF) (Filed on
                        4/11/2017) (Entered: 04/11/2017)
 04/11/2017         212 Discovery Letter Brief Re: Subpoena to Anthony
                        Levadowski filed by Waymo LLC. (Attachments:
                        # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)
                        (Verhoeven, Charles) (Filed on 4/11/2017)
                        (Entered: 04/11/2017)
 04/11/2017         213 NOTICE OF APPEAL to the Federal Circuit as to
                        202 Order on Motion for Miscellaneous Relief by


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                          Anthony Levandowski. Filing fee $ 505, receipt
                          number 0971-11306366. Appeal Record due by
                          5/11/2017. (Ramsey, Ismail) (Filed on 4/11/2017)
                          (Entered: 04/11/2017)
 04/11/2017         214 ORDER SETTING DISCOVERY HEARING
                        RE 212 SUBPOENA TO ANTHONY
                        LEVANDOWSKI. Signed by Judge Alsup on
                        4/11/2017. Responses due by 4/11/2017. Motion
                        Hearing set for 4/12/2017 11:30 AM in
                        Courtroom 8, 19th Floor, San Francisco before
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 4/11/2017) (Entered:
                        04/11/2017)
 04/11/2017         215 Declaration of Esther Kim Chang
                        (CORRECTED) in Support of 186 Declaration in
                        Support, filed byOtto Trucking LLC, Ottomotto
                        LLC, Uber Technologies, Inc.. (Related document
                        (s) 186 ) (Gonzalez, Arturo) (Filed on 4/11/2017)
                        (Entered: 04/11/2017)
 04/11/2017         216 Response Brief to 206 Waymo's April 10, 2017
                        Letter Brief Regarding the LiDAR Device
                        Inspection filed by Otto Trucking LLC,
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Gonzalez, Arturo) (Filed on 4/11/2017) Modified
                        on 4/11/2017 (alsS, COURT STAFF). (Entered:
                        04/11/2017)
 04/11/2017               (Court only) ***Motions terminated: 216
                          Discovery Letter Brief in Response to 206
                          Waymo's April 10, 2017 Letter Brief Regarding
                          the LiDAR Device Inspection filed by Uber
                          Technologies, Inc., Otto Trucking LLC,
                          Ottomotto LLC. (alsS, COURT STAFF) (Filed on
                          4/11/2017) (Entered: 04/11/2017)
 04/11/2017         217 OPPOSITION/RESPONSE (re 210 Discovery


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                          Letter BriefRequesting Relief Related to the
                          Courts April 6 Order After Hearing Re Discovery
                          Letter Dated April 3, 2017 ) filed byWaymo LLC.
                          (Attachments: # 1 Exhibit A, # 2 Exhibit B)
                          (Perlson, David) (Filed on 4/11/2017) (Entered:
                          04/11/2017)
 04/11/2017         218 OPPOSITION/RESPONSE (re 210 Discovery
                        Letter BriefRequesting Relief Related to the
                        Courts April 6 Order After Hearing Re Discovery
                        Letter Dated April 3, 2017 ) CORRECTION OF
                        DOCKET # 217 filed byWaymo LLC. (Perlson,
                        David) (Filed on 4/11/2017) (Entered:
                        04/11/2017)
 04/11/2017         219 ORDER PERMITTING USE OF
                        EQUIPMENT IN THE COURTROOM FOR
                        THE TECHNOLOGY TUTORIAL (pursuant
                        to 203 stipulation) by Hon. William Alsup.
                        (whalc2, COURT STAFF) (Filed on 4/11/2017)
                        (Entered: 04/11/2017)
 04/11/2017         220 OPPOSITION/RESPONSE (re 212 Discovery
                        Letter Brief Re: Subpoena to Anthony
                        Levadowski ) filed byAnthony Levandowski.
                        (Ramsey, Ismail) (Filed on 4/11/2017) (Entered:
                        04/11/2017)
 04/11/2017         221 Declaration of James Judah in Support of 173
                        Administrative Motion to File Under Seal Re
                        Defendants' Opposition to Plaintiff's Motion for
                        Preliminary Injunction filed byWaymo LLC.
                        (Related document(s) 173 ) (Judah, James) (Filed
                        on 4/11/2017) (Entered: 04/11/2017)
 04/11/2017         222 EXHIBITS re 173 Administrative Motion to File
                        Under Seal Re Defendants' Opposition to
                        Plaintiff's Motion for Preliminary Injunction
                        Redacted Version of Defendants' Opposition to


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                          Waymo's Motion for Preliminary Injunction filed
                          byWaymo LLC. (Attachments: # 1 Unredacted
                          Version of Defendants' Opposition to Waymo's
                          Motion for Preliminary Injunction, # 2 Redacted
                          Version of Lebby Declaration, # 3 Unredacted
                          Version of Lebby Declaration, # 4 Redacted
                          Version of Kshirsagar Declaration, # 5
                          Unredacted Version of Kshirsagar Declaration, #
                          6 Redacted Version of McManamon Declaration,
                          # 7 Unredacted Version of McManamon
                          Declaration, # 8 Redacted Version of Chang
                          Declaration Exhibit 4, # 9 Unredacted Version of
                          Chang Declaration Exhibit 4, # 10 Redacted
                          Version of Chang Declaration Exhibit 7, # 11
                          Unredacted Version of Chang Declaration Exhibit
                          7)(Related document(s) 173 ) (Judah, James)
                          (Filed on 4/11/2017) (Entered: 04/11/2017)
 04/12/2017         223 ORDER TO BRING PRIVILEGE LOG TO
                        HEARING. Signed by Judge Alsup on
                        4/12/2017. (whalc2, COURT STAFF) (Filed on
                        4/12/2017) (Entered: 04/12/2017)
 04/12/2017         224 TRANSCRIPT ORDER for proceedings held on
                        04/12/2017 before Hon. William Alsup by Otto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc., for Court Reporter Jo Ann
                        Bryce. (Gonzalez, Arturo) (Filed on 4/12/2017)
                        (Entered: 04/12/2017)
 04/12/2017         225 COURT-ORDERED INTERROGATORIES
                        TO DEFENDANTS TO ASSIST COURT IN
                        SUPERVISING CASE MANAGEMENT AND
                        EXPEDITED DISCOVERY. Signed by Judge
                        Alsup on 4/12/2017. Responses due by
                        4/25/2017. (whalc2, COURT STAFF) (Filed on
                        4/12/2017) (Entered: 04/12/2017)




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 04/12/2017         226 ORDER GRANTING 145
                        ADMINISTRATIVE MOTION TO REMOVE
                        INCORRECTLY FILED DOCUMENTS by
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 4/12/2017) (Entered:
                        04/12/2017)
 04/12/2017         227 TRANSCRIPT ORDER for proceedings held on
                        04/12/2017 before Hon. William Alsup by
                        Waymo LLC, for Court Reporter Jo Ann Bryce.
                        (Perlson, David) (Filed on 4/12/2017) (Entered:
                        04/12/2017)
 04/12/2017         228 ORDER AFTER DISCOVERY HEARINGS
                        (re 206 210 212 ) by Judge Alsup. (whalc2,
                        COURT STAFF) (Filed on 4/12/2017)
                        (Entered: 04/12/2017)
 04/12/2017               (Court only) ***Motions terminated: 135
                          Discovery Letter Brief re Defendants' Violation
                          of the Court's March 16 Expedited Discovery
                          Order filed by Waymo LLC. (whalc2, COURT
                          STAFF) (Filed on 4/12/2017) (Entered:
                          04/12/2017)
 04/12/2017         234 Minute Entry for proceedings held before Hon.
                        William Alsup: Tutorial Hearing held on
                        4/12/2017. Discovery Hearing re # 206 , # 210 ,
                        # 212 held on 4/12/2017. Case is referred to
                        Magistrate Judge Corley for Discovery. Parties
                        shall meet with Judge Corley at 10:00 am on
                        4/14/2017. Total Time in Court 2:50. Court
                        Reporter Name JoAnn Bryce. Special Master
                        John Cooper.Plaintiff Attorneys Jordan Jaffe;
                        David Perlson; Felipe Corredor; Jeff
                        Nardinelli. Defendant Attorneys Arturo
                        Gonzalez; Wendy Ray; Michael Jacobs;
                        Michelle Yang; Esther Chang. Intervenor



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                          Attorneys Ismail Ramsey; MIles Ehrlich. This
                          is a text-only Minute Entry (dl, COURT
                          STAFF) (Date Filed: 4/12/2017) (Entered:
                          04/13/2017)
 04/13/2017         229 Transmission of Notice of Appeal and Docket
                        Sheet to the Federal Circuit Court of Appeals as
                        to 213 Notice of Appeal to the Federal Circuit,.
                        (Attachments: # 1 Docket Sheet, # 2 Notice of
                        Appeal, # 3 Order)(rcsS, COURT STAFF) (Filed
                        on 4/13/2017) (Entered: 04/13/2017)
 04/13/2017         230 Transcript of Proceedings held on 4/12/17, before
                        Judge William H. Alsup. Court Reporter Jo Ann
                        Bryce, telephone number 510-910-5888,
                        joann_bryce@cand.uscourts.gov. Per General
                        Order No. 59 and Judicial Conference policy, this
                        transcript may be viewed only at the Clerk's
                        Office public terminal or may be purchased
                        through the Court Reporter until the deadline for
                        the Release of Transcript Restriction after 90
                        days. After that date, it may be obtained through
                        PACER. Any Notice of Intent to Request
                        Redaction, if required, is due no later than 5
                        business days from date of this filing. (Re 224
                        Transcript Order ) Release of Transcript
                        Restriction set for 7/12/2017. (Related documents
                        (s) 224 ) (Bryce, Joann) (Filed on 4/13/2017)
                        (Entered: 04/13/2017)
 04/13/2017               (Court only) TRANSCRIPT COPY DELIVERED
                          re 227 Transcript Order (Related documents(s)
                          227 ) (Bryce, Joann) (Filed on 4/13/2017)
                          (Entered: 04/13/2017)
 04/13/2017         231 Proposed Order [Proposed] Order Appointing
                        John L. Cooper Special Master Pursuant to
                        Federal Rule of Civil Procedure 53 by John Lee



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                          Cooper. (Cooper, John) (Filed on 4/13/2017)
                          (Entered: 04/13/2017)
 04/13/2017         232 AFFIDAVIT Affidavit of John L. Cooper
                        Regarding Appointment As Special Master by
                        John Lee Cooper. (Cooper, John) (Filed on
                        4/13/2017) (Entered: 04/13/2017)
 04/13/2017         233 MOTION for leave to appear in Pro Hac Vice for
                        Jared Newton ( Filing fee $ 310, receipt number
                        0971-11312945.) filed by Waymo LLC. (Newton,
                        Jared) (Filed on 4/13/2017) (Entered: 04/13/2017)
 04/13/2017         235 ORDER APPOINTING ATTORNEY JOHN
                        COOPER AS SPECIAL MASTER. Signed by
                        Judge Alsup on 4/13/2017. (whalc2, COURT
                        STAFF) (Filed on 4/13/2017) (Entered:
                        04/13/2017)
 04/13/2017         236 ORDER DENYING 233 PRO HAC VICE
                        APPLICATION by Hon. William Alsup.
                        (whalc2, COURT STAFF) (Filed on 4/13/2017)
                        (Entered: 04/13/2017)
 04/13/2017         241 USCA Case Number 17-1904 Federal Circuit for
                        213 Notice of Appeal to the Federal Circuit, filed
                        by Anthony Levandowski. (alsS, COURT
                        STAFF) (Filed on 4/13/2017) (Entered:
                        04/17/2017)
 04/13/2017         242 ORDER of USCA as to 213 Notice of Appeal to
                        the Federal Circuit, filed by Anthony
                        Levandowski (alsS, COURT STAFF) (Filed on
                        4/13/2017) (Entered: 04/17/2017)
 04/14/2017               CASE REFERRED to Magistrate Judge
                          Jacqueline Scott Corley for Discovery (ahm,
                          COURT STAFF) (Filed on 4/14/2017) (Entered:
                          04/14/2017)




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 04/14/2017               (Court only) ***Set/Clear Flags (ahm, COURT
                          STAFF) (Filed on 4/14/2017) (Entered:
                          04/14/2017)
 04/14/2017               Set/Reset Hearing: Discovery Hearing set for
                          4/14/2017 at 10:00 AM in Courtroom F, 15th
                          Floor, San Francisco before Magistrate Judge
                          Jacqueline Scott Corley. (ahm, COURT STAFF)
                          (Filed on 4/14/2017) (Entered: 04/14/2017)
 04/14/2017         237 REFERRAL FOR DISCOVERY WITH
                        JUDGE CORLEY. Signed by Judge Alsup on
                        4/14/2017. (whalc2, COURT STAFF) (Filed on
                        4/14/2017) (Entered: 04/14/2017)
 04/14/2017         238 Amended MOTION for leave to appear in Pro
                        Hac Vice for Jared Newton ( Filing fee $ 310,
                        receipt number 0971-11312945.) Filing fee
                        previously paid on 4/13/2017 filed by Waymo
                        LLC. (Newton, Jared) (Filed on 4/14/2017)
                        (Entered: 04/14/2017)
 04/14/2017         239 ORDER GRANTING 238 APPLICATION
                        FOR ADMISSION OF ATTORNEY JARED
                        NEWTON PRO HAC VICE by Hon. William
                        Alsup. (whalc2, COURT STAFF) (Filed on
                        4/14/2017) (Entered: 04/14/2017)
 04/14/2017         240 Minute Entry for proceedings held before
                        Magistrate Judge Jacqueline Scott Corley:
                        Discovery Hearing held on 4/14/2017. The
                        parties shall continue to work with the Special
                        Master to come to agreement on as many
                        discovery disputes as possible. If they are
                        unable to resolve disputes among themselves
                        with the assistance of the Special Master, they
                        shall bring them to the Magistrate Judge who
                        will hear and decide them on an expedited
                        basis. (FTR Time 10:18-10:27; 10:47-11:02.)


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                          Special Master: John Cooper.
                          Attorneys for Plaintiff: Charles Verhoeven;
                          Jeffrey Nardinelli; Jordan Jaffe.
                          Attorney for Defendant: Arturo Gonzalez.

                          This is a text-only Minute Entry (ahm,
                          COURT STAFF) (Date Filed: 4/14/2017)
                          (Entered: 04/17/2017)
 04/17/2017         243 REPLY in Support of 115 MOTION to Compel
                        Arbitration of, and to Stay, Trade Secret and UCL
                        Claims (Redacted Public Version) filed by Otto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc. (Attachments: # 1 Declaration
                        of Arturo Gonzalez, # 2 Exhibit 1 to Gonzalez
                        Declaration, # 3 Exhibit 2 to Gonzalez
                        Declaration)(Gonzalez, Arturo) (Filed on
                        4/17/2017) Modified on 4/18/2017 (alsS, COURT
                        STAFF). (Entered: 04/17/2017)
 04/19/2017         244 Brief Court Ordered Fifth Amendment
                        Submission filed byAnthony Levandowski.
                        (Ramsey, Ismail) (Filed on 4/19/2017) (Entered:
                        04/19/2017)
 04/21/2017         245 Administrative Motion to File Under Seal filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Lindsay Cooper in Support of Administrative
                        Motion to File Under Seal, # 2 Proposed Order, #
                        3 Unredacted Reply in Support of Motion for
                        Preliminary Injunction, # 4 Redacted Reply in
                        Support of Motion for Preliminary Injunction, # 5
                        Unredacted Declaration of Gregory Kintz, # 6
                        Redacted Declaration of Gregory Kintz)
                        (Verhoeven, Charles) (Filed on 4/21/2017)
                        (Entered: 04/21/2017)
 04/21/2017         246 EXHIBITS re 245 Administrative Motion to File



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                          Under Seal Additional Attachments filed
                          byWaymo LLC. (Attachments: # 1 Unredacted
                          Ex. 62, # 2 Unredacted Ex. 63, # 3 Unredacted
                          Ex. 64, # 4 Unredacted Ex. 65, # 5 Unredacted
                          Ex. 66, # 6 Unredacted Ex. 67, # 7 Unredacted
                          Ex. 68, # 8 Unredacted Ex. 69, # 9 Unredacted
                          Ex. 70, # 10 Unredacted Ex. 71, # 11 Unredacted
                          Ex. 72, # 12 Unredacted Ex. 73, # 13 Unredacted
                          Ex. 74, # 14 Unredacted Ex. 75, # 15 Unredacted
                          Ex. 76, # 16 Unredacted Ex. 77, # 17 Unredacted
                          Ex. 78, # 18 Unredacted Ex. 80, # 19 Unredacted
                          Ex. 81, # 20 Unredacted Ex. 82, # 21 Unredacted
                          Ex. 83, # 22 Unredacted Ex. 84, # 23 Unredacted
                          Ex. 85, # 24 Unredacted Ex. 86, # 25 Unredacted
                          Ex. 87, # 26 Unredacted Ex. 88)(Related
                          document(s) 245 ) (Verhoeven, Charles) (Filed on
                          4/21/2017) (Entered: 04/21/2017)
 04/21/2017         247 EXHIBITS re 245 Administrative Motion to File
                        Under Seal Additional Exhibits filed byWaymo
                        LLC. (Attachments: # 1 Unredacted Ex. 91, # 2
                        Unredacted Ex. 92, # 3 Unredacted Ex. 93, # 4
                        Unredacted Ex. 94, # 5 Unredacted Ex. 95, # 6
                        Unredacted Ex. 96, # 7 Unredacted Ex. 97, # 8
                        Unredacted Ex. 98, # 9 Unredacted Ex. 99, # 10
                        Unredacted Ex. 100, # 11 Unredacted Ex. 101, #
                        12 Unredacted Ex. 104, # 13 Unredacted Ex. 105,
                        # 14 Unredacted Ex. 106, # 15 Unredacted Ex.
                        107, # 16 Unredacted Ex. 109, # 17 Unredacted
                        Ex. 110)(Related document(s) 245 ) (Verhoeven,
                        Charles) (Filed on 4/21/2017) (Entered:
                        04/21/2017)
 04/21/2017         248 Declaration of Jordan Jaffe in Support of
                        Waymo's Reply in Support of Motion for a
                        Preliminary Injunction filed byWaymo LLC.
                        (Attachments: # 1 Exhibit 61-64, # 2 Exhibit 65, #



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                          *** EXHIBIT FILED IN ERROR WITH
                          CONFIDENTIAL INFORMATION.
                          DOCUMENT LOCKED. DOCUMENT TO
                          BE REFILED LATER. ***
                          (3) Exhibit 66, # 4 Exhibit 67, # 5 Exhibit 68-77,
                          # 6 Exhibit 78, # 7 Exhibit 79, # 8 Exhibit 80-83,
                          # 9 Exhibit 84, # 10 Exhibit 85-88, # 11 Exhibit
                          89, # 12 Exhibit 90, # 13 Exhibit 91, # 14 Exhibit
                          92-101, # 15 Exhibit 102, # 16 Exhibit 103, # 17
                          Exhibit 104-107, # 18 Exhibit 108, # 19 Exhibit
                          109, # 20 Exhibit 110, # 21 Exhibit 111, # 22
                          Exhibit 112, # 23 Exhibit 113)(Verhoeven,
                          Charles) (Filed on 4/21/2017) Modified on
                          4/25/2017 (fff, COURT STAFF). (Entered:
                          04/21/2017)
 04/21/2017         249 CERTIFICATE OF SERVICE by Waymo LLC
                        re 245 Administrative Motion to File Under Seal
                        (Verhoeven, Charles) (Filed on 4/21/2017)
                        (Entered: 04/21/2017)
 04/21/2017         250 RESPONSE to re 244 Brief Waymo's Response to
                        Intervenor Levandowski's Court-Ordered Fifth
                        Amendment Submission by Waymo LLC.
                        (Verhoeven, Charles) (Filed on 4/21/2017)
                        (Entered: 04/21/2017)
 04/21/2017         251 NOTICE of Appearance by Indra Neel Chatterjee
                        (Chatterjee, Indra) (Filed on 4/21/2017) (Entered:
                        04/21/2017)
 04/21/2017         252 NOTICE of Appearance by Brett Michael
                        Schuman (Schuman, Brett) (Filed on 4/21/2017)
                        (Entered: 04/21/2017)
 04/21/2017         253 NOTICE of Appearance by Rachel Melissa
                        Walsh (Walsh, Rachel) (Filed on 4/21/2017)
                        (Entered: 04/21/2017)




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 04/22/2017         254 REPLY (re 24 MOTION for Preliminary
                        Injunction ) Public Redacted Version of Waymo's
                        Reply in Support of its Motion for a Preliminary
                        Injunction filed byWaymo LLC. (Attachments: #
                        1 Declaration Public Redacted Version of Kintz
                        Declaration in Support of Waymo's Reply)
                        (Verhoeven, Charles) (Filed on 4/22/2017)
                        (Entered: 04/22/2017)
 04/22/2017         255 ORDER RE SUR-REPLY TO 115
                        DEFENDANTS' MOTION TO COMPEL
                        ARBITRATION. Signed by Judge Alsup on
                        4/22/2017. (whalc2, COURT STAFF) (Filed on
                        4/22/2017) (Entered: 04/22/2017)
 04/24/2017         256 CLERK'S NOTICE Scheduling Discovery
                        Hearing. TO ALL PARTIES AND COUNSEL
                        OF RECORD: Please take notice that a discovery
                        hearing is scheduled for April 25, 2017 at 2:00
                        p.m., before Magistrate Judge Jacqueline Scott
                        Corley, in Courtroom F, 15th Floor, Federal
                        Building, 450 Golden Gate Avenue in San
                        Francisco. Mr. Cooper will give the parties the
                        briefing instructions.

                          (This is a text only docket entry, there is no
                          document associated with this notice.)

                          (ahm, COURT STAFF) (Filed on 4/24/2017)
                          (Entered: 04/24/2017)
 04/24/2017         257 NOTICE of Appearance by Indra Neel Chatterjee
                        (Chatterjee, Indra) (Filed on 4/24/2017) (Entered:
                        04/24/2017)
 04/24/2017         258 NOTICE of Appearance by Brett Michael
                        Schuman (Schuman, Brett) (Filed on 4/24/2017)
                        (Entered: 04/24/2017)



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 04/24/2017         259 NOTICE of Appearance by Rachel Melissa
                        Walsh (Walsh, Rachel) (Filed on 4/24/2017)
                        (Entered: 04/24/2017)
 04/24/2017         260 Supplemental Brief re 115 MOTION to Compel
                        Arbitration of, and to Stay, Trade Secret and UCL
                        Claims (Redacted Public Version), 243 Reply to
                        Opposition/Response, 255 Order Plaintiff Waymo
                        LLC's Sur-Reply In Opposition To Defendants'
                        Motion To Compel Arbitration Of, And To Stay,
                        Trade Secret And UCL Claims filed byWaymo
                        LLC. (Related document(s) 115 , 243 , 255 )
                        (Verhoeven, Charles) (Filed on 4/24/2017)
                        (Entered: 04/24/2017)
 04/24/2017         261 NOTICE of Change In Counsel by Indra Neel
                        Chatterjee (Notice of Withdrawal of Counsel for
                        Intervenor Anthony Levandowski) (Chatterjee,
                        Indra) (Filed on 4/24/2017) (Entered: 04/24/2017)
 04/24/2017         262 NOTICE of Change In Counsel by Indra Neel
                        Chatterjee (Notice of Change of Counsel for
                        Defendant Otto Trucking LLC and Proposed
                        Order) (Chatterjee, Indra) (Filed on 4/24/2017)
                        (Entered: 04/24/2017)
 04/25/2017         263 NOTICE RE QUESTIONS FOR HEARING
                        ON DEFENDANTS' MOTION TO COMPEL
                        ARBITRATION. Signed by Judge Alsup on
                        4/25/2017. (whalc2, COURT STAFF) (Filed on
                        4/25/2017) (Entered: 04/25/2017)
 04/25/2017         264 Administrative Motion to File Under Seal
                        Regarding Defendants' Responses to Court-
                        Ordered Interrogatories filed by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Declaration of Wendy Ray, # 2
                        Proposed Order, # 3 Redacted Version of
                        Defendants' Responses to Court-Ordered


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                          Interrogatories, # 4 Unredacted Version of
                          Defendants' Responses to Court-Ordered
                          Interrogatories, # 5 Unredacted Version of
                          Exhibit A)(Gonzalez, Arturo) (Filed on
                          4/25/2017) (Entered: 04/25/2017)
 04/25/2017         265 RESPONSE to re 225 Order, Set Deadlines -
                        DEFENDANTS' RESPONSES TO COURT-
                        ORDERED INTERROGATORIES TO ASSIST
                        COURT IN SUPERVISING CASE
                        MANAGEMENT AND EXPEDITED
                        DISCOVERY by Otto Trucking LLC, Ottomotto
                        LLC, Uber Technologies, Inc.. (Attachments: # 1
                        Exhibit A (REDACTED PUBLIC VERSION))
                        (Gonzalez, Arturo) (Filed on 4/25/2017) (Entered:
                        04/25/2017)
 04/25/2017               (Court only) *** Attorney Rachel Melissa Walsh;
                          Indra Neel Chatterjee and Brett Michael Schuman
                          terminated. (alsS, COURT STAFF) (Filed on
                          4/25/2017) (Entered: 04/25/2017)
 04/25/2017         266 STIPULATION WITH PROPOSED ORDER
                        PERMITTING USE OF EQUIPMENT IN THE
                        COURTROOM for the HEARING ON
                        DEFENDANTS MOTION TO COMPEL
                        ARBITRATION filed by Waymo LLC.
                        (Verhoeven, Charles) (Filed on 4/25/2017)
                        (Entered: 04/25/2017)
 04/25/2017         267 CERTIFICATE OF SERVICE by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc. re
                        Unredacted Versions of Documents Submitted
                        Under Seal (Gonzalez, Arturo) (Filed on
                        4/25/2017) (Entered: 04/25/2017)
 04/25/2017         268 TRANSCRIPT ORDER for proceedings held on
                        4/25/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Otto Trucking LLC, Ottomotto


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                          LLC, Uber Technologies, Inc., for Court Reporter
                          FTR - San Francisco. (Gonzalez, Arturo) (Filed
                          on 4/25/2017) (Entered: 04/25/2017)
 04/25/2017         269 Minute Entry for proceedings held before
                        Magistrate Judge Jacqueline Scott Corley:
                        Discovery Hearing held on 4/25/2017. Court to
                        issue order. (FTR Time 2:00-3:04.)

                          Attorneys for Plaintiff: Charles Verhoeven;
                          David Perlson; Jeffrey Nardinelli.
                          Attorneys for Defendant: Arturo Gonzalez;
                          Neel Chatterjee.

                          This is a text-only Minute Entry (ahm,
                          COURT STAFF) (Date Filed: 4/25/2017)
                          Modified on 4/25/2017: Matter transcribed by
                          Leo Mankiewicz. (rjdS, COURT STAFF).
                          (Entered: 04/25/2017)
 04/25/2017         270 TRANSCRIPT ORDER for proceedings held on
                        04/25/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Waymo LLC, for Court Reporter
                        FTR - San Francisco. (Perlson, David) (Filed on
                        4/25/2017) (Entered: 04/25/2017)
 04/25/2017         271 ORDER RE DEFENDANTS' PRIVILEGE
                        LOG AND DUE DILIGENCE REPORT.
                        Signed by Judge Alsup on 4/25/2017. (whalc2,
                        COURT STAFF) (Filed on 4/25/2017)
                        (Entered: 04/25/2017)
 04/25/2017         272 EXHIBITS re 245 Administrative Motion to File
                        Under Seal -DECLARATION OF ESTHER KIM
                        CHANG IN SUPPORT OF PLAINTIFFS
                        ADMINISTRATIVE MOTION TO FILE UNDER
                        SEAL PORTIONS OF ITS REPLY IN SUPPORT
                        OF ITS MOTION FOR A PRELIMINARY
                        INJUCTION, SUPPORTING DECLARATIONS,


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                          AND EXHIBITS THERETO filed byOtto
                          Trucking LLC, Ottomotto LLC, Uber
                          Technologies, Inc.. (Attachments: # 1 Redacted
                          Version of Jaffe Ex. 61, # 2 Unredacted Version
                          of Jaffe Ex. 61, # 3 Redacted Version of Jaffe Ex.
                          62, # 4 Unredacted Version of Jaffe Ex. 62, # 5
                          Redacted Version of Jaffe Ex. 63, # 6 Unredacted
                          Version of Jaffe Ex. 63, # 7 Unredacted Version
                          of Jaffe Ex. 67)(Related document(s) 245 )
                          (Gonzalez, Arturo) (Filed on 4/25/2017) (Entered:
                          04/25/2017)
 04/25/2017         273 EXHIBITS re 248 Declaration in Support,,,
                        Exhibit 66, CORRECTION OF DOCKET # [248-
                        3] filed byWaymo LLC. (Related document(s)
                        248 ) (Verhoeven, Charles) (Filed on 4/25/2017)
                        (Entered: 04/25/2017)
 04/25/2017         274 MOTION to Remove Incorrectly Filed Document
                        Docket No. [248-3] filed by Waymo LLC.
                        (Attachments: # 1 Proposed Order)(Verhoeven,
                        Charles) (Filed on 4/25/2017) (Entered:
                        04/25/2017)
 04/25/2017         351 ORDER of USCA as to 213 Notice of Appeal to
                        the Federal Circuit, filed by Anthony
                        Levandowski (alsS, COURT STAFF) (Filed on
                        4/25/2017) (Entered: 05/04/2017)
 04/26/2017         275 ORDER PERMITTING USE OF
                        EQUIPMENT IN THE COURTROOM FOR
                        THE HEARING ON DEFENDANTS'
                        MOTION TO COMPEL ARBITRATION
                        (pursuant to 266 stipulation) by Hon. William
                        Alsup.

                          Time will be limited. The calendar is full.




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                          (whalc2, COURT STAFF) (Filed on 4/26/2017)
                          (Entered: 04/26/2017)
 04/26/2017         276 ORDER RE: APEX DEPOSITION OF
                        LARRY PAGE. Signed by Magistrate Judge
                        Jacqueline Scott Corley on 4/26/2017. (ahm,
                        COURT STAFF) (Filed on 4/26/2017)
                        (Entered: 04/26/2017)
 04/26/2017         277 Transcript of Proceedings held on 04/25/2017,
                        before Magistrate Judge Jacqueline Scott Corley.
                        Court Reporter/Transcriber Leo T. Mankiewicz,
                        CSR, RMR, CRR, telephone number (415) 722-
                        7045; email: leomank@gmail.com. FTR 2:00
                        p.m. - 3:04 p.m. = 64 minutes. Per General Order
                        No. 59 and Judicial Conference policy, this
                        transcript may be viewed only at the Clerk's
                        Office public terminal or may be purchased
                        through the Court Reporter/Transcriber until the
                        deadline for the Release of Transcript Restriction.
                        After that date it may be obtained through
                        PACER. Any Notice of Intent to Request
                        Redaction, if required, is due no later than 5
                        business days from date of this filing. (Re 268
                        Transcript Order, 270 Transcript Order )
                        Redaction Request due 5/17/2017. Redacted
                        Transcript Deadline set for 5/30/2017. Release of
                        Transcript Restriction set for 7/25/2017. (Related
                        documents(s) 268 , 270 ) (Mankiewicz, Leo)
                        (Filed on 4/26/2017) (Entered: 04/26/2017)
 04/26/2017         278 Discovery Letter Brief re Improper Notice of
                        Apex Deposition filed by Waymo LLC.
                        (Verhoeven, Charles) (Filed on 4/26/2017)
                        (Entered: 04/26/2017)
 04/26/2017         279 Discovery Letter Brief re Discovery Issues Ripe
                        for Resolution filed by Waymo LLC. (Verhoeven,



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                          Charles) (Filed on 4/26/2017) (Entered:
                          04/26/2017)
 04/26/2017         280 Administrative Motion to File Under Seal
                        Regarding Defendants' Discovery Letter Brief
                        filed by Otto Trucking LLC, Ottomotto LLC,
                        Uber Technologies, Inc.. (Attachments: # 1
                        Declaration of Esther Kim Chang, # 2 Proposed
                        Order, # 3 Redacted Version of Defendants'
                        Discovery Letter Brief, # 4 Unredacted Version
                        of Defendants' Discovery Letter Brief, # 5
                        Redacted Version of Exhibit A, # 6 Unredacted
                        Version of Exhibit A, # 7 Unredacted Version of
                        Exhibit B (ENTIRELY UNDER SEAL), # 8
                        Redacted Version of Exhibit C, # 9 Unredacted
                        Version of Exhibit C)(Gonzalez, Arturo) (Filed
                        on 4/26/2017) (Entered: 04/26/2017)
 04/26/2017         281 Discovery Letter Brief to Magistrate Judge
                        Corley, dated April 24, 2017 (REDACTED
                        PUBLIC VERSION) filed by Otto Trucking LLC,
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit A (REDACTED
                        PUBLIC VERSION), # 2 Exhibit B
                        (REDACTED PUBLIC VERSION), # 3 Exhibit
                        C (REDACTED PUBLIC VERSION), # 4
                        Exhibit D)(Gonzalez, Arturo) (Filed on
                        4/26/2017) (Entered: 04/26/2017)
 04/26/2017         282 CERTIFICATE OF SERVICE by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc. re
                        Unredacted Versions of Documents Submitted
                        Under Seal and Supporting Declaration
                        (Gonzalez, Arturo) (Filed on 4/26/2017) (Entered:
                        04/26/2017)
 04/26/2017         286 Minute Entry for proceedings held before
                        Magistrate Judge Elizabeth D. Laporte:



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                          Settlement Conference held on 4/26/2017.

                          Case did not settle. Parties advised they may
                          contact courtroom deputy for Further
                          Settlement Conference.

                          Total Time in Court: 6 Hours; 30 Minutes. Not
                          Reported or Recorded.

                          Plaintiff Attorney: Charles K. Verhoeven.
                          Defendant Attorneys: Michael A. Jacobs,
                          Arturo J. Gonzalez, Angela Padilla, Hamish
                          Hume, I. Neel Chatterjee.
                          Also Present: Kevin Vosen, Plaintiff Client
                          Rep., Plaintiff In House Counsel Shana
                          Stanton, Adam Bentley, Client Rep Otto
                          Trucking, Nicole T. Bartow, Director II
                          Litigation, Otto Trucking.
                          This is a text-only Minute Entry. There is no
                          pdf image associated with this entry. (afmS,
                          COURT STAFF) (Date Filed: 4/26/2017)
                          Modified on 4/27/2017 (afmS, COURT
                          STAFF). (Entered: 04/27/2017)
 04/27/2017         283 JOINT CASE MANAGEMENT STATEMENT;
                        and [Proposed] Order, filed by Waymo LLC.
                        (Verhoeven, Charles) (Filed on 4/27/2017)
                        Modified on 4/28/2017 (alsS, COURT STAFF).
                        (Entered: 04/27/2017)
 04/27/2017         284 Discovery Letter Brief filed by Uber
                        Technologies, Inc.. (Attachments: # 1 Exhibit A)
                        (Gonzalez, Arturo) (Filed on 4/27/2017) (Entered:
                        04/27/2017)
 04/27/2017         285 TRANSCRIPT ORDER for proceedings held on
                        4/27/2017 before Hon. William Alsup by
                        Ottomotto LLC, Uber Technologies, Inc., for


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                          Court Reporter Belle Ball. (Hume, Hamish)
                          (Filed on 4/27/2017) (Entered: 04/27/2017)
 04/27/2017         287 TRANSCRIPT ORDER for proceedings held on
                        04/27/2017 before Hon. William Alsup by
                        Waymo LLC, for Court Reporter Belle Ball.
                        (Perlson, David) (Filed on 4/27/2017) (Entered:
                        04/27/2017)
 04/27/2017         288 Minute Entry for proceedings held before
                        Magistrate Judge Jacqueline Scott Corley:
                        Discovery Hearing held on 4/27/2017. The
                        issues in Discovery Letter Brief 284 are
                        resolved as stated on the record. (FTR Time
                        1:38-1:44.)

                          Attorneys for Plaintiff: Charles Verhoeven;
                          David Perlson; Jeffrey Nardenelli.
                          Attorney for Defendant: Arturo Gonzalez.

                          This is a text-only Minute Entry (ahmS,
                          COURT STAFF) (Date Filed: 4/27/2017)
                          Modified on 4/27/2017: Matter transcribed by
                          Leo Mankiewicz. (rjdS, COURT STAFF).
                          (Entered: 04/27/2017)
 04/27/2017         289 TRANSCRIPT ORDER for proceedings held on
                        04/27/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Otto Trucking LLC, Ottomotto
                        LLC, Uber Technologies, Inc., for Court Reporter
                        FTR - San Francisco. (Gonzalez, Arturo) (Filed
                        on 4/27/2017) (Entered: 04/27/2017)
 04/27/2017         290 TRANSCRIPT ORDER for proceedings held on
                        04/27/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Waymo LLC, for Court Reporter
                        FTR - San Francisco. (Perlson, David) (Filed on
                        4/27/2017) (Entered: 04/27/2017)




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 04/27/2017         291 *** DISREGARD - FILED IN ERROR (SEE
                        DOCKET # 292) ***
                        TRANSCRIPT ORDER for proceedings held on
                        04/27/2017 before Hon. William Alsup by John
                        Lee Cooper, for Court Reporter Belle Ball.
                        (Cooper, John) (Filed on 4/27/2017) Modified on
                        4/27/2017 (rjdS, COURT STAFF). (Entered:
                        04/27/2017)
 04/27/2017         292 TRANSCRIPT ORDER for proceedings held on
                        04/27/2017 before Magistrate Judge Jacqueline
                        Scott Corley by John Lee Cooper, for Court
                        Reporter FTR - San Francisco. (Cooper, John)
                        (Filed on 4/27/2017) (Entered: 04/27/2017)
 04/27/2017         300 Minute Entry for proceedings held before Hon.
                        William Alsup: Motion Hearing held on
                        4/27/2017 re 115 MOTION to Compel
                        Arbitration of, and to Stay, Trade Secret and
                        UCL Claims (Redacted Public Version) filed by
                        Uber Technologies, Inc., Otto Trucking LLC,
                        Ottomotto LLC. Parties shall file supplemental
                        briefing by 5/1/17. Motion Taken Under
                        Submission. Total Time in Court 1 hour.
                        Court Reporter Name Belle Ball. Plaintiff
                        Attorney Charles Verhoeven; Melissa Baily;
                        James Judah; John McCauley. Defendant
                        Attorney Arturo Gonzalez; Meredith
                        Dearborn; Henry Smith; Hamish Hume;
                        Michael Jacobs; Neel Chatterjee. This is a text-
                        only Minute Entry (dl, COURT STAFF) (Date
                        Filed: 4/27/2017) (Entered: 04/28/2017)
 04/28/2017         293 Transcript of Proceedings held on April 27, 2017,
                        before Judge William H. Alsup. Court Reporter
                        Belle Ball, CSR, CRR, RDR, telephone number
                        (415) 373-2529. Per General Order No. 59 and
                        Judicial Conference policy, this transcript may be


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                          viewed only at the Clerk's Office public terminal
                          or may be purchased through the Court Reporter
                          until the deadline for the Release of Transcript
                          Restriction. After that date it may be obtained
                          through PACER. Any Notice of Intent to Request
                          Redaction, if required, is due no later than 5
                          business days from date of this filing. (Re 285
                          Transcript Order, 291 Transcript Order, 287
                          Transcript Order ) Release of Transcript
                          Restriction set for 7/27/2017. (Related documents
                          (s) 285 , 291 , 287 ) (Ball, Belle) (Filed on
                          4/28/2017) (Entered: 04/28/2017)
 04/28/2017         294 Discovery Letter Brief filed by Uber
                        Technologies, Inc.. (Gonzalez, Arturo) (Filed on
                        4/28/2017) (Entered: 04/28/2017)
 04/28/2017         295 Administrative Motion to File Under Seal
                        Regarding Defendants' Sur-reply to Plaintiff's
                        Motion for Preliminary Injunction filed by Otto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Declaration
                        of Michelle Yang, # 2 Proposed Order, # 3
                        Redacted Version of Defendants' Sur-reply to
                        Plaintiff Waymo's Motion for Preliminary
                        Injunction, # 4 Unredacted Version of
                        Defendants' Sur-reply to Plaintiff Waymo's
                        Motion for Preliminary Injunction)(Gonzalez,
                        Arturo) (Filed on 4/28/2017) (Entered:
                        04/28/2017)
 04/28/2017         296 Transcript of Proceedings held on 04/27/2017,
                        before Magistrate Judge Jacqueline Scott Corley.
                        Court Reporter/Transcriber Leo T. Mankiewicz,
                        CSR, RMR, CRR, telephone number (415) 722-
                        7045; email: leomank@gmail.com. FTR 1:38
                        p.m. - 1:44 p.m. = 6 minutes. Per General Order
                        No. 59 and Judicial Conference policy, this


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                          transcript may be viewed only at the Clerk's
                          Office public terminal or may be purchased
                          through the Court Reporter/Transcriber until the
                          deadline for the Release of Transcript Restriction.
                          After that date it may be obtained through
                          PACER. Any Notice of Intent to Request
                          Redaction, if required, is due no later than 5
                          business days from date of this filing. (Re 289
                          Transcript Order, 292 Transcript Order, 290
                          Transcript Order ) Redaction Request due
                          5/19/2017. Redacted Transcript Deadline set for
                          5/30/2017. Release of Transcript Restriction set
                          for 7/27/2017. (Related documents(s) 289 , 292 ,
                          290 ) (Mankiewicz, Leo) (Filed on 4/28/2017)
                          (Entered: 04/28/2017)
 04/28/2017         297 EXHIBITS re 295 Administrative Motion to File
                        Under Seal Regarding Defendants' Sur-reply to
                        Plaintiff's Motion for Preliminary Injunction -
                        Redacted Version of Supplemental Haslim
                        Declaration filed byOtto Trucking LLC,
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Unredacted Version of
                        Supplemental Haslim Declaration, # 2
                        Unredacted Version of Ex. A to Supplemental
                        Haslim Declaration, # 3 Redacted Version of Ex.
                        B Supplemental Haslim Declaration, # 4
                        Unredacted Version of Ex. B Supplemental
                        Haslim Declaration)(Related document(s) 295 )
                        (Gonzalez, Arturo) (Filed on 4/28/2017) (Entered:
                        04/28/2017)
 04/28/2017         298 EXHIBITS re 295 Administrative Motion to File
                        Under Seal Regarding Defendants' Sur-reply to
                        Plaintiff's Motion for Preliminary Injunction -
                        Redacted Version of Supplemental Lebby
                        Declaration filed byOtto Trucking LLC,



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                          Ottomotto LLC, Uber Technologies, Inc..
                          (Attachments: # 1 Unredacted Version of
                          Supplemental Lebby Declaration, # 2 Unredacted
                          Version of Ex. 2 to Supplemental Lebby
                          Declaration, # 3 Redacted Version of Ex. 26 to
                          Supplemental Lebby Declaration, # 4 Unredacted
                          Version of Ex. 26 to Supplemental Lebby
                          Declaration, # 5 Unredacted Version of Ex. 27 to
                          Supplemental Lebby Declaration)(Related
                          document(s) 295 ) (Gonzalez, Arturo) (Filed on
                          4/28/2017) (Entered: 04/28/2017)
 04/28/2017         299 EXHIBITS re 295 Administrative Motion to File
                        Under Seal Regarding Defendants' Sur-reply to
                        Plaintiff's Motion for Preliminary Injunction --
                        Redacted Version of Supplemental Boehmke
                        Declaration filed byOtto Trucking LLC,
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Unredacted Version of
                        Supplemental Boehmke Declaration, # 2
                        Unredacted Version of Ex. A to Supplemental
                        Boehmke Declaration, # 3 Unredacted Version of
                        Ex. B to Supplemental Boehmke Declaration, # 4
                        Unredacted Version of Ex. C to Supplemental
                        Boehmke Declaration, # 5 Unredacted Version of
                        Ex. D to Supplemental Boehmke Declaration, # 6
                        Redacted Version of Ex. E to Supplemental
                        Boehmke Declaration, # 7 Unredacted Version of
                        Ex. E to Supplemental Boehmke Declaration)
                        (Related document(s) 295 ) (Gonzalez, Arturo)
                        (Filed on 4/28/2017) (Entered: 04/28/2017)
 04/28/2017         301 EXHIBITS re 295 Administrative Motion to File
                        Under Seal Regarding Defendants' Sur-reply to
                        Plaintiff's Motion for Preliminary Injunction
                        Redacted Version of Supplemental Chang
                        Declaration filed byOtto Trucking LLC,



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                          Ottomotto LLC, Uber Technologies, Inc..
                          (Attachments: # 1 Unredacted Version of
                          Supplemental Chang Declaration, # 2 Unredacted
                          Version of Ex 11 to Supplemental Chang
                          Declaration, # 3 Redacted Version of Ex 12 to
                          Supplemental Chang Declaration, # 4 Unredacted
                          Version of Ex 12 to Supplemental Chang
                          Declaration, # 5 Redacted Version of Ex 14 to
                          Supplemental Chang Declaration, # 6 Unredacted
                          Version of Ex 14 to Supplemental Chang
                          Declaration, # 7 Unredacted Version of Ex 15 to
                          Supplemental Chang Declaration)(Related
                          document(s) 295 ) (Gonzalez, Arturo) (Filed on
                          4/28/2017) (Entered: 04/28/2017)
 04/28/2017         302 DEFENDANTS UBER TECHNOLOGIES, INC.,
                        OTTOMOTTO LLC, AND OTTO TRUCKING
                        LLCS SUR-REPLY TO PLAINTIFF WAYMO
                        LLCS MOTION FOR PRELIMINARY
                        INJUNCTION (Public Redacted Version of
                        Document Submitted Under Seal) Supplemental
                        Brief re 24 MOTION for Preliminary Injunction ,
                        254 Reply to Opposition/Response, 177
                        Opposition/Response to Motion, filed byOtto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc. (Related document(s) 24 ,
                        254 , 177 ) (Gonzalez, Arturo) (Filed on
                        4/28/2017) Modified on 5/1/2017 (alsS, COURT
                        STAFF). (Entered: 04/28/2017)
 04/28/2017         303 Declaration of Kevin Faulkner in Support of 302
                        Supplemental Brief,, Regarding Defendants' Sur-
                        reply to Plaintiff's Motion for Preliminary
                        Injunction filed byOtto Trucking LLC, Ottomotto
                        LLC, Uber Technologies, Inc.. (Related document
                        (s) 302 ) (Gonzalez, Arturo) (Filed on 4/28/2017)
                        (Entered: 04/28/2017)



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 04/28/2017         304 Declaration of Asheem Linaval in Support of 302
                        Supplemental Brief,, Regarding Defendants' Sur-
                        reply to Plaintiff's Motion for Preliminary
                        Injunction filed byOtto Trucking LLC, Ottomotto
                        LLC, Uber Technologies, Inc.. (Related document
                        (s) 302 ) (Gonzalez, Arturo) (Filed on 4/28/2017)
                        (Entered: 04/28/2017)
 04/28/2017         305 Declaration of Sylvia Rivera in Support of 302
                        Supplemental Brief,, Regarding Defendants' Sur-
                        reply to Plaintiff's Motion for Preliminary
                        Injunction filed byOtto Trucking LLC, Ottomotto
                        LLC, Uber Technologies, Inc.. (Attachments: # 1
                        Exhibit 1, # 2 Exhibit 2)(Related document(s)
                        302 ) (Gonzalez, Arturo) (Filed on 4/28/2017)
                        (Entered: 04/28/2017)
 04/28/2017         306 Declaration of Scott Boehmke in Support of 302
                        Supplemental Brief,, Regarding Defendants' Sur-
                        reply to Plaintiff's Motion for Preliminary
                        Injunction filed byOtto Trucking LLC, Ottomotto
                        LLC, Uber Technologies, Inc.. (Attachments: # 1
                        Exhibit A (REDACTED PUBLIC VERSION), #
                        2 Exhibit B (REDACTED PUBLIC VERSION),
                        # 3 Exhibit C (REDACTED PUBLIC
                        VERSION), # 4 Exhibit D (REDACTED
                        PUBLIC VERSION), # 5 Exhibit E
                        (REDACTED PUBLIC VERSION))(Related
                        document(s) 302 ) (Gonzalez, Arturo) (Filed on
                        4/28/2017) (Entered: 04/28/2017)
 04/28/2017         307 Declaration of Esther Kim Chang in Support of
                        302 Supplemental Brief,, Regarding Defendants'
                        Sur-reply to Plaintiff's Motion for Preliminary
                        Injunction filed byOtto Trucking LLC, Ottomotto
                        LLC, Uber Technologies, Inc.. (Attachments: # 1
                        Exhibit 9, # 2 Exhibit 10, # 3 Exhibit 11
                        (REDACTED PUBLIC VERSION), # 4 Exhibit


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                          12 (REDACTED PUBLIC VERSION), # 5
                          Exhibit 13, # 6 Exhibit 14 (REDACTED PUBLIC
                          VERSION), # 7 Exhibit 15 (REDACTED
                          PUBLIC VERSION), # 8 Exhibit 16, # 9 Exhibit
                          17)(Related document(s) 302 ) (Gonzalez,
                          Arturo) (Filed on 4/28/2017) (Entered:
                          04/28/2017)
 04/28/2017         308 Declaration of James Haslim in Support of 302
                        Supplemental Brief,, Regarding Defendants' Sur-
                        reply to Plaintiff's Motion for Preliminary
                        Injunction filed byOtto Trucking LLC, Ottomotto
                        LLC, Uber Technologies, Inc.. (Attachments: # 1
                        Exhibit A (REDACTED PUBLIC VERSION), #
                        2 Exhibit B (REDACTED PUBLIC VERSION))
                        (Related document(s) 302 ) (Gonzalez, Arturo)
                        (Filed on 4/28/2017) (Entered: 04/28/2017)
 04/28/2017         309 Declaration of Michael Lebby in Support of 302
                        Supplemental Brief,, and Exhibits 1-13,
                        Regarding Defendants' Sur-reply to Plaintiff's
                        Motion for Preliminary Injunction filed byOtto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Exhibit 1, #
                        2 Exhibit 2 (REDACTED PUBLIC VERSION), #
                        3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6
                        Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit
                        9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit
                        12, # 13 Exhibit 13)(Related document(s) 302 )
                        (Gonzalez, Arturo) (Filed on 4/28/2017) (Entered:
                        04/28/2017)
 04/28/2017         310 EXHIBITS re 309 Declaration in Support,, -
                        Exhibits 14-27 to Supplemental Declaration of
                        Michael Lebby in Support of Defendants' Sur-
                        reply to Plaintiff's Preliminary Injunction Motion
                        filed byOtto Trucking LLC, Ottomotto LLC,
                        Uber Technologies, Inc.. (Attachments: # 1


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                          Exhibit 15, # 2 Exhibit 16, # 3 Exhibit 17, # 4
                          Exhibit 18, # 5 Exhibit 19, # 6 Exhibit 20, # 7
                          Exhibit 21, # 8 Exhibit 22, # 9 Exhibit 23, # 10
                          Exhibit 24, # 11 Exhibit 25, # 12 Exhibit 26
                          (REDACTED PUBLIC VERSION), # 13 Exhibit
                          27 (REDACTED PUBLIC VERSION))(Related
                          document(s) 309 ) (Gonzalez, Arturo) (Filed on
                          4/28/2017) (Entered: 04/28/2017)
 04/28/2017         311 CERTIFICATE OF SERVICE by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc. re
                        Unredacted Versions of Documents Submitted
                        Under Seal and Declaration ISO Filing Under
                        Seal (Gonzalez, Arturo) (Filed on 4/28/2017)
                        (Entered: 04/28/2017)
 04/28/2017         312 MOTION to Dismiss Waymo's Unfair
                        Competition Law Claim filed by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc..
                        Motion Hearing set for 6/1/2017 08:00 AM in
                        Courtroom 8, 19th Floor, San Francisco before
                        Hon. William Alsup. Responses due by
                        5/12/2017. Replies due by 5/19/2017.
                        (Attachments: # 1 Proposed Order)(Gonzalez,
                        Arturo) (Filed on 4/28/2017) (Entered:
                        04/28/2017)
 04/28/2017         313 ORDER RE: PAGE DOCUMENT REQUEST.
                        Signed by Magistrate Judge Jacqueline Scott
                        Corley on 4/28/2017. (ahm, COURT STAFF)
                        (Filed on 4/28/2017) (Entered: 04/28/2017)
 04/28/2017         314 Discovery Letter Brief re Deposition Notice to J.
                        Krafcik filed by Waymo LLC. (Verhoeven,
                        Charles) (Filed on 4/28/2017) (Entered:
                        04/28/2017)
 04/28/2017         315 Discovery Letter Brief re Uber Document
                        Requests filed by Waymo LLC. (Attachments: # 1


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                          Exhibit A, # 2 Exhibit B)(Verhoeven, Charles)
                          (Filed on 4/28/2017) (Entered: 04/28/2017)
 04/28/2017         316 Declaration of James Judah in Support of 280
                        Administrative Motion to File Under Seal
                        Regarding Defendants' Discovery Letter Brief
                        filed byWaymo LLC. (Related document(s) 280 )
                        (Judah, James) (Filed on 4/28/2017) (Entered:
                        04/28/2017)
 04/29/2017         317 ADMINISTRATIVE MOTION To Remove
                        Incorrectly Filed Documents [Dkt. 295-3, 297 and
                        297-3] filed by Otto Trucking LLC, Ottomotto
                        LLC, Uber Technologies, Inc.. Responses due by
                        5/3/2017. (Attachments: # 1 Proposed Order)
                        (Gonzalez, Arturo) (Filed on 4/29/2017) (Entered:
                        04/29/2017)
 04/30/2017         318 Proposed Order and Notice Regarding Permitting
                        Use of Equipment in the Courtroom for the
                        Preliminary Injunction Hearing by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc..
                        (Chang, Esther) (Filed on 4/30/2017) (Entered:
                        04/30/2017)
 05/01/2017         319 Supplemental Brief re 204 Opposition/Response
                        to Motion,,, 263 Order, 293 Transcript,,,
                        PLAINTIFF WAYMO LLCS BRIEF IN
                        RESPONSE TO COURT'S QUESTIONS
                        FOLLOWING APRIL 27, 2017 HEARING ON
                        DEFENDANTS' MOTION TO COMPEL
                        ARBITRATION OF, AND TO STAY, TRADE
                        SECRET AND UCL CLAIMS filed byWaymo
                        LLC. (Attachments: # 1 Declaration Declaration
                        of David A. Perlson In Support Of Waymo LLC's
                        Brief In Response to Court's Questions, # 2
                        Exhibit 1, # 3 Exhibit 2)(Related document(s)
                        204 , 263 , 293 ) (Verhoeven, Charles) (Filed on



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                          5/1/2017) (Entered: 05/01/2017)
 05/01/2017         320 Administrative Motion to File Under Seal
                        Defendants' Supplemental Briefing Regarding
                        Motion to Compel Arbitration Hearing Questions
                        3 and 4 (Dkt. 263) and Additional Questions
                        From the Court filed by Otto Trucking LLC,
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Declaration of Meredith R.
                        Dearborn, # 2 Proposed Order, # 3 Redacted
                        Version of Defendants' Supplemental Briefing
                        Regarding Motion to Compel Arbitration, # 4
                        Unredacted Version of Defendants' Supplemental
                        Briefing Regarding Motion to Compel
                        Arbitration)(Dearborn, Meredith) (Filed on
                        5/1/2017) (Entered: 05/01/2017)
 05/01/2017         321 MOTION to Compel Production of Withheld
                        Documents filed by Waymo LLC. Motion
                        Hearing set for 6/8/2017 08:00 AM in Courtroom
                        8, 19th Floor, San Francisco before Hon. William
                        Alsup. Responses due by 5/8/2017. Replies due
                        by 5/12/2017. (Attachments: # 1 Declaration of
                        Kevin Smith in Support of Motion to Compel
                        Production of Withheld Documents, # 2 Exhibit
                        1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6
                        Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit
                        8, # 10 Proposed Order)(Verhoeven, Charles)
                        (Filed on 5/1/2017) (Entered: 05/01/2017)
 05/01/2017         322 Supplemental Brief re 204 Opposition/Response
                        to Motion,,, 263 Order, 293 Transcript,,,
                        REDACTED VERSION OF DEFENDANTS
                        UBER TECHNOLOGIES, INC., OTTOMOTTO
                        LLC, AND OTTO TRUCKING LLCS
                        Supplemental Briefing regarding Motion To
                        Compel Arbitration Hearings Questions 3 and 4
                        (DKT. 263) and ADDITIONAL QUESTIONS


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                          FROM THE COURT filed byOtto Trucking LLC,
                          Ottomotto LLC, Uber Technologies, Inc..
                          (Related document(s) 204 , 263 , 293 ) (Dearborn,
                          Meredith) (Filed on 5/1/2017) (Entered:
                          05/01/2017)
 05/01/2017         323 CERTIFICATE OF SERVICE by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc.
                        Unredacted Versions of Documents Submitted
                        Under Seal (Dearborn, Meredith) (Filed on
                        5/1/2017) (Entered: 05/01/2017)
 05/01/2017         324 STIPULATION WITH PROPOSED ORDER
                        Permitting Use of Equipment in the Courtroom
                        for the Preliminary Injunction Hearing filed by
                        Otto Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Jacobs, Michael) (Filed on
                        5/1/2017) (Entered: 05/01/2017)
 05/02/2017         325 Administrative Motion to File Under Seal
                        Waymo's Objections to Improper Sur-reply
                        Evidence filed by Waymo LLC. (Attachments: #
                        1 Declaration of Jordan Jaffe, # 2 Proposed
                        Order, # 3 Redacted Version of Waymo's
                        Objections to Improper Sur-reply Evidence, # 4
                        Unredacted Version of Waymo's Objections to
                        Improper Sur-reply Evidence)(Jaffe, Jordan)
                        (Filed on 5/2/2017) (Entered: 05/02/2017)
 05/02/2017         326 CERTIFICATE OF SERVICE by Waymo LLC
                        re 325 Administrative Motion to File Under Seal
                        Waymo's Objections to Improper Sur-reply
                        Evidence (Nardinelli, Jeffrey) (Filed on 5/2/2017)
                        (Entered: 05/02/2017)
 05/02/2017               (Court only) Per Dkt. No. 313 ***Motions
                          terminated: 294 Discovery Letter Brief filed by
                          Uber Technologies, Inc.. (ahm, COURT STAFF)
                          (Filed on 5/2/2017) (Entered: 05/02/2017)


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 05/02/2017               (Court only) Per Dkt. No. 276 ***Motions
                          terminated: 281 Discovery Letter Brief to
                          Magistrate Judge Corley, dated April 24, 2017
                          (REDACTED PUBLIC VERSION) filed by Uber
                          Technologies, Inc., Otto Trucking LLC,
                          Ottomotto LLC, 314 Discovery Letter Brief re
                          Deposition Notice to J. Krafcik filed by Waymo
                          LLC, 315 Discovery Letter Brief re Uber
                          Document Requests filed by Waymo LLC. (ahm,
                          COURT STAFF) (Filed on 5/2/2017) (Entered:
                          05/02/2017)
 05/02/2017               (Court only) Per Dkt. No. 276 ***Motions
                          terminated: 279 Discovery Letter Brief re
                          Discovery Issues Ripe for Resolution filed by
                          Waymo LLC, 278 Discovery Letter Brief re
                          Improper Notice of Apex Deposition filed by
                          Waymo LLC. (ahm, COURT STAFF) (Filed on
                          5/2/2017) (Entered: 05/02/2017)
 05/02/2017         327 QUESTIONS FOR HEARING ON
                        PLAINTIFF'S MOTION FOR
                        PROVISIONAL RELIEF (alsS, COURT
                        STAFF) (Filed on 5/2/2017) (Additional
                        attachment(s) added on 5/2/2017: # 1
                        Certificate/Proof of Service) (alsS, COURT
                        STAFF). Modified on 5/15/2017 (whalc2S,
                        COURT STAFF). (Entered: 05/02/2017)
 05/02/2017         328 ORDER PERMITTING USE OF
                        EQUIPMENT IN THE COURTROOM FOR
                        THE PRELIMINARY INJUNCTION
                        HEARING by Hon. William Alsup (pursuant
                        to 324 stipulation). (whalc2S, COURT STAFF)
                        (Filed on 5/2/2017) (Entered: 05/02/2017)
 05/02/2017         329 ORDER RE 327 ORDER FILED UNDER
                        SEAL. Signed by Judge Alsup on 5/2/2017.



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                          (whalc2S, COURT STAFF) (Filed on 5/2/2017)
                          (Entered: 05/02/2017)
 05/02/2017         330 Administrative Motion to File Under Seal
                        Regarding Defendants' Motion for Summary
                        Judgment of Non-Infringement filed by Otto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Declaration
                        of Michelle Yang, # 2 Proposed Order, # 3
                        Redacted Version of Defendants' Motion for
                        Summary Judgment of Non-Infringement, # 4
                        Unredacted Version of Defendants' Motion for
                        Summary Judgment of Non-Infringement, # 5
                        Redacted Version of Haslim Declaration, # 6
                        Unredacted Version of Haslim Declaration)
                        (Jacobs, Michael) (Filed on 5/2/2017) (Entered:
                        05/02/2017)
 05/02/2017         331 MOTION for Summary Judgment of Non-
                        Infringement (REDACTED PUBLIC VERSION)
                        filed by Otto Trucking LLC, Ottomotto LLC,
                        Uber Technologies, Inc.. Motion Hearing set for
                        6/8/2017 08:00 AM in Courtroom 8, 19th Floor,
                        San Francisco before Hon. William Alsup.
                        Responses due by 5/16/2017. Replies due by
                        5/23/2017. (Attachments: # 1 Declaration of
                        James Haslim (Redacted Public Version), # 2
                        Declaration of Esther Kim Chang, # 3 Exhibit 1
                        to Chang Declaration, # 4 Exhibit 2 to Chang
                        Declaration, # 5 Exhibit 3 to Chang Declaration,
                        # 6 Exhibit 4 to Chang Declaration, # 7 Proposed
                        Order)(Jacobs, Michael) (Filed on 5/2/2017)
                        (Entered: 05/02/2017)
 05/02/2017         332 CERTIFICATE OF SERVICE by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc. re
                        Unredacted Versions of Documents Submitted
                        Under Seal (Jacobs, Michael) (Filed on 5/2/2017)


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                          (Entered: 05/02/2017)
 05/02/2017         333 EXHIBITS re 295 Administrative Motion to File
                        Under Seal Regarding Defendants' Sur-reply to
                        Plaintiff's Motion for Preliminary Injunction -
                        Declaration of James Judah in Support of
                        Defendants' Administrative Motion to File Under
                        Seal filed byWaymo LLC. (Attachments: # 1
                        Unredacted Version of Defendants' Sur-Reply, #
                        2 Redacted Version of Defendants' Sur-Reply, # 3
                        Unredacted Version of Chang Ex. 15, # 4
                        Redacted Version of Chang Ex. 15, # 5
                        Unredacted Version of Lebby Ex. 2, # 6 Redacted
                        Version of Lebby Ex. 2)(Related document(s)
                        295 ) (Judah, James) (Filed on 5/2/2017)
                        (Entered: 05/02/2017)
 05/02/2017         334 CERTIFICATE OF SERVICE by Waymo LLC
                        re 333 Exhibits to an Administrative Motion to
                        File Under Seal,, (Cooper, Lindsay) (Filed on
                        5/2/2017) (Entered: 05/02/2017)
 05/02/2017         335 Administrative Motion to File Under Seal
                        Waymo's Responses to Questions for PI Hearing
                        filed by Waymo LLC. (Attachments: # 1
                        Declaration of Jordan Jaffe in Support of
                        Administrative Motion to File Under Seal
                        Waymo's Responses to Questions for PI Hearing,
                        # 2 Proposed Order Granting Administrative
                        Motion to File Under Seal, *** # 3 Redacted
                        Version of Waymo's Responses to Questions
                        for PI Hearing DOCUMENT LOCKED AT
                        FILER'S REQUEST. DOCUMENT TO BE
                        REFILED LATER. *** , # 4 Unredacted
                        Version of Waymo's Responses to Questions for
                        PI Hearing)(Jaffe, Jordan) (Filed on 5/2/2017)
                        Modified on 5/3/2017 (ewn, COURT STAFF).
                        (Entered: 05/02/2017)


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 05/02/2017         336 CERTIFICATE OF SERVICE by Waymo LLC
                        re 335 Administrative Motion to File Under Seal
                        Waymo's Responses to Questions for PI Hearing
                        (Nardinelli, Jeffrey) (Filed on 5/2/2017) (Entered:
                        05/02/2017)
 05/02/2017         337 Administrative Motion to File Under Seal re
                        Unredacted Versions of Documents Submitted
                        Under Seal filed by Otto Trucking LLC,
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Declaration of Esther Kim
                        Chang, # 2 Proposed Order, # 3 Unredacted
                        Version of Defendants' Responses to Court's
                        Questions (Dkt. No. 327)TIFFS MOTION FOR
                        PROVISIONAL RELIEF (DKT. NO. 327), # 4
                        Redacted Version of Defendants' Responses to
                        Court's Questions (Dkt. No. 327))(Gonzalez,
                        Arturo) (Filed on 5/2/2017) (Entered: 05/02/2017)
 05/02/2017         338 RESPONSE to re 327 Order --Defendants'
                        Responses to Court's Questions for Hearing on
                        Plaintiff's Motion for Provisional Relief
                        (REDACTED PUBLIC VERSION) by Otto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Gonzalez, Arturo) (Filed on
                        5/2/2017) (Entered: 05/02/2017)
 05/02/2017         339 CERTIFICATE OF SERVICE by Otto Trucking
                        LLC, Ottomotto LLC, Uber Technologies, Inc. re
                        337 Administrative Motion to File Under Seal re
                        Unredacted Versions of Documents Submitted
                        Under Seal and Declaration ISO Sealing re
                        Defendants' Responses to Court's Questions for
                        Hearing on Plaintiff's Motion for Provisional
                        Relief (Gonzalez, Arturo) (Filed on 5/2/2017)
                        (Entered: 05/02/2017)
 05/03/2017         340 CERTIFICATE OF SERVICE by Waymo LLC



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                          re 325 Administrative Motion to File Under Seal
                          Waymo's Objections to Improper Sur-reply
                          Evidence (Jaffe Declaration) (Nardinelli, Jeffrey)
                          (Filed on 5/3/2017) (Entered: 05/03/2017)
 05/03/2017         341 CERTIFICATE OF SERVICE by Waymo LLC
                        re 335 Administrative Motion to File Under Seal
                        Waymo's Responses to Questions for PI Hearing
                        (Jaffe Declaration) (Nardinelli, Jeffrey) (Filed on
                        5/3/2017) (Entered: 05/03/2017)
 05/03/2017         342 EXHIBITS re 245 Administrative Motion to File
                        Under Seal Supplemental Declaration of Lindsay
                        Cooper in Support of Waymo's Administrative
                        Motion to File Under Seal filed byWaymo LLC.
                        (Attachments: # 1 Unredacted Version of
                        Defendants' Reply, # 2 Redacted Version of
                        Defendants' Reply, # 3 Unredacted Version of
                        Kintz Declaration, # 4 Redacted Version of Kintz
                        Declaration, # 5 Unredacted Version of Jaffe Ex.
                        65, # 6 Redacted Version of Jaffe Ex. 65, # 7
                        Unredacted Version of Jaffe Ex. 66, # 8 Redacted
                        Version of Jaffe Ex. 66, # 9 Unredacted Version
                        of Jaffe Ex. 68, # 10 Redacted Version of Jaffe
                        Ex. 68, # 11 Unredacted Version of Jaffe Ex. 83,
                        # 12 Redacted Version of Jaffe Ex. 83, # 13
                        Unredacted Version of Jaffe Ex. 84, # 14
                        Redacted Version of Jaffe Ex. 84, # 15
                        Unredacted Version of Jaffe Ex. 91, # 16
                        Redacted Version of Jaffe Ex. 91, # 17 Proposed
                        Order)(Related document(s) 245 ) (Cooper,
                        Lindsay) (Filed on 5/3/2017) (Entered:
                        05/03/2017)
 05/03/2017         343 CERTIFICATE OF SERVICE by Waymo LLC
                        re 342 Exhibits to an Administrative Motion to
                        File Under Seal,,,, (Cooper, Lindsay) (Filed on
                        5/3/2017) (Entered: 05/03/2017)


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 05/03/2017         344 NOTICE RE JUDGES EXTERN TO WORK
                        AT GOODWIN PROCTER FOR SUMMER.
                        Please respond by NOON on 5/9/2017. Signed
                        by Judge William Alsup on 5/3/2017. (whasec,
                        COURT STAFF) (Filed on 5/3/2017) (Entered:
                        05/03/2017)
 05/03/2017         345 TRANSCRIPT ORDER for proceedings held on
                        05/03/2017 before Hon. William Alsup by Otto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc., for Court Reporter Debra Pas.
                        (Gonzalez, Arturo) (Filed on 5/3/2017) (Entered:
                        05/03/2017)
 05/03/2017         346 TRANSCRIPT ORDER for proceedings held on
                        05/03/2017 before Hon. William Alsup by
                        Waymo LLC, for Court Reporter Debra Pas.
                        (Perlson, David) (Filed on 5/3/2017) (Entered:
                        05/03/2017)
 05/03/2017         347 ORDER APPROVING 262 NOTICE OF
                        CHANGE OF COUNSEL FOR DEFENDANT
                        OTTO TRUCKING LLC. Signed by Judge
                        Alsup on 5/3/2017. (whalc2, COURT STAFF)
                        (Filed on 5/3/2017) (Entered: 05/03/2017)
 05/03/2017         348 Administrative Motion to File Under Seal
                        Portions of Court's Order (Dkt. 329) filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Lindsay Cooper in Support of Waymo's
                        Administrative Motion to File Under Seal, # 2
                        Proposed Order, # 3 Unredacted Version of
                        Court's Order (Dkt. 329), # 4 Redacted Version of
                        Court's Order (Dkt. 329))(Cooper, Lindsay)
                        (Filed on 5/3/2017) (Entered: 05/03/2017)
 05/03/2017         349 CERTIFICATE OF SERVICE by Waymo LLC
                        re 348 Administrative Motion to File Under Seal
                        Portions of Court's Order (Dkt. 329) (Cooper,


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                          Lindsay) (Filed on 5/3/2017) (Entered:
                          05/03/2017)
 05/03/2017         354 Minute Entry for proceedings held before Hon.
                        William Alsup: Motion Hearing held on
                        5/3/2017 re 24 MOTION for Preliminary
                        Injunction filed by Waymo LLC. Motion
                        Taken Under Submission. Counsel and Special
                        Master John Cooper are permitted to order
                        the sealed transcript of the hearing held under
                        seal. Counsel shall revise administrative
                        motions to file under seal by May 8 at noon.
                        Any supplemental brief regarding Haslim
                        deposition must also be submitted by May 8 at
                        noon.Total Time in Court 6:58. Court
                        Reporter Name Debra Pas. Plaintiff Attorney
                        Charles Verhoeven; Melissa Baily; Jordan
                        Jaffe; James Judah; David Perlson. Defendant
                        Attorney Arturo Gonzalez; Michael Jacobs;
                        Rudy Kim; Esther Chang; Dan Muino; Karen
                        Dunn; Jackie Chang; Hamish Hume; Neel
                        Chatterjee. This is a text-only Minute Entry
                        (dl, COURT STAFF) (Date Filed: 5/3/2017)
                        (Entered: 05/04/2017)
 05/04/2017         350 ORDER REFERRING 321 MOTION TO
                        COMPEL PRODUCTION OF WITHHELD
                        DOCUMENTS TO JUDGE CORLEY. Signed
                        by Judge Alsup on 5/4/2017. (whalc2, COURT
                        STAFF) (Filed on 5/4/2017) (Entered:
                        05/04/2017)
 05/04/2017               (Court only) *** Attorneys Michael A. Jacobs;
                          Rudolph Kim; Matthew Ian Kreeger; Daniel
                          Pierre Muino; Wendy Joy Ray; Eric Akira Tate;
                          Michelle Ching Youn Yang; Esther Kim Chang
                          and Arturo J. Gonzalez terminated as to Otto
                          Trucking LLC. (alsS, COURT STAFF) (Filed on


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                          5/4/2017) (Entered: 05/04/2017)
 05/04/2017         352 CLERK'S NOTICE Rescheduling Motion
                        Hearing. TO ALL PARTIES AND COUNSEL
                        OF RECORD: Please take notice that hearing on
                        Plaintiff's Motion to Compel Production of
                        Withheld Documents (Dkt. No. 321 ) currently
                        scheduled for June 8, 2017 before the Honorable
                        William H. Alsup is reset to June 8, 2017 at 10:00
                        a.m., before Magistrate Judge Jacqueline Scott
                        Corley, in Courtroom F, 15th Floor, Federal
                        Building, 450 Golden Gate Avenue in San
                        Francisco. The briefing schedule shall remain the
                        same.

                          (This is a text only docket entry, there is no
                          document associated with this notice.)

                          (ahm, COURT STAFF) (Filed on 5/4/2017)
                          (Entered: 05/04/2017)
 05/04/2017               Set/Reset Deadlines as to 321 MOTION to
                          Compel Production of Withheld Documents.
                          Motion Hearing reset for 6/8/2017 at 10:00 AM
                          in Courtroom F, 15th Floor, San Francisco before
                          Magistrate Judge Jacqueline Scott Corley. (ahm,
                          COURT STAFF) (Filed on 5/4/2017) (Entered:
                          05/04/2017)
 05/04/2017         353 CLERK'S NOTICE Scheduling Discovery
                        Hearing. TO ALL PARTIES AND COUNSEL
                        OF RECORD: Please take notice that a discovery
                        hearing is scheduled for May 11, 2017 at 2:00
                        p.m., before Magistrate Judge Jacqueline Scott
                        Corley, in Courtroom F, 15th Floor, Federal
                        Building, 450 Golden Gate Avenue in San
                        Francisco.




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                          (This is a text only docket entry, there is no
                          document associated with this notice.)

                          (ahm, COURT STAFF) (Filed on 5/4/2017)
                          (Entered: 05/04/2017)
 05/04/2017         355 ORDER GRANTING 199
                        ADMINISTRATIVE MOTION TO REMOVE
                        INCORRECTLY FILED DOCUMENT by
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 5/4/2017) (Entered:
                        05/04/2017)
 05/04/2017         356 ORDER GRANTING 317
                        ADMINISTRATIVE MOTION TO REMOVE
                        INCORRECTLY FILED DOCUMENTS by
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 5/4/2017) (Entered:
                        05/04/2017)
 05/04/2017         357 ORDER GRANTING 274
                        ADMINISTRATIVE MOTION TO REMOVE
                        INCORRECTLY FILED DOCUMENT by
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 5/4/2017) (Entered:
                        05/04/2017)
 05/05/2017         358 TRANSCRIPT ORDER for proceedings held on
                        May 3, 2017 before Hon. William Alsup by John
                        Lee Cooper, for Court Reporter Debra Pas.
                        (Cooper, John) (Filed on 5/5/2017) (Entered:
                        05/05/2017)
 05/05/2017         359 MOTION to Appear by Telephone by Karen L.
                        Dunn for the 5/11/17 Discovery Hearing filed by
                        Ottomotto LLC, Uber Technologies, Inc.. (Dunn,
                        Karen) (Filed on 5/5/2017) (Entered: 05/05/2017)
 05/05/2017         360 EXHIBITS re 335 Administrative Motion to File



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                          Under Seal Waymo's Responses to Questions for
                          PI Hearing - Corrected Redacted Version of
                          Waymo's Response to Questions for PI Hearing
                          filed byWaymo LLC. (Attachments: # 1
                          Corrected Unredacted Version of Waymo's
                          Response to Questions for PI Hearing)(Related
                          document(s) 335 ) (Cooper, Lindsay) (Filed on
                          5/5/2017) (Entered: 05/05/2017)
 05/05/2017         361 ADMINISTRATIVE MOTION to Remove
                        Incorrectly Filed Document re 335 Administrative
                        Motion to File Under Seal Waymo's Responses to
                        Questions for PI Hearing filed by Waymo LLC.
                        Responses due by 5/9/2017. (Attachments: # 1
                        Proposed Order)(Cooper, Lindsay) (Filed on
                        5/5/2017) (Entered: 05/05/2017)
 05/05/2017         362 Administrative Motion to File Under Seal
                        Regarding Defendants' Response to Waymo's
                        Objections to Evidence Cited in Defendants'
                        Preliminary Injunction Sur-Reply filed by
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Declaration of Michelle Yang,
                        # 2 Proposed Order, # 3 Redacted Version of
                        Defendants' Response to Waymo's Objections to
                        Evidence Cited in Defendants' Preliminary
                        Injunction Sur-Reply, # 4 Unedacted Version of
                        Defendants' Response to Waymo's Objections to
                        Evidence Cited in Defendants' Preliminary
                        Injunction Sur-Reply, # 5 Redacted Version of Ex
                        A to Esther Kim Chang, # 6 Unredacted Version
                        of Ex A to Esther Kim Chang)(Jacobs, Michael)
                        (Filed on 5/5/2017) (Entered: 05/05/2017)
 05/05/2017         363 RESPONSE to re 325 Administrative Motion to
                        File Under Seal Waymo's Objections to Improper
                        Sur-reply Evidence by Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Declaration


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                          of Esther Kim Chang, # 2 Exhibit A to Chang
                          Decl (REDACTED PUBLIC VERSION))(Jacobs,
                          Michael) (Filed on 5/5/2017) (Entered:
                          05/05/2017)
 05/05/2017         364 CERTIFICATE OF SERVICE by Ottomotto
                        LLC, Uber Technologies, Inc. re Unredacted
                        Versions of Documents Submitted Under Seal
                        (Jacobs, Michael) (Filed on 5/5/2017) (Entered:
                        05/05/2017)
 05/08/2017         365 ORDER by Magistrate Judge Jacqueline Scott
                        Corley granting 359 Motion to Appear by
                        Telephone. (ahm, COURT STAFF) (Filed on
                        5/8/2017) (Entered: 05/08/2017)
 05/08/2017         366 Administrative Motion to File Under Seal
                        Waymo's Revised Administrative Motion to Seal
                        its Reply and Related Papers filed by Waymo
                        LLC. (Attachments: # 1 Declaration of Lindsay
                        Cooper in Support of Waymo's Revised
                        Administrative Motion to Seal its Reply and
                        Related Papers, # 2 Proposed Order, # 3 Revised
                        Unredacted Version of Waymo's Reply, # 4
                        Revised Redacted Version of Waymo's Reply, # 5
                        Revised Unredacted Version of Jaffe Ex. 64, # 6
                        Revised Redacted Version of Jaffe Ex. 64, # 7
                        Revised Unredacted Version of Jaffe Ex. 66, # 8
                        Revised Redacted Version of Jaffe Ex. 66, # 9
                        Revised Unredacted Version of Jaffe Ex. 82, # 10
                        Revised Redacted Version of Jaffe Ex. 82, # 11
                        Revised Unredacted Version of Jaffe Ex. 83, # 12
                        Revised Redacted Version of Jaffe Ex. 83, # 13
                        Revised Unredacted Version of Jaffe Ex. 90, # 14
                        Revised Redacted Version of Jaffe Ex. 90, # 15
                        Supp. Jaffe Decl. Ex. 114, # 16 Supp. Jaffe Decl.
                        Ex. 115, # 17 Supp. Jaffe Decl. Ex. 116, # 18
                        Supp. Jaffe Decl. Ex. 117, # 19 Supp. Jaffe Decl.


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                          Ex. 118, # 20 Supp. Jaffe Decl. Ex. 119, # 21
                          Supp. Jaffe Decl. Ex. 120, # 22 Supp. Jaffe Decl.
                          Ex. 121, # 23 Supp. Jaffe Decl. Ex. 122, # 24
                          Supp. Jaffe Decl. Ex. 123, # 25 Supp. Jaffe Decl.
                          Ex. 124, # 26 Supp. Jaffe Decl. Ex. 125, # 27
                          Supp. Jaffe Decl. Ex. 126, # 28 Supp. Jaffe Decl.
                          Ex. 127, # 29 Supp. Jaffe Decl. Ex. 131)
                          (Verhoeven, Charles) (Filed on 5/8/2017)
                          (Entered: 05/08/2017)
 05/08/2017         367 CLERK'S NOTICE Rescheduling Motion to
                        Dismiss previously set for 6/1/2017 and CMC
                        previously set for 5/18/2017. Set/Reset Deadlines
                        as to 312 MOTION to Dismiss Waymo's Unfair
                        Competition Law Claim. (This is a text-only entry
                        generated by the court. There is no document
                        associated with this entry.) Case Management
                        Statement due by 6/1/2017. Initial Case
                        Management Conference and Motion Hearing set
                        for 6/8/2017 08:00 AM in Courtroom 8, 19th
                        Floor, San Francisco. (dl, COURT STAFF) (Filed
                        on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         368 Administrative Motion to File Under Seal re
                        Defendants' Opposition to Waymo's Preliminary
                        Injunction Motion (Revised filing) filed by
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Declaration of Michelle Yang,
                        # 2 Proposed Order, # 3 Redacted Version of
                        Defendants' Opposition to Waymo's Motion for
                        Preliminary Injunction, # 4 Unredacted Version
                        of Defendants' Opposition to Waymo's Motion for
                        Preliminary Injunction, # 5 Redacted Version of
                        Lebby Decl. ISO Defendants' Opposition to
                        Waymo's Motion for Preliminary Injunction, # 6
                        Unredacted Version of Lebby Decl. ISO
                        Defendants' Opposition to Waymo's Motion for



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                          Preliminary Injunction, # 7 Redacted Version of
                          McManamon Decl. ISO Defendants' Opposition
                          to Waymo's Motion for Preliminary Injunction, #
                          8 Unredacted Version of McManamon Decl. ISO
                          Defendants' Opposition to Waymo's Motion for
                          Preliminary Injunction, # 9 Redacted Version of
                          Boehmke Decl. ISO Defendants' Opposition to
                          Waymo's Motion for Preliminary Injunction, # 10
                          Unredacted Version of Boehmke Decl. ISO
                          Defendants' Opposition to Waymo's Motion for
                          Preliminary Injunction, # 11 Redacted Version of
                          Haslim Decl. ISO Defendants' Opposition to
                          Waymo's Motion for Preliminary Injunction, # 12
                          Unredacted Version of Haslim Decl. ISO
                          Defendants' Opposition to Waymo's Motion for
                          Preliminary Injunction)(Gonzalez, Arturo) (Filed
                          on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         369 OPPOSITION/RESPONSE (re 321 MOTION to
                        Compel Production of Withheld Documents )
                        filed byOttomotto LLC, Uber Technologies, Inc..
                        (Gonzalez, Arturo) (Filed on 5/8/2017) (Entered:
                        05/08/2017)
 05/08/2017         370 Declaration of Eric A. Tate in Support of 369
                        Opposition/Response to Motion filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                        Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5)(Related
                        document(s) 369 ) (Gonzalez, Arturo) (Filed on
                        5/8/2017) (Entered: 05/08/2017)
 05/08/2017         371 MOTION to Intervene Under Rule 24(b);
                        Memorandum Of Points and Authorities;
                        [Proposed] Order filed by Anthony
                        Levandowski. Motion Hearing set for 6/8/2017
                        10:00 AM in Courtroom F, 15th Floor, San
                        Francisco before Magistrate Judge Jacqueline


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                          Scott Corley. Responses due by 5/22/2017.
                          Replies due by 5/30/2017. (Ramsey, Ismail)
                          (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         372 Declaration of Arturo J. Gonzalez in Support of
                        369 Opposition/Response to Motion to Compel
                        filed byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                        Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                        Exhibit F, # 7 Exhibit G)(Related document(s)
                        369 ) (Gonzalez, Arturo) (Filed on 5/8/2017)
                        (Entered: 05/08/2017)
 05/08/2017         373 Declaration of Jordan R. Jaffe in Support of 254
                        Reply to Opposition/Response, Supplemental
                        Declaration of Jordan R. Jaffe filed byWaymo
                        LLC. (Attachments: # 1 Exhibit Public Versions
                        of Exhibits 114-127, # 2 Exhibit 128, # 3 Exhibit
                        129, # 4 Exhibit 130, # 5 Exhibit Public Version
                        of Exhibit 131)(Related document(s) 254 ) (Jaffe,
                        Jordan) (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         374 Declaration of Neel Chatterjee in Support of 369
                        Opposition/Response to Motion to Compel filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit A)(Related document
                        (s) 369 ) (Gonzalez, Arturo) (Filed on 5/8/2017)
                        (Entered: 05/08/2017)
 05/08/2017         375 Declaration of Alisa Baker in Support of 369
                        Opposition/Response to Motion to Compel filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Related document(s) 369 ) (Gonzalez, Arturo)
                        (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         376 Declaration of Adam Bentley in Support of 369
                        Opposition/Response to Motion to Compel filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Related document(s) 369 ) (Gonzalez, Arturo)


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                          (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         377 CERTIFICATE OF SERVICE by Waymo LLC
                        re 366 Administrative Motion to File Under Seal
                        Waymo's Revised Administrative Motion to Seal
                        its Reply and Related Papers (Cooper, Lindsay)
                        (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         378 Declaration of Justin Suhr in Support of 369
                        Opposition/Response to Motion to Compel filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Related document(s) 369 ) (Gonzalez, Arturo)
                        (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         379 OPPOSITION/RESPONSE (re 321 MOTION to
                        Compel Production of Withheld Documents )
                        filed byAnthony Levandowski. (Ramsey, Ismail)
                        (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         380 Declaration of Eric Friedberg in Support of 369
                        Opposition/Response to Motion to Compel filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Related document(s) 369 ) (Gonzalez, Arturo)
                        (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         381 Declaration of John Gardner in Support of 369
                        Opposition/Response to Motion to Compel filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Related document(s) 369 ) (Gonzalez, Arturo)
                        (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         382 MOTION for Leave to File IN CAMERA
                        SUBMISSION IN SUPPORT OF OPPOSITION
                        TO WAYMO'S MOTION TO COMPEL filed by
                        Anthony Levandowski. (Ramsey, Ismail) (Filed
                        on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         383 Declaration of Jamie Leigh in Support of 369
                        Opposition/Response to Motion to Compel filed
                        byOttomotto LLC, Uber Technologies, Inc..


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                          (Related document(s) 369 ) (Gonzalez, Arturo)
                          (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         384 MOTION for Joinder In Opposition Filed By
                        Uber Technologies, Inc. And [Proposed] Order
                        filed by Anthony Levandowski. (Ramsey, Ismail)
                        (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         385 EXHIBITS re 368 Administrative Motion to File
                        Under Seal re Defendants' Opposition to
                        Waymo's Preliminary Injunction Motion (Revised
                        filing) and re Defendants' Sur-Reply to Waymo's
                        Motion for Preliminary Injunction (Redacted
                        Version of Defendants' Sur-Reply) filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Unredacted Version of
                        Defendants' Sur-Reply to Waymo's Motion for
                        Preliminary Injunction, # 2 Redacted Version of
                        Suppl. Lebby Decl. ISO Defendants' Sur-Reply to
                        Waymo's Motion for Preliminary Injunction, # 3
                        Unredacted Version of Suppl. Lebby Decl. ISO
                        Defendants' Sur-Reply to Waymo's Motion for
                        Preliminary Injunction, # 4 Redacted Version of
                        Suppl. Boehmke Decl. ISO Defendants' Sur-
                        Reply to Waymo's Motion for Preliminary
                        Injunction, # 5 Unredacted Version of Suppl.
                        Boehmke Decl. ISO Defendants' Sur-Reply to
                        Waymo's Motion for Preliminary Injunction, # 6
                        Redacted Version of Suppl. Haslim Decl. ISO
                        Defendants' Sur-Reply to Waymo's Motion for
                        Preliminary Injunction, # 7 Unredacted Version
                        of Suppl. Haslim Decl. ISO Defendants' Sur-
                        Reply to Waymo's Motion for Preliminary
                        Injunction, # 8 Redacted Version of Ex. 2 to
                        Suppl. Lebby Decl. ISO Defendants' Sur-Reply to
                        Waymo's Motion for Preliminary Injunction, # 9
                        Unredacted Version of Ex. 2 to Suppl. Lebby



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                          Decl. ISO Defendants' Sur-Reply to Waymo's
                          Motion for Preliminary Injunction, # 10 Redacted
                          Version of Ex. 15 to Suppl. Chang Decl. ISO
                          Defendants' Sur-Reply to Waymo's Motion for
                          Preliminary Injunction, # 11 Unredacted Version
                          of Ex. 15 to Suppl. Chang Decl. ISO Defendants'
                          Sur-Reply to Waymo's Motion for Preliminary
                          Injunction)(Related document(s) 368 ) (Gonzalez,
                          Arturo) (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         386 Supplemental Brief re 24 MOTION for
                        Preliminary Injunction filed byWaymo LLC.
                        (Related document(s) 24 ) (Perlson, David) (Filed
                        on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         387 Administrative Motion to File Under Seal
                        Waymo's Supplemental Brief in Support of Its
                        Preliminary Injunction Motion and Supporting
                        Exhibits Thereto filed by Waymo LLC.
                        (Attachments: # 1 Declaration of Lindsay Cooper,
                        # 2 Proposed Order, # 3 Redacted Version of
                        Waymo's Supplemental Brief in Support of Its
                        Preliminary Injunction Motion, # 4 Unredacted
                        Version of Waymo's Supplemental Brief in
                        Support of Its Preliminary Injunction Motion, # 5
                        Redacted Version of Exhibit 132, # 6 Unredacted
                        Version of Exhibit 132, # 7 Unredacted Version
                        of Exhibit 133, # 8 Unredacted Version of Exhibit
                        134)(Perlson, David) (Filed on 5/8/2017)
                        (Entered: 05/08/2017)
 05/08/2017         388 Declaration of Jordan Jaffe in Support of 386
                        Supplemental Brief filed byWaymo LLC.
                        (Attachments: # 1 Exhibit 132, # 2 Exhibits 133-
                        134)(Related document(s) 386 ) (Perlson, David)
                        (Filed on 5/8/2017) (Entered: 05/08/2017)
 05/08/2017         389 NOTICE by Otto Trucking LLC re 369



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                          Opposition/Response to Motion (Otto Trucking
                          LLC's Notice to Join and Adopt Defendants Uber
                          Technologies, Inc's and Ottomotto, LLC's Brief in
                          Opposition to Plaintiff Waymo, LLC's Motion to
                          Compel) (Chatterjee, Indra) (Filed on 5/8/2017)
                          (Entered: 05/08/2017)
 05/08/2017         390 CERTIFICATE OF SERVICE by Waymo LLC
                        re 387 Administrative Motion to File Under Seal
                        Waymo's Supplemental Brief in Support of Its
                        Preliminary Injunction Motion and Supporting
                        Exhibits Thereto (Cooper, Lindsay) (Filed on
                        5/8/2017) (Entered: 05/08/2017)
 05/08/2017         391 ORDER GRANTING 173 295 368
                        ADMINISTRATIVE MOTIONS TO FILE
                        UNDER SEAL by Judge Alsup. (whalc2S,
                        COURT STAFF) (Filed on 5/8/2017) (Entered:
                        05/08/2017)
 05/08/2017         392 ORDER GRANTING 205
                        ADMINISTRATIVE MOTION TO FILE
                        UNDER SEAL by Hon. William Alsup.
                        (whalc2S, COURT STAFF) (Filed on 5/8/2017)
                        (Entered: 05/08/2017)
 05/08/2017         393 ORDER GRANTING 245 366
                        ADMINISTRATIVE MOTIONS TO FILE
                        UNDER SEAL by Judge Alsup. (whalc2S,
                        COURT STAFF) (Filed on 5/8/2017) (Entered:
                        05/08/2017)
 05/08/2017         394 ORDER GRANTING 264
                        ADMINISTRATIVE MOTION TO FILE
                        UNDER SEAL by Hon. William Alsup.
                        (whalc2S, COURT STAFF) (Filed on 5/8/2017)
                        (Entered: 05/08/2017)
 05/08/2017         395 ORDER GRANTING 320



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                          ADMINISTRATIVE MOTION TO FILE
                          UNDER SEAL by Hon. William Alsup.
                          (whalc2S, COURT STAFF) (Filed on 5/8/2017)
                          (Entered: 05/08/2017)
 05/08/2017         396 CERTIFICATE OF SERVICE by Ottomotto
                        LLC, Uber Technologies, Inc. re Unredacted
                        Versions of Documents Submitted Under Seal
                        (Gonzalez, Arturo) (Filed on 5/8/2017) (Entered:
                        05/08/2017)
 05/08/2017         397 Discovery Letter Brief to Magistrate Judge
                        Corley filed by Waymo LLC. (Attachments: # 1
                        Declaration of Melissa Baily, # 2 Exhibit A, # 3
                        Exhibit B, # 4 Exhibit C, # 5 Declaration of
                        David Perlson, # 6 Exhibit 1)(Verhoeven,
                        Charles) (Filed on 5/8/2017) (Entered:
                        05/08/2017)
 05/08/2017         398 EXHIBITS re 325 Administrative Motion to File
                        Under Seal Waymo's Objections to Improper Sur-
                        reply Evidence --DECLARATION OF
                        MICHELLE YANG IN SUPPORT OF
                        PLAINTIFFS ADMINISTRATIVE MOTION TO
                        FILE UNDER SEAL PORTIONS OF ITS
                        OBJECTIONS TO EVIDENCE CITED IN
                        DEFENDANTS PRELIMINARY INJUNCTION
                        SUR-REPLY filed byOttomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Redacted
                        Version of Waymo's Objections, # 2 Unredacted
                        Version of Waymo's Objections)(Related
                        document(s) 325 ) (Gonzalez, Arturo) (Filed on
                        5/8/2017) (Entered: 05/08/2017)
 05/08/2017         399 EXHIBITS re 337 Administrative Motion to File
                        Under Seal re Unredacted Versions of Documents
                        Submitted Under Seal Declaration of Lindsay
                        Cooper in Support of Defendants' Administrative



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                          Motion to Seal filed byWaymo LLC.
                          (Attachments: # 1 Unredacted Version of
                          Defendants' Response, # 2 Redacted Version of
                          Defendants' Response)(Related document(s) 337 )
                          (Cooper, Lindsay) (Filed on 5/8/2017) (Entered:
                          05/08/2017)
 05/09/2017         400 ORDER GRANTING IN PART AND
                        DENYING IN PART 325 ADMINISTRATIVE
                        MOTION TO FILE UNDER SEAL by Hon.
                        William Alsup. (whalc2S, COURT STAFF)
                        (Filed on 5/9/2017) (Entered: 05/09/2017)
 05/09/2017         401 ORDER GRANTING 330
                        ADMINISTRATIVE MOTION TO FILE
                        UNDER SEAL by Hon. William Alsup.
                        (whalc2S, COURT STAFF) (Filed on 5/9/2017)
                        (Entered: 05/09/2017)
 05/09/2017         402 Discovery Letter Brief filed by Uber
                        Technologies, Inc.. (Gonzalez, Arturo) (Filed on
                        5/9/2017) (Entered: 05/09/2017)
 05/09/2017         403 NOTICE RE IMPENDING DECISIONS AND
                        PROMPT SUBMISSION OF PROPOSED
                        REDACTIONS. Signed by Judge Alsup on
                        5/9/2017. (whalc2, COURT STAFF) (Filed on
                        5/9/2017) (Entered: 05/09/2017)
 05/09/2017         404 ORDER GRANTING 361
                        ADMINISTRATIVE MOTION TO REMOVE
                        INCORRECTLY FILED DOCUMENT by
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 5/9/2017) (Entered:
                        05/09/2017)
 05/09/2017         405 *****FILED IN ERROR. See 406 . (Entered:
                        05/09/2017)
 05/09/2017         406 ORDER GRANTING 335


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                          ADMINISTRATIVE MOTION TO FILE
                          UNDER SEAL by Hon. William Alsup.
                          (whalc2S, COURT STAFF) (Filed on 5/9/2017)
                          (Entered: 05/09/2017)
 05/09/2017         407 Discovery Letter Brief to Magistrate Judge
                        Corley filed by Waymo LLC. (Verhoeven,
                        Charles) (Filed on 5/9/2017) (Entered:
                        05/09/2017)
 05/09/2017         408 EXHIBITS re 362 Administrative Motion to File
                        Under Seal Regarding Defendants' Response to
                        Waymo's Objections to Evidence Cited in
                        Defendants' Preliminary Injunction Sur-Reply
                        Declaration of Lindsay Cooper in Support of
                        Defendants' Administrative Motion to Seal filed
                        byWaymo LLC. (Attachments: # 1 Unredacted
                        Version of Defendants' Response, # 2 Redacted
                        Version of Defendnats' Response)(Related
                        document(s) 362 ) (Cooper, Lindsay) (Filed on
                        5/9/2017) (Entered: 05/09/2017)
 05/09/2017         409 Administrative Motion to File Under Seal
                        PORTIONS OF DEFENDANTS' RESPONSE TO
                        WAYMOS SUPPLEMENTAL BRIEF
                        REGARDING HASLIM TESTIMONY, AND
                        SUPPORTING EXHIBITS THERETO filed by
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Declaration of Michelle Yang,
                        # 2 Proposed Order, # 3 Redacted Version of
                        Defendants' Response to Waymo's Supplemental
                        Brief Re Haslim Testimony, # 4 Unredacted
                        Version of Defendants' Response to Waymo's
                        Supplemental Brief Re Haslim Testimony, # 5
                        Redacted Version of Ex 1 to Yang Decl ISO
                        Defendants' Response, # 6 Unredacted Version of
                        Ex 1 to Yang Decl ISO Defendants' Response, # 7
                        Redacted Version of Ex 2 to Yang Decl ISO


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                          Defendants' Response, # 8 Unredacted Version of
                          Ex 2 to Yang Decl ISO Defendants' Response, # 9
                          Redacted Version of Ex 3 to Yang Decl ISO
                          Defendants' Response, # 10 Unredacted Version
                          of Ex 3 to Yang Decl ISO Defendants' Response,
                          # 11 Unredacted Version of Ex 4 to Yang Decl
                          ISO Defendants' Response, # 12 Redacted
                          Version of Ex 5 to Yang Decl ISO Defendants'
                          Response, # 13 Unredacted Version of Ex 5 to
                          Yang Decl ISO Defendants' Response, # 14
                          Unredacted Version of Ex 6 to Yang Decl ISO
                          Defendants' Response)(Jacobs, Michael) (Filed
                          on 5/9/2017) (Entered: 05/09/2017)
 05/09/2017         410 RESPONSE to re 386 Supplemental Brief
                        Regarding Haslim Testimony by Ottomotto LLC,
                        Uber Technologies, Inc.. (Attachments: # 1
                        Declaration of Michelle Yang, # 2 Exhibit 1 to
                        Yang Decl (REDACTED PUBLIC VERSION), #
                        3 Exhibit 2 to Yang Decl (REDACTED PUBLIC
                        VERSION), # 4 Exhibit 3 to Yang Decl
                        (REDACTED PUBLIC VERSION), # 5 Exhibit 4
                        to Yang Decl (REDACTED PUBLIC
                        VERSION), # 6 Exhibit 5 to Yang Decl
                        (REDACTED PUBLIC VERSION), # 7 Exhibit 6
                        to Yang Decl (REDACTED PUBLIC
                        VERSION))(Jacobs, Michael) (Filed on 5/9/2017)
                        (Entered: 05/09/2017)
 05/09/2017         411 CERTIFICATE OF SERVICE by Ottomotto
                        LLC, Uber Technologies, Inc. re Unredacted
                        Versions of Documents Submitted Under Seal
                        (Jacobs, Michael) (Filed on 5/9/2017) (Entered:
                        05/09/2017)
 05/10/2017         412 ORDER GRANTING 337
                        ADMINISTRATIVE MOTION TO FILE
                        UNDER SEAL by Hon. William Alsup.


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                          (whalc2S, COURT STAFF) (Filed on
                          5/10/2017) (Entered: 05/10/2017)
 05/10/2017         413 *****FILED IN ERROR. See 414 . (Entered:
                        05/10/2017)
 05/10/2017         414 ORDER GRANTING 348
                        ADMINISTRATIVE MOTION TO FILE
                        UNDER SEAL by Hon. William Alsup.
                        (whalc2S, COURT STAFF) (Filed on
                        5/10/2017) (Entered: 05/10/2017)
 05/10/2017         415 ORDER GRANTING 362
                        ADMINISTRATIVE MOTION TO FILE
                        UNDER SEAL by Hon. William Alsup.
                        (whalc2S, COURT STAFF) (Filed on
                        5/10/2017) (Entered: 05/10/2017)
 05/10/2017         416 ORDER GRANTING 387
                        ADMINISTRATIVE MOTION TO FILE
                        UNDER SEAL by Hon. William Alsup.
                        (whalc2S, COURT STAFF) (Filed on
                        5/10/2017) (Entered: 05/10/2017)
 05/10/2017         417 ORDER by Magistrate Judge Jacqueline Scott
                        Corley granting 280 Administrative Motion to
                        File Under Seal Defendants' Discovery Letter
                        Brief. (ahm, COURT STAFF) (Filed on
                        5/10/2017) (Entered: 05/10/2017)
 05/10/2017         418 NOTICE by Ottomotto LLC, Uber Technologies,
                        Inc. of Filing of Photographs (Attachments: # 1
                        Photograph 1, # 2 Photograph 2, # 3 Photograph
                        3, # 4 Photograph 4, # 5 Photograph 5, # 6
                        Photograph 6, # 7 Photograph 7, # 8 Photograph
                        8, # 9 Photograph 9, # 10 Photograph 10)(Chang,
                        Esther) (Filed on 5/10/2017) (Entered:
                        05/10/2017)
 05/11/2017         419 Minute Entry for proceedings held before


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                          Magistrate Judge Jacqueline Scott Corley:
                          Discovery Hearing held on 5/11/2017. The
                          hearing on Plaintiff's Motion to Compel
                          Production of Withheld Documents (Dkt. No.
                          321 and the hearing on Non-Party Anthony
                          Levandowski's Motion to Intervene Under
                          Rule 24(b) (Dkt. No. 371 ) are advanced to 2:00
                          p.m. on May 24, 2017. Plaintiff's reply to the
                          Motion to Compel is due by May 15, 2017. The
                          parties shall work out the briefing schedule as
                          to the Motion to Intervene. (Court Reporter:
                          Pam Batalo) (Time: 41 minutes)

                          Attorneys for Plaintiff: Melissa Baily; David
                          Perlson.
                          Attorneys for Defendants: Arturo Gonzalez
                          (Uber); Neel Chatterjee (Otto Trucking); Miles
                          Erlich (Non-party Anthony Levandowski).
                          Special Master: John Cooper.

                          This is a text-only Minute Entry (ahm,
                          COURT STAFF) (Date Filed: 5/11/2017)
                          (Entered: 05/11/2017)
 05/11/2017         420 TRANSCRIPT ORDER for proceedings held on
                        05/11/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Ottomotto LLC, Uber
                        Technologies, Inc., for Court Reporter Pam
                        Batalo. (Gonzalez, Arturo) (Filed on 5/11/2017)
                        (Entered: 05/11/2017)
 05/11/2017               Set/Reset Deadlines as to 321 MOTION to
                          Compel Production of Withheld Documents.
                          Replies due by 5/15/2017. Motion Hearing reset
                          for 5/24/2017 at 02:00 PM in Courtroom F, 15th
                          Floor, San Francisco before Magistrate Judge
                          Jacqueline Scott Corley. (ahm, COURT STAFF)
                          (Filed on 5/11/2017) (Entered: 05/11/2017)


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 05/11/2017               Set/Reset Deadlines as to 371 MOTION to
                          Intervene Under Rule 24(b); Memorandum Of
                          Points and Authorities; [Proposed] Order.
                          Motion Hearing reset for 5/24/2017 at 02:00 PM
                          in Courtroom F, 15th Floor, San Francisco before
                          Magistrate Judge Jacqueline Scott Corley. (ahm,
                          COURT STAFF) (Filed on 5/11/2017) (Entered:
                          05/11/2017)
 05/11/2017         421 NOTICE of Appearance by Andrea Pallios
                        Roberts (Roberts, Andrea) (Filed on 5/11/2017)
                        (Entered: 05/11/2017)
 05/11/2017         422 TRANSCRIPT ORDER for proceedings held on
                        May 11, 2017 before Magistrate Judge Jacqueline
                        Scott Corley by Waymo LLC, for Court Reporter
                        Pam Batalo. (Perlson, David) (Filed on
                        5/11/2017) (Entered: 05/11/2017)
 05/11/2017         423 TRANSCRIPT ORDER for proceedings held on
                        May 11, 2017 before Magistrate Judge Jacqueline
                        Scott Corley by John Lee Cooper, for Court
                        Reporter Pam Batalo. (Cooper, John) (Filed on
                        5/11/2017) (Entered: 05/11/2017)
 05/11/2017         424 Transcript of Proceedings held on 05/11/17,
                        before Magistrate Judge Corley. Court Reporter
                        Pamela A Batalo, telephone number
                        pamela_batalo@cand.uscourts.gov. Tape
                        Number: pamela_batalo@cand.uscourts.gov. Per
                        General Order No. 59 and Judicial Conference
                        policy, this transcript may be viewed only at the
                        Clerk's Office public terminal or may be
                        purchased through the Court Reporter/Transcriber
                        until the deadline for the Release of Transcript
                        Restriction. After that date it may be obtained
                        through PACER. Any Notice of Intent to Request
                        Redaction, if required, is due no later than 5



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                          business days from date of this filing. (Re 422
                          Transcript Order, 420 Transcript Order )
                          Redaction Request due 6/1/2017. Redacted
                          Transcript Deadline set for 6/12/2017. Release of
                          Transcript Restriction set for 8/9/2017. (Related
                          documents(s) 422 , 420 ) (Batalo, Pam) (Filed on
                          5/11/2017) (Entered: 05/11/2017)
 05/11/2017         425 ORDER DENYING 115 MOTION TO
                        COMPEL ARBITRATION by Hon. William
                        Alsup. (whalc2S, COURT STAFF) (Filed on
                        5/11/2017) (Entered: 05/11/2017)
 05/11/2017         426 ORDER GRANTING IN PART AND
                        DENYING IN PART PLAINTIFF'S MOTION
                        FOR PROVISIONAL RELIEF. Signed by
                        Judge William Alsup on 05/11/2017. NOTE:
                        The document image contains confidential
                        information and is therefore restricted from
                        access. (jmdS, COURT STAFF) (Filed on
                        5/11/2017) (jmdS, COURT STAFF). (Entered:
                        05/11/2017)
 05/11/2017         427 (UNDER SEAL) ORDER RE SEALING OF
                        426 ORDER ON MOTION FOR
                        PROVISIONAL RELIEF. Signed by Judge
                        William Alsup on 05/11/2017. (jmdS, COURT
                        STAFF) (Filed on 5/11/2017) (Additional
                        attachment(s) added on 5/11/2017: # 1 Exhibit)
                        (jmdS, COURT STAFF). (Entered:
                        05/11/2017)
 05/11/2017         428 ORDER OF REFERRAL TO UNITED
                        STATES ATTORNEY. Signed by Judge Alsup
                        on 5/11/2017. (whalc2S, COURT STAFF)
                        (Filed on 5/11/2017) (Entered: 05/11/2017)
 05/12/2017         429 TRANSCRIPT ORDER for proceedings held on
                        5/11/2017 before Magistrate Judge Jacqueline


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                          Scott Corley by Otto Trucking LLC, for Court
                          Reporter Pam Batalo. (Chatterjee, Indra) (Filed
                          on 5/12/2017) (Entered: 05/12/2017)
 05/12/2017               (Court only) TRANSCRIPT COPY DELIVERED
                          re 429 Transcript Order (Related documents(s)
                          429 ) (Batalo, Pam) (Filed on 5/12/2017)
                          (Entered: 05/12/2017)
 05/12/2017               (Court only) TRANSCRIPT COPY DELIVERED
                          re 423 Transcript Order (Related documents(s)
                          423 ) (Batalo, Pam) (Filed on 5/12/2017)
                          (Entered: 05/12/2017)
 05/12/2017         430 NOTICE by Ottomotto LLC, Uber Technologies,
                        Inc. re 331 MOTION for Summary Judgment of
                        Non-Infringement (REDACTED PUBLIC
                        VERSION) --DEFENDANTS' NOTICE OF
                        PARTIAL WITHDRAWAL OF MOTION FOR
                        SUMMARY JUDGMENT OF NON-
                        INFRINGEMENT (Jacobs, Michael) (Filed on
                        5/12/2017) (Entered: 05/12/2017)
 05/12/2017         431 OPPOSITION/RESPONSE (re 312 MOTION to
                        Dismiss Waymo's Unfair Competition Law
                        Claim ) filed byWaymo LLC. (Verhoeven,
                        Charles) (Filed on 5/12/2017) (Entered:
                        05/12/2017)
 05/12/2017         432 Administrative Motion to File Under Seal
                        Waymo's Administrative Motion to File Under
                        Seal Portions of the Court's Order Granting-in-
                        Part and Denying-in-Part Plaintiff's Motion for
                        Provisional Relief (Dkt. 426) filed by Waymo
                        LLC. (Attachments: # 1 Declaration of Lindsay
                        Cooper, # 2 Proposed Order, # 3 Unredacted
                        Version of Court's PI Order (Dkt. 426))(Cooper,
                        Lindsay) (Filed on 5/12/2017) (Entered:
                        05/12/2017)


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 05/15/2017         433 ORDER GRANTING IN PART AND
                        DENYING IN PART 24 PLAINTIFF'S
                        MOTION FOR PROVISIONAL RELIEF
                        (public version redacted pursuant to 432 ) by
                        Hon. William Alsup. (whalc2S, COURT
                        STAFF) (Filed on 5/15/2017) (Entered:
                        05/15/2017)
 05/15/2017         434 QUESTION REGARDING WAYMO'S
                        ASSERTED TRADE SECRET #1 (UNDER
                        SEAL). Signed by Judge Alsup on 5/15/2017.
                        (whalc2S, COURT STAFF) (Filed on
                        5/15/2017) (whalc2S, COURT STAFF).
                        (Entered: 05/15/2017)
 05/15/2017         435 ORDER RE SEALING IN CONNECTION
                        WITH MOTION FOR PROVISIONAL
                        RELIEF. Signed by Judge Alsup on 5/15/2017.
                        (whalc2S, COURT STAFF) (Filed on
                        5/15/2017) (Additional attachment(s) added on
                        5/15/2017: # 1 Exhibit A) (whalc2S, COURT
                        STAFF). (Entered: 05/15/2017)
 05/15/2017         436 ORDER RE SPECIAL MASTER'S ACCESS
                        TO SEALED MATERIAL. Signed by Judge
                        Alsup on 5/15/2017. (whalc2S, COURT
                        STAFF) (Filed on 5/15/2017) (Entered:
                        05/15/2017)
 05/15/2017               (Court only) ***Motions terminated: 432
                          Administrative Motion to File Under Seal
                          Waymo's Administrative Motion to File Under
                          Seal Portions of the Court's Order Granting-in-
                          Part and Denying-in-Part Plaintiff's Motion for
                          Provisional Relief (Dkt. 426) filed by Waymo
                          LLC. (whalc2S, COURT STAFF) (Filed on
                          5/15/2017) (Entered: 05/15/2017)
 05/15/2017         437 CLERK'S NOTICE Rescheduling Hearing. (This


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                          is a text-only entry generated by the court. There
                          is no document associated with this entry.),
                          Set/Reset Deadlines as to 312 MOTION to
                          Dismiss Waymo's Unfair Competition Law Claim,
                          331 MOTION for Summary Judgment of Non-
                          Infringement (REDACTED PUBLIC VERSION).
                          Motion Hearing set for 6/7/2017 08:00 AM in
                          Courtroom 8, 19th Floor, San Francisco before
                          Hon. William Alsup. Initial Case Management
                          Conference set for 6/7/2017 08:00 AM in
                          Courtroom 8, 19th Floor, San Francisco. (dl,
                          COURT STAFF) (Filed on 5/15/2017) (Entered:
                          05/15/2017)
 05/15/2017               (Court only) Deleted Duplicated Date
                          ***Deadlines terminated. (dl, COURT STAFF)
                          (Filed on 5/15/2017) (Entered: 05/15/2017)
 05/15/2017         438 ORDER RE CASE MANAGEMENT
                        CONFERENCE. Signed by Judge Alsup on
                        5/15/2017. (whalc2, COURT STAFF) (Filed on
                        5/15/2017) (Entered: 05/15/2017)
 05/15/2017         439 Discovery Letter Brief regarding the timing of
                        discovery filed by Ottomotto LLC, Uber
                        Technologies, Inc.. (Gonzalez, Arturo) (Filed on
                        5/15/2017) (Entered: 05/15/2017)
 05/15/2017         440 Discovery Letter BriefWaymo's Letter Brief re:
                        Timing of Discovery filed by Waymo LLC.
                        (Verhoeven, Charles) (Filed on 5/15/2017)
                        (Entered: 05/15/2017)
 05/15/2017         441 Discovery Order re: Waymo's expedited
                        discovery. Signed by Judge Jacqueline Scott
                        Corley on 5/15/2017. (Corley, Jacqueline) (Filed
                        on 5/15/2017) (Entered: 05/15/2017)
 05/15/2017         442 EXHIBITS re 409 Administrative Motion to File



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                          Under Seal PORTIONS OF DEFENDANTS'
                          RESPONSE TO WAYMOS SUPPLEMENTAL
                          BRIEF REGARDING HASLIM TESTIMONY,
                          AND SUPPORTING EXHIBITS THERETO --
                          Declaration of Lindsay Cooper in Support of
                          Defendants' Administrative Motion to Seal filed
                          byWaymo LLC. (Related document(s) 409 )
                          (Cooper, Lindsay) (Filed on 5/15/2017) (Entered:
                          05/15/2017)
 05/15/2017         443 STIPULATION Regarding Waymo LLC's Reply
                        in Support of Its Motion To Compel Production of
                        Withheld Documents filed by Waymo LLC.
                        (Verhoeven, Charles) (Filed on 5/15/2017)
                        (Entered: 05/15/2017)
 05/16/2017               (Court only) Per dkt. no. 441 ***Motions
                          terminated: 439 Discovery Letter Brief regarding
                          the timing of discovery filed by Uber
                          Technologies, Inc., Ottomotto LLC, 440
                          Discovery Letter BriefWaymo's Letter Brief re:
                          Timing of Discovery filed by Waymo LLC. (ahm,
                          COURT STAFF) (Filed on 5/16/2017) (Entered:
                          05/16/2017)
 05/16/2017         444 Administrative Motion to File Under Seal
                        Waymo's Reply in Support of Motion to Compel
                        filed by Waymo LLC. (Attachments: # 1
                        Declaration of Lindsay Cooper in Support of
                        Waymo's Administrative Motion to File
                        Documents Under Seal, # 2 Proposed Order, # 3
                        Unredacted Version of Waymo's Reply in
                        Support of Motion to Compel, # 4 Redacted
                        Version of Waymo's Reply in Support of Motion
                        to Compel, # 5 Unredacted Version of Schmidt
                        Ex. 9, # 6 Unredacted Version of Schmidt Ex. 10,
                        # 7 Unredacted Version of Schmidt Ex. 11)
                        (Verhoeven, Charles) (Filed on 5/16/2017)


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                          (Entered: 05/16/2017)
 05/16/2017         445 REPLY (re 321 MOTION to Compel Production
                        of Withheld Documents ) filed byWaymo LLC.
                        (Attachments: # 1 Declaration of Patrick Schmidt
                        in Support of Waymo's Reply, # 2 Public
                        Versions of Schmidt Exs. 9-11)(Verhoeven,
                        Charles) (Filed on 5/16/2017) (Entered:
                        05/16/2017)
 05/16/2017         446 CERTIFICATE OF SERVICE by Waymo LLC
                        re 444 Administrative Motion to File Under Seal
                        Waymo's Reply in Support of Motion to Compel
                        (Cooper, Lindsay) (Filed on 5/16/2017) (Entered:
                        05/16/2017)
 05/16/2017         447 SUPPLEMENT TO 435 438 ORDERS FILED
                        ON MAY 15, 2017. Signed by Judge Alsup on
                        5/16/2017. (whalc2S, COURT STAFF) (Filed
                        on 5/16/2017) (Entered: 05/16/2017)
 05/16/2017         448 NOTICE by Waymo LLC Injunction Bond
                        (Verhoeven, Charles) (Filed on 5/16/2017)
                        (Entered: 05/16/2017)
 05/16/2017               ***By the request of the parties***

                          Set/Reset Deadlines as to 321 MOTION to
                          Compel Production of Withheld Documents, 371
                          MOTION to Intervene Under Rule 24(b);
                          Memorandum Of Points and Authorities;
                          [Proposed] Order. Motion Hearing reset for
                          5/25/2017 at 10:00 AM in Courtroom F, 15th
                          Floor, San Francisco before Magistrate Judge
                          Jacqueline Scott Corley. (ahm, COURT STAFF)
                          (Filed on 5/16/2017) (Entered: 05/16/2017)
 05/16/2017         449 OPPOSITION/RESPONSE (re 331 MOTION for
                        Summary Judgment of Non-Infringement



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                          (REDACTED PUBLIC VERSION) ) filed
                          byWaymo LLC. (Attachments: # 1 Declaration of
                          Jordan Jaffe, # 2 Exhibit A to Jaffe Declaration)
                          (Verhoeven, Charles) (Filed on 5/16/2017)
                          (Entered: 05/16/2017)
 05/16/2017         450 NOTICE of Appearance by Leo Patrick
                        Cunningham (Cunningham, Leo) (Filed on
                        5/16/2017) (Entered: 05/16/2017)
 05/16/2017         451 OPPOSITION/RESPONSE (re 371 MOTION to
                        Intervene Under Rule 24(b); Memorandum Of
                        Points and Authorities; [Proposed] Order ) filed
                        byWaymo LLC. (Verhoeven, Charles) (Filed on
                        5/16/2017) (Entered: 05/16/2017)
 05/16/2017         452 OPPOSITION/RESPONSE (re 382 MOTION for
                        Leave to File IN CAMERA SUBMISSION IN
                        SUPPORT OF OPPOSITION TO WAYMO'S
                        MOTION TO COMPEL ) filed byWaymo LLC.
                        (Verhoeven, Charles) (Filed on 5/16/2017)
                        (Entered: 05/16/2017)
 05/17/2017         453 Administrative Motion to File Under Seal
                        Declaration of Pierre-Yves Droz in Response to
                        the Court's Question Regarding Waymo's
                        Asserted Trade Secret #1 and Exhibits Thereto
                        (re: Dkt. 434) filed by Waymo LLC.
                        (Attachments: # 1 Declaration of Lindsay Cooper,
                        # 2 Proposed Order, # 3 Unredacted Version of
                        Declaration of Pierre-Yves Droz in Response to
                        the Court's Question Regarding Waymo's
                        Asserted Trade Secret #1, # 4 Unredacted Version
                        of Exhibit J, # 5 Unredacted Version of Exhibit
                        K, # 6 Unredacted Version of Exhibit L)
                        (Verhoeven, Charles) (Filed on 5/17/2017)
                        (Entered: 05/17/2017)
 05/17/2017         454 ADR Certification (ADR L.R. 3-5 b) of


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                          discussion of ADR options (Verhoeven, Charles)
                          (Filed on 5/17/2017) (Entered: 05/17/2017)
 05/17/2017         455 CERTIFICATE OF SERVICE by Waymo LLC
                        re 453 Administrative Motion to File Under Seal
                        Declaration of Pierre-Yves Droz in Response to
                        the Court's Question Regarding Waymo's
                        Asserted Trade Secret #1 and Exhibits Thereto
                        (re: Dkt. 434) (Margeson, Grant) (Filed on
                        5/17/2017) (Entered: 05/17/2017)
 05/17/2017         456 Letter from Karen Dunn requesting permission to
                        file a limited sur-reply brief in further opposition
                        to Waymo's motion to compel production of the
                        due diligence report . (Dunn, Karen) (Filed on
                        5/17/2017) (Entered: 05/17/2017)
 05/17/2017         457 Discovery Letter BriefRe: Defendant's Proposed
                        Sur-Reply filed by Waymo LLC. (Attachments: #
                        1 Exhibit 1)(Verhoeven, Charles) (Filed on
                        5/17/2017) (Entered: 05/17/2017)
 05/17/2017         458 Administrative Motion to File Under Seal
                        Waymo's Discovery Letter Brief re: Defendants'
                        Proposed Sur-Reply filed by Waymo LLC.
                        (Attachments: # 1 Declaration of Lindsay Cooper
                        in Support of Waymo's Administrative Motion to
                        File Documents Under Seal, # 2 Proposed Order,
                        # 3 Unredacted Version of Waymo's Discovery
                        Letter Brief, # 4 Redacted Version f Waymo's
                        Discovery Letter Brief, # 5 Unredacted Version
                        of Ex. 1, # 6 Redacted Version of Ex. 1)
                        (Verhoeven, Charles) (Filed on 5/17/2017)
                        (Entered: 05/17/2017)
 05/17/2017         459 CERTIFICATE OF SERVICE by Waymo LLC
                        re 458 Administrative Motion to File Under Seal
                        Waymo's Discovery Letter Brief re: Defendants'
                        Proposed Sur-Reply (Cooper, Lindsay) (Filed on


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                          5/17/2017) (Entered: 05/17/2017)
 05/17/2017         460 ORDER by Magistrate Judge Jacqueline Scott
                        Corley granting in part and denying in part
                        ( 456 & 457 ) Discovery Letter Brief. (Corley,
                        Jacqueline) (Filed on 5/17/2017) Modified on
                        5/18/2017 (ahm, COURT STAFF). (Entered:
                        05/17/2017)
 05/17/2017         461 ADR Certification (ADR L.R. 3-5 b) of
                        discussion of ADR options by Parties and
                        Counsel for Uber Technologies, Inc. and
                        Ottomotto LLC (Gonzalez, Arturo) (Filed on
                        5/17/2017) (Entered: 05/17/2017)
 05/17/2017         462 Proposed Order re 426 Order, [Proposed] Order
                        Re: Special Masters Monitoring And Verification
                        Protocol by John Lee Cooper. (Cooper, John)
                        (Filed on 5/17/2017) (Entered: 05/17/2017)
 05/18/2017         463 ORDER RE OBJECTIONS TO 462 SPECIAL
                        MASTER'S PROPOSED PROTOCOL.
                        Signed by Judge Alsup on 5/18/2017. (whalc2,
                        COURT STAFF) (Filed on 5/18/2017)
                        (Entered: 05/18/2017)
 05/18/2017         464 NOTICE OF APPEAL to the Federal Circuit as to
                        425 Order on Motion to Compel by Ottomotto
                        LLC, Uber Technologies, Inc.. Filing fee $ 505,
                        receipt number 0971-11406082. Appeal Record
                        due by 6/19/2017. (Hume, Hamish) (Filed on
                        5/18/2017) (Entered: 05/18/2017)
 05/18/2017         465 Notice of Withdrawal of Motion for Summary
                        Judgment of Non-Infringement 331 (Jacobs,
                        Michael) (Filed on 5/18/2017) (Entered:
                        05/18/2017)
 05/18/2017         466 MOTION Intervention and Modification of May
                        11, 2017 Order filed by Anthony Levandowski.


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                          Responses due by 6/1/2017. Replies due by
                          6/8/2017. (Attachments: # 1 Declaration of Ismail
                          J. Ramsey ISO Motion to Modify May 11, 2017
                          Order, # 2 Exhibit A to Declaration of Ismail J.
                          Ramsey ISO Motion to Modify May 11, 2017
                          Order, # 3 Proposed Order)(Ramsey, Ismail)
                          (Filed on 5/18/2017) (Entered: 05/18/2017)
 05/19/2017         467 OBJECTIONS to re 463 Order, 462 Proposed
                        Order --Defendants Uber Technologies, Inc. and
                        Ottomotto LLC's Objection to Special Master's
                        Monitoring and Verification Protocol by
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit 1)(Gonzalez, Arturo)
                        (Filed on 5/19/2017) (Entered: 05/19/2017)
 05/19/2017         468 OBJECTIONS to re 462 Proposed Order, 463
                        Order Plaintiff Waymo LLC's Objections to
                        Proposed Order RE: Special Master's Monitoring
                        And Verification Protocol by Waymo LLC.
                        (Attachments: # 1 Declaration of David A
                        Perlson, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit
                        C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8
                        Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11
                        Proposed Order)(Verhoeven, Charles) (Filed on
                        5/19/2017) (Entered: 05/19/2017)
 05/19/2017         469 OBJECTIONS to re 463 Order, 462 Proposed
                        Order Otto Trucking LLC's Objections to Order
                        Re: Special Master's Monitoring and Verification
                        Protocol by Otto Trucking LLC. (Chatterjee,
                        Indra) (Filed on 5/19/2017) (Entered: 05/19/2017)
 05/19/2017         470 RESPONSE to re 468 Objection, Uber's
                        Response to Waymo's Objections to Special
                        Master's Protocol by Ottomotto LLC, Uber
                        Technologies, Inc.. (Gonzalez, Arturo) (Filed on
                        5/19/2017) (Entered: 05/19/2017)



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 05/19/2017         471 ORDER CONTINUING DEADLINE AND
                        SETTING HEARING ON 466 MOTION TO
                        INTERVENE AND MODIFY PROVISIONAL
                        RELIEF. Signed by Judge Alsup on 5/19/2017.
                        Responses due by 5/26/2017. Replies due by
                        5/30/2017. Motion Hearing set for 6/7/2017
                        10:00 AM in Courtroom 8, 19th Floor, San
                        Francisco before Hon. William Alsup. (whalc2,
                        COURT STAFF) (Filed on 5/19/2017)
                        (Entered: 05/19/2017)
 05/19/2017         472 REPLY (re 371 MOTION to Intervene Under
                        Rule 24(b); Memorandum Of Points and
                        Authorities; [Proposed] Order ) filed byAnthony
                        Levandowski. (Ramsey, Ismail) (Filed on
                        5/19/2017) (Entered: 05/19/2017)
 05/19/2017         473 REPLY (re 382 MOTION for Leave to File IN
                        CAMERA SUBMISSION IN SUPPORT OF
                        OPPOSITION TO WAYMO'S MOTION TO
                        COMPEL ) Non-Party Anthony Levandowski's
                        Reply In Support Of Request for Leave to File In
                        Camera Declaration filed byAnthony
                        Levandowski. (Ramsey, Ismail) (Filed on
                        5/19/2017) (Entered: 05/19/2017)
 05/19/2017         474 Supplemental Brief re 321 MOTION to Compel
                        Production of Withheld Documents
                        DEFENDANTS UBER TECHNOLOGIES, INC.
                        AND OTTOMOTTO LLC'S SUR-REPLY IN
                        OPPOSITION TO WAYMO'S MOTION TO
                        COMPEL PRODUCTION OF DUE DILIGENCE
                        REPORT filed byOttomotto LLC, Uber
                        Technologies, Inc.. (Related document(s) 321 )
                        (Dunn, Karen) (Filed on 5/19/2017) (Entered:
                        05/19/2017)
 05/19/2017         475 REPLY (re 312 MOTION to Dismiss Waymo's



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                          Unfair Competition Law Claim ) filed
                          byOttomotto LLC, Uber Technologies, Inc..
                          (Gonzalez, Arturo) (Filed on 5/19/2017) (Entered:
                          05/19/2017)
 05/19/2017         476 MOTION to Stay filed by Ottomotto LLC, Uber
                        Technologies, Inc.. Motion Hearing set for
                        7/13/2017 08:00 AM in Courtroom 8, 19th Floor,
                        San Francisco before Hon. William Alsup.
                        Responses due by 6/2/2017. Replies due by
                        6/9/2017. (Attachments: # 1 Declaration of Josh
                        Stein, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, #
                        5 Proposed Order)(Hume, Hamish) (Filed on
                        5/19/2017) (Entered: 05/19/2017)
 05/19/2017         477 ADR Certification (ADR L.R. 3-5 b) of
                        discussion of ADR options (Walsh, Rachel)
                        (Filed on 5/19/2017) (Entered: 05/19/2017)
 05/19/2017         478 NOTICE by Otto Trucking LLC re 474
                        Supplemental Brief, (Notice to Join and Adopt
                        Defendants Uber Technologies, Inc.'s and
                        Ottomotto LLC's Sur-Reply Brief in Opposition to
                        Plaintiff Waymo LLC's Motion to Compel
                        Production of Due Diligence Report) (Chatterjee,
                        Indra) (Filed on 5/19/2017) (Entered: 05/19/2017)
 05/19/2017         479 NOTICE by Otto Trucking LLC re 475 Reply to
                        Opposition/Response (Notice to Join and Adopt
                        Uber Technologies, Inc.'s and Ottomotto LLC's
                        Reply in Support of Motion to Dismiss Unfair
                        Competition Law Claim) (Chatterjee, Indra)
                        (Filed on 5/19/2017) (Entered: 05/19/2017)
 05/19/2017         480 Certificate of Interested Entities by Otto Trucking
                        LLC identifying Other Affiliate Anthony
                        Levandowski, Other Affiliate Lior Ron, Other
                        Affiliate Don Burnette for Otto Trucking LLC.
                        (AMENDED) (Chatterjee, Indra) (Filed on


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                          5/19/2017) (Entered: 05/19/2017)
 05/20/2017         481 ORDER SHORTENING TIME TO HEAR
                        476 MOTION TO STAY. Signed by Judge
                        Alsup on 5/20/2017. Responses due by
                        5/26/2017. Replies due by 5/30/2017. Motion
                        Hearing set for 6/7/2017 09:00 AM in
                        Courtroom 8, 19th Floor, San Francisco before
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 5/20/2017) (Entered:
                        05/20/2017)
 05/20/2017         482 ORDER RE MEET AND CONFER ON
                        SPECIAL MASTER'S PROTOCOL. Signed
                        by Judge Alsup on 5/20/2017. (whalc2,
                        COURT STAFF) (Filed on 5/20/2017)
                        (Entered: 05/20/2017)
 05/21/2017         483 Administrative Motion to File Under Seal Notice
                        Clarifying Vertical Resolution for the Court filed
                        by Waymo LLC. (Attachments: # 1 Declaration
                        of Lindsay Cooper in Support of Waymo's
                        Administrative Motion to File Under Seal, # 2
                        Proposed Order, # 3 Redacted Version of
                        Waymo's Notice Clarifying Vertical Resolution
                        for the Court, # 4 Unredacted Version of
                        Waymo's Notice Clarifying Vertical Resolution
                        for the Court)(Verhoeven, Charles) (Filed on
                        5/21/2017) (Entered: 05/21/2017)
 05/21/2017         484 CERTIFICATE OF SERVICE by Waymo LLC
                        re 483 Administrative Motion to File Under Seal
                        Notice Clarifying Vertical Resolution for the
                        Court (Cooper, Lindsay) (Filed on 5/21/2017)
                        (Entered: 05/21/2017)
 05/22/2017         485 MOTION to Amend/Correct 471 Order,, Set
                        Motion and Deadlines/Hearings, filed by Waymo
                        LLC. Responses due by 6/5/2017. Replies due by


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                          6/12/2017. (Attachments: # 1 Proposed Order)
                          (Verhoeven, Charles) (Filed on 5/22/2017)
                          (Entered: 05/22/2017)
 05/22/2017         486 NOTICE of Appearance by Joshua Lee Sohn
                        (Sohn, Joshua) (Filed on 5/22/2017) (Entered:
                        05/22/2017)
 05/22/2017         487 ORDER SHORTENING BRIEFING
                        SCHEDULE FOR 485 MOTION TO
                        MODIFY ORDER EXTENDING
                        PROVISIONAL RELIEF DEADLINE. Signed
                        by Judge Alsup on 5/22/2017. Responses due
                        by 5/23/2017. (whalc2, COURT STAFF) (Filed
                        on 5/22/2017) (Entered: 05/22/2017)
 05/22/2017         488 EXHIBITS re 444 Administrative Motion to File
                        Under Seal Waymo's Reply in Support of Motion
                        to Compel ----Declaration of Michelle Yang in
                        Support of Plaintiff's Administrative Motion to
                        File Under Seal Portions of Its Reply in Support
                        of Its Motion to Compel Production of Withheld
                        Documents and ExhibitsThereto filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Revised Redacted Version of
                        Ex 9 of Schmidt Decl, # 2 Revised Unredacted
                        Version of Ex 9 of Schmidt Decl)(Related
                        document(s) 444 ) (Gonzalez, Arturo) (Filed on
                        5/22/2017) (Entered: 05/22/2017)
 05/22/2017         489 EXHIBITS re 458 Administrative Motion to File
                        Under Seal Waymo's Discovery Letter Brief re:
                        Defendants' Proposed Sur-Reply --Declaration of
                        Michelle Yang in Support of Plaintiff's
                        Administrative Motion to File Under Seal Its
                        Letter Brief Opposing Defendants' Request to File
                        Sur-reply in Support of Waymos Motion to
                        Compel filed byOttomotto LLC, Uber



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                          Technologies, Inc.. (Related document(s) 458 )
                          (Gonzalez, Arturo) (Filed on 5/22/2017) (Entered:
                          05/22/2017)
 05/22/2017         490 CERTIFICATE OF SERVICE by Ottomotto
                        LLC, Uber Technologies, Inc. re 488 Exhibits to
                        an Administrative Motion to File Under Seal,,
                        (Gonzalez, Arturo) (Filed on 5/22/2017) (Entered:
                        05/22/2017)
 05/23/2017         491 Proposed Order Re Special Master's Monitoring
                        and Verification Protocol by John Lee Cooper.
                        (Cooper, John) (Filed on 5/23/2017) (Entered:
                        05/23/2017)
 05/23/2017         492 Letter Brief Regarding Meet and Confer filed
                        byAnthony Levandowski. (Ramsey, Ismail)
                        (Filed on 5/23/2017) (Entered: 05/23/2017)
 05/23/2017         493 Discovery Letter Brief Re: Subpoena to Anthony
                        Levadowski filed by Waymo LLC. (Attachments:
                        # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)
                        (Verhoeven, Charles) (Filed on 5/23/2017)
                        (Entered: 05/23/2017)
 05/23/2017         494 OPPOSITION/RESPONSE (re 485 MOTION to
                        Amend/Correct 471 Order,, Set Motion and
                        Deadlines/Hearings, ) filed byOttomotto LLC,
                        Uber Technologies, Inc.. (Gonzalez, Arturo)
                        (Filed on 5/23/2017) (Entered: 05/23/2017)
 05/23/2017         495 NOTICE by Otto Trucking LLC re 494
                        Opposition/Response to Motion (Defendant Otto
                        Trucking LLC's Notice to Join and Adopt
                        Defendants Uber Technologies, Inc.'s and
                        Ottomotto LLC's Partial Opposition to Plaintiff's
                        Motion to Modify the Court's May 19 Order)
                        (Chatterjee, Indra) (Filed on 5/23/2017) (Entered:
                        05/23/2017)



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 05/23/2017         496 REPLY (re 485 MOTION to Amend/Correct 471
                        Order,, Set Motion and Deadlines/Hearings, )
                        filed byWaymo LLC. (Verhoeven, Charles) (Filed
                        on 5/23/2017) (Entered: 05/23/2017)
 05/24/2017         497 Discovery Letter Brief regarding third-party
                        discovery filed by Ottomotto LLC, Uber
                        Technologies, Inc.. (Ray, Wendy) (Filed on
                        5/24/2017) (Entered: 05/24/2017)
 05/24/2017         498 Discovery Letter BriefRegarding Third Party
                        Expedited Discovery filed by Waymo LLC.
                        (Verhoeven, Charles) (Filed on 5/24/2017)
                        (Entered: 05/24/2017)
 05/24/2017         499 ORDER GRANTING IN PART AND
                        DENYING IN PART 485 MOTION TO
                        REINSTATE PROVISIONAL RELIEF
                        DEADLINE by Hon. William Alsup. (whalc2,
                        COURT STAFF) (Filed on 5/24/2017)
                        (Entered: 05/24/2017)
 05/24/2017         500 ORDER RE SPECIAL MASTER'S
                        MONITORING AND VERIFICATION
                        PROTOCOL (approving 491 pursuant to
                        433 ). Signed by Judge Alsup on 5/24/2017.
                        (whalc2, COURT STAFF) (Filed on 5/24/2017)
                        (Entered: 05/24/2017)
 05/24/2017         501 NOTICE RE ANTHONY LEVANDOWSKI'S
                        IN CAMERA SUBMISSION ON APRIL 19,
                        2017. Signed by Judge Alsup on 5/24/2017.
                        (whalc2, COURT STAFF) (Filed on 5/24/2017)
                        (Entered: 05/24/2017)
 05/25/2017         502 Redacted Transcript of Public Proceedings held
                        on 5-3-2017, before Judge William H. Alsup.
                        Court Reporter/Transcriber Debra L. Pas, CRR,
                        telephone number (415) 431-1477/Email:



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                          Debra_Pas@cand.uscourts.gov. Per General
                          Order No. 59 and Judicial Conference policy, this
                          transcript may be viewed only at the Clerk's
                          Office public terminal or may be purchased
                          through the Court Reporter/Transcriber until the
                          deadline for the Release of Transcript Restriction.
                          After that date it may be obtained through
                          PACER. Any Notice of Intent to Request
                          Redaction, if required, is due no later than 5
                          business days from date of this filing. Release of
                          Transcript Restriction set for 8/23/2017. (Pas,
                          Debra) (Filed on 5/25/2017) (Entered:
                          05/25/2017)
 05/25/2017         503 Sealed Transcript of Proceedings held on 5-3-
                        2017, before Judge William H. Alsup. Court
                        Reporter/Transcriber Debra L. Pas, CRR,
                        Telephone number (415) 431-1477/Email:
                        Debra_Pas@cand.uscourts.gov. Per General
                        Order No. 59 and Judicial Conference policy,any
                        Notice of Intent to Request Redaction, if required,
                        is due no later than 5 business days from date of
                        this filing. Redacted Transcript Deadline set for
                        6/22/2017. (Pas, Debra) (Filed on 5/25/2017)
                        (Entered: 05/25/2017)
 05/25/2017         504 Redacted Sealed Transcript of Proceedings held
                        on 5-3-2017, before Judge William H. Alsup.
                        Court Reporter/Transcriber Debra L. Pas, CRR,
                        Telephone number (415) 431-1477/Email:
                        Debra_Pas@cand.uscourts.gov. Per General
                        Order No. 59 and Judicial Conference policy,any
                        Notice of Intent to Request Redaction, if required,
                        is due no later than 5 business days from date of
                        this filing. Redacted Transcript Deadline set for
                        6/22/2017. (Pas, Debra) (Filed on 5/25/2017)
                        (Entered: 05/25/2017)



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 05/25/2017               (Court only) TRANSCRIPT COPY DELIVERED
                          re 358 Transcript Order, 345 Transcript Order,
                          346 Transcript Order (Related documents(s) 358 ,
                          345 , 346 ) (Pas, Debra) (Filed on 5/25/2017)
                          (Entered: 05/25/2017)
 05/25/2017         505 TRANSCRIPT ORDER for proceedings held on
                        5/25/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Ottomotto LLC, Uber
                        Technologies, Inc., for Court Reporter Debra Pas.
                        (Dunn, Karen) (Filed on 5/25/2017) (Entered:
                        05/25/2017)
 05/25/2017         506 Minute Entry for proceedings held before
                        Magistrate Judge Jacqueline Scott Corley:
                        Motion Hearing held on 5/25/2017 re 321
                        MOTION to Compel Production of Withheld
                        Documents filed by Waymo LLC and 371
                        MOTION to Intervene Under Rule 24(b) filed
                        by Anthony Levandowski. The matters were
                        argued, submitted, and taken under
                        submission. (Court Reporter: Debra Pas)
                        (Time: 2.50 hours.)

                          Special Master: John Cooper.
                          Attorneys for Plaintiff: Charles Verhoeven;
                          Melissa Bailey; David Perlson; Lindsay
                          Cooper.
                          Attorneys for Defendants: Karen Dunn;
                          Esther Chang; Martha Goodman (Uber &
                          Ottomotto LLC); Brett Schuman (Otto
                          Trucking).
                          Attorney for Intervenor Levandowski: Ismail
                          Ramsey.

                          This is a text-only Minute Entry (ahm,
                          COURT STAFF) (Date Filed: 5/25/2017)
                          (Entered: 05/25/2017)


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 05/25/2017         507 TRANSCRIPT ORDER for proceedings held on
                        May 25, 2017 before Magistrate Judge Jacqueline
                        Scott Corley by John Lee Cooper, for Court
                        Reporter Debra Pas. (Cooper, John) (Filed on
                        5/25/2017) (Entered: 05/25/2017)
 05/25/2017         508 TRANSCRIPT ORDER for proceedings held on
                        05/25/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Waymo LLC, for Court Reporter
                        Debra Pas. (Perlson, David) (Filed on 5/25/2017)
                        (Entered: 05/25/2017)
 05/25/2017         509 ORDER by Magistrate Judge Jacqueline Scott
                        Corley.

                          Uber is ordered to file an unredacted version
                          of the February 22, 2016 Term Sheet with the
                          Court by 10:00 a.m. May 26, 2017. They may
                          do so under seal.

                          (This is a text only docket entry, there is no
                          document associated with this notice.)

                          (Corley, Jacqueline) (Filed on 5/25/2017)
                          (Entered: 05/25/2017)
 05/26/2017         510 Administrative Motion to File Under Seal
                        February 22, 2016 Term Sheet Pursuant to May
                        25, 2017 Minute Order 509 filed by Ottomotto
                        LLC, Uber Technologies, Inc.. (Attachments: # 1
                        Declaration of Michelle Yang, # 2 Proposed
                        Order, # 3 Unredacted Version of Ex 1 (FILED
                        ENTIRELY UNDER SEAL))(Gonzalez, Arturo)
                        (Filed on 5/26/2017) (Entered: 05/26/2017)
 05/26/2017         511 OPPOSITION/RESPONSE (re 476 MOTION to
                        Stay ) Plaintiff Waymo LLC's Opposition to
                        Defendants' Motion to Stay Pending Resolution of



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                          Defendants' Appeal of Order Denying Motion to
                          Compel Arbitration of, and to Stay, Trade Secret
                          and UCL Claims filed byWaymo LLC.
                          (Attachments: # 1 Declaration of David A.
                          Perlson In Support of Waymo's Opposition to
                          Motion to Stay, # 2 Exhibit A to Declaration of
                          David A. Perlson, # 3 Exhibit B to Declaration of
                          David A. Perlson)(Verhoeven, Charles) (Filed on
                          5/26/2017) (Entered: 05/26/2017)
 05/26/2017         512 OPPOSITION/RESPONSE (re 466 MOTION
                        Intervention and Modification of May 11, 2017
                        Order ) filed byWaymo LLC. (Verhoeven,
                        Charles) (Filed on 5/26/2017) (Entered:
                        05/26/2017)
 05/26/2017         513 OPPOSITION/RESPONSE (re 466 MOTION
                        Intervention and Modification of May 11, 2017
                        Order ) and Response to Court's Fifth Amendment
                        Questions 471 filed byOtto Trucking LLC.
                        (Chatterjee, Indra) (Filed on 5/26/2017) (Entered:
                        05/26/2017)
 05/26/2017         514 RESPONSE to re 471 Order,, Set Motion and
                        Deadlines/Hearings, Defendants Uber
                        Technologies, Inc. And Ottomotto LLCs Response
                        to Courts Questions (Dkt. 471) by Ottomotto
                        LLC, Uber Technologies, Inc.. (Hume, Hamish)
                        (Filed on 5/26/2017) (Entered: 05/26/2017)
 05/26/2017         515 Administrative Motion to File Under Seal
                        Acquisition Documents Pursuant to May 25, 2017
                        Oral Order filed by Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Declaration
                        of Michelle Yang, # 2 Proposed Order, # 3
                        Unredacted Version of Ex. 1 (FILED ENTIRELY
                        UNDER SEAL), # 4 Unredacted Version of Ex. 2
                        (FILED ENTIRELY UNDER SEAL), # 5



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                          Unredacted Version of Ex. 3 (FILED ENTIRELY
                          UNDER SEAL), # 6 Unredacted Version of Ex. 4
                          (FILED ENTIRELY UNDER SEAL), # 7
                          Unredacted Version of Ex. 5 (FILED ENTIRELY
                          UNDER SEAL), # 8 Unredacted Version of Ex. 6
                          (FILED ENTIRELY UNDER SEAL), # 9
                          Unredacted Version of Ex. 7 (FILED ENTIRELY
                          UNDER SEAL), # 10 Unredacted Version of Ex.
                          8 (FILED ENTIRELY UNDER SEAL), # 11
                          Unredacted Version of Ex. 9 (FILED ENTIRELY
                          UNDER SEAL), # 12 Unredacted Version of Ex.
                          10 (FILED ENTIRELY UNDER SEAL), # 13
                          Unredacted Version of Ex. 11 (FILED
                          ENTIRELY UNDER SEAL), # 14 Unredacted
                          Version of Ex. 12 (FILED ENTIRELY UNDER
                          SEAL), # 15 Exhibit 13 (Public))(Gonzalez,
                          Arturo) (Filed on 5/26/2017) (Entered:
                          05/26/2017)
 05/26/2017         516 Transcript of Proceedings held on 5-25-2017,
                        before Judge Jacqueline Scott Corley. Court
                        Reporter/Transcriber Debra L. Pas, CRR,
                        telephone number (415) 431-1477/Email:
                        Debra_Pas@cand.uscourts.gov. Per General
                        Order No. 59 and Judicial Conference policy, this
                        transcript may be viewed only at the Clerk's
                        Office public terminal or may be purchased
                        through the Court Reporter/Transcriber until the
                        deadline for the Release of Transcript Restriction.
                        After that date it may be obtained through
                        PACER. Any Notice of Intent to Request
                        Redaction, if required, is due no later than 5
                        business days from date of this filing. (Re 505
                        Transcript Order ) Release of Transcript
                        Restriction set for 8/24/2017. (Related documents
                        (s) 505 ) (Pas, Debra) (Filed on 5/26/2017)
                        (Entered: 05/26/2017)


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 05/26/2017               (Court only) TRANSCRIPT COPY DELIVERED
                          re 508 Transcript Order, 507 Transcript Order
                          (Related documents(s) 508 , 507 ) (Pas, Debra)
                          (Filed on 5/26/2017) (Entered: 05/26/2017)
 05/30/2017         517 TRANSCRIPT ORDER for proceedings held on
                        5/25/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Otto Trucking LLC, for Court
                        Reporter Debra Pas. (Chatterjee, Indra) (Filed on
                        5/30/2017) (Entered: 05/30/2017)
 05/30/2017               (Court only) TRANSCRIPT COPY DELIVERED
                          re 517 Transcript Order (Related documents(s)
                          517 ) (pasdl50S, COURT STAFF) (Filed on
                          5/30/2017) (Entered: 05/30/2017)
 05/30/2017         518 REPLY (re 476 MOTION to Stay ) Defendants
                        Uber Technologies, Inc. And Ottomotto LLCs
                        Reply in Support of Motion to Stay Pending
                        Resolution of Defendants Appeal of Order
                        Denying Motion to Compel Arbitration of, and to
                        Stay, Trade Secret and UCL Claims filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Hume, Hamish) (Filed on 5/30/2017) (Entered:
                        05/30/2017)
 05/30/2017         519 REPLY (re 466 MOTION Intervention and
                        Modification of May 11, 2017 Order ) ANTHONY
                        LEVANDOWSKI'S REPLY IN SUPPORT OF
                        MOTION FOR INTERVENTION UNDER RULE
                        24 AND MODIFICATION OF ORDER
                        GRANTING IN PART AND DENYING IN PART
                        PROVISIONAL RELIEF filed byAnthony
                        Levandowski. (Attachments: # 1 Declaration
                        Supplemental Declaration of Ismail J. Ramsey, #
                        2 Exhibit Exhibit B to Supplemental Declaration
                        of Ismail J. Ramsey)(Ramsey, Ismail) (Filed on
                        5/30/2017) (Entered: 05/30/2017)



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 05/30/2017         520 Declaration of Joshua M. Stein in Support of 518
                        Reply to Opposition/Response, OF
                        DEFENDANTS UBER TECHNOLOGIES, INC.
                        AND OTTOMOTTO LLCS REPLY BRIEF RE:
                        MOTION TO STAY filed byOttomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Exhibit 1, #
                        2 Exhibit 2)(Related document(s) 518 ) (Hume,
                        Hamish) (Filed on 5/30/2017) (Entered:
                        05/30/2017)
 05/30/2017         521 Request for Judicial Notice re 518 Reply to
                        Opposition/Response, DEFENDANTS UBER
                        TECHNOLOGIES, INC. AND OTTOMOTTO
                        LLCS REQUEST FOR JUDICIAL NOTICE IN
                        SUPPORT OF REPLY TO MOTION TO STAY
                        filed byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Attachment A)(Related
                        document(s) 518 ) (Hume, Hamish) (Filed on
                        5/30/2017) (Entered: 05/30/2017)
 05/30/2017         522 NOTICE by Otto Trucking LLC re 518 Reply to
                        Opposition/Response, (Defendant Otto Trucking
                        LLC's Notice to Join and Adopt Defendants Uber
                        Technologies, Inc.'s and Ottomotto LLC's Reply
                        in Support of Motion to Stay Pending Resolution
                        of Defendants' Appeal of Order Denying Motion
                        to Compel Arbitration of, and to Stay, Trade
                        Secret and UCL Claims) (Chatterjee, Indra) (Filed
                        on 5/30/2017) (Entered: 05/30/2017)
 05/30/2017         523 Administrative Motion to File Under Seal
                        Waymo's Supplemental Brief in Support of
                        Motion to Compel Production of Withheld
                        Documents filed by Waymo LLC. (Attachments:
                        # 1 Declaration of Lindsay Cooper in Support of
                        Waymo's Administrative Motion to Seal, # 2
                        Proposed Order, # 3 Unredacted Version of
                        Waymo's Supplemental Brief in Support of


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                          Motion to Compel Production of Withheld
                          Documents, # 4 Redacted Version of Waymo's
                          Supplemental Brief in Support of Motion to
                          Compel Production of Withheld Documents, # 5
                          Unredacted Version of Schmidt Ex. 12, # 6 Public
                          Version of Schmidt Ex. 12, # 7 Unredacted
                          Version of Schmidt Ex. 13, # 8 Public Version of
                          Schmidt Ex. 13)(Verhoeven, Charles) (Filed on
                          5/30/2017) (Entered: 05/30/2017)
 05/30/2017         524 Supplemental Brief re 321 MOTION to Compel
                        Production of Withheld Documents Waymo's
                        Supplemental Brief in Support of Motion to
                        Compel Production of Withheld Documents filed
                        byWaymo LLC. (Attachments: # 1 Declaration of
                        Patrick Schmidt in Support of Waymo's
                        Supplemental Brief, # 2 Public Version of
                        Schmidt Ex. 12, # 3 Public Version of Schmidt
                        Ex. 13)(Related document(s) 321 ) (Verhoeven,
                        Charles) (Filed on 5/30/2017) (Entered:
                        05/30/2017)
 05/30/2017         525 CERTIFICATE OF SERVICE by Waymo LLC
                        re 523 Administrative Motion to File Under Seal
                        Waymo's Supplemental Brief in Support of
                        Motion to Compel Production of Withheld
                        Documents (Cooper, Lindsay) (Filed on
                        5/30/2017) (Entered: 05/30/2017)
 05/30/2017         526 Administrative Motion to File Under Seal
                        Waymo's Opposition to Defendants'
                        Administrative Motion to File Under Seal filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Lindsay Cooper in support of Waymo's
                        Administrative Motion to File Under Seal, # 2
                        Proposed Order regarding Waymo's
                        Administrative Motion to File Under Seal, # 3
                        Unredacted Version of Waymo's Opposition to


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                          Defendants' Administrative Motion to File Under
                          Seal, # 4 Redacted Version of Waymo's
                          Opposition to Defendants' Administrative Motion
                          to File Under Seal, # 5 Declaration of Jeff
                          Nardinelli in Support of Waymo's Opposition, # 6
                          Exhibit A to Nardinelli Declaration, # 7 Exhibit B
                          to Nardinelli Declaration, # 8 Exhibit C to
                          Nardinelli Declaration, # 9 Proposed Order
                          regarding Waymo's Opposition)(Verhoeven,
                          Charles) (Filed on 5/30/2017) (Entered:
                          05/30/2017)
 05/30/2017         527 OPPOSITION/RESPONSE (re 515
                        Administrative Motion to File Under Seal
                        Acquisition Documents Pursuant to May 25, 2017
                        Oral Order ) filed byWaymo LLC. (Attachments:
                        # 1 Declaration of Jeff Nardinelli in Support of
                        Waymo's Opposition)(Verhoeven, Charles) (Filed
                        on 5/30/2017) (Entered: 05/30/2017)
 05/30/2017         528 CERTIFICATE OF SERVICE by Waymo LLC
                        re 526 Administrative Motion to File Under Seal
                        Waymo's Opposition to Defendants'
                        Administrative Motion to File Under Seal
                        (Verhoeven, Charles) (Filed on 5/30/2017)
                        (Entered: 05/30/2017)
 05/31/2017         529 MOTION to Strike 526 Administrative Motion to
                        File Under Seal Waymo's Opposition to
                        Defendants' Administrative Motion to File Under
                        Seal filed by Ottomotto LLC, Uber Technologies,
                        Inc.. Responses due by 6/14/2017. Replies due by
                        6/21/2017. (Attachments: # 1 Declaration of
                        Michelle Yang, # 2 Exhibit 1 to Yang
                        Declaration, # 3 Proposed Order)(Gonzalez,
                        Arturo) (Filed on 5/31/2017) (Entered:
                        05/31/2017)




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 05/31/2017         530 STIPULATION WITH PROPOSED ORDER re
                        466 MOTION Intervention and Modification of
                        May 11, 2017 Order filed by Waymo LLC.
                        (Verhoeven, Charles) (Filed on 5/31/2017)
                        (Entered: 05/31/2017)
 06/01/2017         531 Statement Regarding Privilege by Ottomotto
                        LLC, Uber Technologies, Inc.. (Gonzalez,
                        Arturo) (Filed on 6/1/2017) (Entered: 06/01/2017)
 06/01/2017         532 Statement re 447 Order, 438 Order (Defendant
                        Otto Trucking LLC Statement regarding
                        Privilege) by Otto Trucking LLC. (Chatterjee,
                        Indra) (Filed on 6/1/2017) (Entered: 06/01/2017)
 06/01/2017         533 Transmission of Notice of Appeal and Docket
                        Sheet to the Federal Circuit Court of Appeals as
                        to 464 Notice of Appeal to the Federal Circuit,.
                        Filing fee $ 505. (alsS, COURT STAFF) (Filed
                        on 6/1/2017) (Entered: 06/01/2017)
 06/01/2017         534 ORDER GRANTING LEAVE TO FILE SUR-
                        REPLY RE 466 MOTION TO INTERVENE
                        AND MODIFY PROVISIONAL RELIEF
                        (pursuant to 530 stipulation) by Hon. William
                        Alsup. (whalc2, COURT STAFF) (Filed on
                        6/1/2017) (Entered: 06/01/2017)
 06/01/2017         535 Administrative Motion to File Under Seal Parties'
                        Joint Case Management Statement filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Lindsay Cooper in Support of Administrative
                        Motion to File Under Seal, # 2 Unredacted
                        Version of Parties' Joint Case Management
                        Statement, # 3 Redacted Version of Parties' Joint
                        Case Management Statement, # 4 Proposed
                        Order)(Verhoeven, Charles) (Filed on 6/1/2017)
                        (Entered: 06/01/2017)




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 06/01/2017         536 JOINT CASE MANAGEMENT STATEMENT
                        filed by Waymo LLC. (Verhoeven, Charles)
                        (Filed on 6/1/2017) (Entered: 06/01/2017)
 06/01/2017         537 CERTIFICATE OF SERVICE by Waymo LLC
                        re 535 Administrative Motion to File Under Seal
                        Parties' Joint Case Management Statement
                        (Cooper, Lindsay) (Filed on 6/1/2017) (Entered:
                        06/01/2017)
 06/02/2017         538 NOTICE RE PRESENTATION MATERIAL
                        FOR FUTURE HEARINGS. Signed by Judge
                        Alsup on 6/2/2017. (whalc2, COURT STAFF)
                        (Filed on 6/2/2017) (Entered: 06/02/2017)
 06/02/2017               (Court only) ***Motions terminated: 407
                          Discovery Letter Brief to Magistrate Judge
                          Corley filed by Waymo LLC, 402 Discovery
                          Letter Brief filed by Uber Technologies, Inc., 498
                          Discovery Letter BriefRegarding Third Party
                          Expedited Discovery filed by Waymo LLC, 397
                          Discovery Letter Brief to Magistrate Judge
                          Corley filed by Waymo LLC, 497 Discovery
                          Letter Brief regarding third-party discovery filed
                          by Uber Technologies, Inc., Ottomotto LLC.
                          (ahm, COURT STAFF) (Filed on 6/2/2017)
                          (Entered: 06/02/2017)
 06/02/2017         539 RESPONSE to re 501 Order Second Supplement
                        to Court-Ordered Fifth Amendment Submission -
                        Public Version by Anthony Levandowski.
                        (Ramsey, Ismail) (Filed on 6/2/2017) (Entered:
                        06/02/2017)
 06/02/2017         540 ADMINISTRATIVE MOTION to Continue Case
                        Management Conference filed by Ottomotto
                        LLC, Uber Technologies, Inc.. Responses due by
                        6/6/2017. (Attachments: # 1 Declaration of
                        Michelle Yang, # 2 Proposed Order)(Gonzalez,


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                          Arturo) (Filed on 6/2/2017) (Entered: 06/02/2017)
 06/02/2017         541 Administrative Motion to File Under Seal
                        Waymo's Sur-Reply in Opposition to
                        Levandowski's Motion for Intervention and
                        Modification and Exhibits Thereto filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Lindsay Cooper, # 2 Proposed Order, # 3
                        Unredacted Version of Waymo's Sur-Reply in
                        Opposition to Levandowski's Motion for
                        Intervention and Modification, # 4 Redacted
                        Version of Waymo's Sur-Reply in Opposition to
                        Levandowski's Motion for Intervention and
                        Modification, # 5 Unredacted Version of Exhibit
                        2, # 6 Unredacted Version of Exhibit 3)
                        (Verhoeven, Charles) (Filed on 6/2/2017)
                        (Entered: 06/02/2017)
 06/02/2017         542 Supplemental Brief re 512 Opposition/Response
                        to Motion Waymo's Sur-Reply in Opposition to
                        Levandowski's Motion for Intervention and
                        Modification filed byWaymo LLC. (Attachments:
                        # 1 Declaration of Patrick Schmidt, # 2 Exhibit 1,
                        # 3 Exhibits 2-3)(Related document(s) 512 )
                        (Verhoeven, Charles) (Filed on 6/2/2017)
                        (Entered: 06/02/2017)
 06/02/2017         543 CERTIFICATE OF SERVICE by Waymo LLC
                        re 541 Administrative Motion to File Under Seal
                        Waymo's Sur-Reply in Opposition to
                        Levandowski's Motion for Intervention and
                        Modification and Exhibits Thereto (Margeson,
                        Grant) (Filed on 6/2/2017) (Entered: 06/02/2017)
 06/03/2017         544 ORDER DENYING 540 MOTION TO
                        CONTINUE CASE MANAGEMENT
                        CONFERENCE by Hon. William Alsup.
                        (whalc2, COURT STAFF) (Filed on 6/3/2017)



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                          (Entered: 06/03/2017)
 06/03/2017         545 Administrative Motion to File Under Seal filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Patrick Schmidt in Support of Administrative
                        Motion to Seal, # 2 Proposed Order Granting
                        Administrative Motion to Seal, # 3 Redacted
                        Version of Discovery Letter Brief, # 4
                        Unredacted Version of Discovery Letter Brief, #
                        5 Exhibit 1, # 6 Exhibit 2, # 7 Exhibit 3
                        (Redacted), # 8 Exhibit 3 (Unredacted), # 9
                        Exhibit 4, # 10 Exhibit 5)(Verhoeven, Charles)
                        (Filed on 6/3/2017) (Entered: 06/03/2017)
 06/05/2017         546 Discovery Letter Brief Re: Request for Order that
                        Defendants Produce Unredacted Copy of
                        Gardner Letter filed by Waymo LLC.
                        (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                        Exhibit 3 (Redacted), # 4 Exhibit 4, # 5 Exhibit 5)
                        (Verhoeven, Charles) (Filed on 6/5/2017)
                        (Entered: 06/05/2017)
 06/05/2017         547 CERTIFICATE OF SERVICE by Waymo LLC
                        re 545 Administrative Motion to File Under Seal
                        (proof of service of unredacted filings)
                        (Verhoeven, Charles) (Filed on 6/5/2017)
                        (Entered: 06/05/2017)
 06/05/2017         548 RESPONSE to re 532 Statement, 531 Statement
                        Regarding Privilege by Waymo LLC.
                        (Verhoeven, Charles) (Filed on 6/5/2017)
                        (Entered: 06/05/2017)
 06/05/2017         549 ORDER re: Waymo's 321 MOTION to
                        Compel (alsS, COURT STAFF) (Filed on
                        6/5/2017) (Additional attachment(s) added on
                        6/5/2017: # 1 Certificate/Proof of Service)
                        (alsS, COURT STAFF). (Entered: 06/05/2017)




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 06/05/2017         550 ORDER by Magistrate Judge Jacqueline Scott
                        Corley granting in part and denying in part
                        444 Administrative Motion to File Under Seal;
                        granting in part and denying in part 458
                        Administrative Motion to File Under Seal;
                        granting in part and denying in part 510
                        Administrative Motion to File Under Seal;
                        granting in part and denying in part 523
                        Administrative Motion to File Under Seal.
                        (ahm, COURT STAFF) (Filed on 6/5/2017)
                        (Entered: 06/05/2017)
 06/05/2017         551 ORDER REGARDING PROPOSED
                        REDACTIONS TO ORDER RE: WAYMO'S
                        MOTION TO COMPEL. Signed by
                        Magistrate Judge Jacqueline Scott Corley on
                        6/5/2017. (ahm, COURT STAFF) (Filed on
                        6/5/2017) (Entered: 06/05/2017)
 06/05/2017         552 OPPOSITION/RESPONSE (re 546 Discovery
                        Letter Brief Re: Request for Order that
                        Defendants Produce Unredacted Copy of
                        Gardner Letter ) filed byOttomotto LLC, Uber
                        Technologies, Inc.. (Dunn, Karen) (Filed on
                        6/5/2017) (Entered: 06/05/2017)
 06/05/2017         553 NOTICE RE HEARING ON 466 MOTION
                        TO MODIFY PROVISIONAL RELIEF.
                        Signed by Judge Alsup on 6/5/2017. (whalc2S,
                        COURT STAFF) (Filed on 6/5/2017) (Entered:
                        06/05/2017)
 06/05/2017         554 EXHIBITS re 523 Administrative Motion to File
                        Under Seal Waymo's Supplemental Brief in
                        Support of Motion to Compel Production of
                        Withheld Documents DECLARATION OF
                        MICHELLE YANG IN SUPPORT OF
                        PLAINTIFFS ADMINISTRATIVE MOTION TO



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                          FILE UNDER SEAL PORTIONS OF ITS
                          SUPPLEMENTAL BRIEF IN SUPPORT OF ITS
                          MOTION TO COMPEL PRODUCTION OF
                          WITHHELD DOCUMENTS AND EXHIBITS
                          THERETO filed byOttomotto LLC, Uber
                          Technologies, Inc.. (Related document(s) 523 )
                          (Gonzalez, Arturo) (Filed on 6/5/2017) (Entered:
                          06/05/2017)
 06/05/2017         555 EXHIBITS re 526 Administrative Motion to File
                        Under Seal Waymo's Opposition to Defendants'
                        Administrative Motion to File Under Seal --
                        DECLARATION OF MICHELLE YANG IN
                        SUPPORT OF PLAINTIFF'S ADMINISTRATIVE
                        MOTION TO FILE UNDER SEAL ITS
                        OPPOSITION TO DEFENDANTS'
                        ADMINISTRATIVE MOTION TO FILE UNDER
                        SEAL ACQUISITION DOCUMENTS filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Related document(s) 526 ) (Gonzalez, Arturo)
                        (Filed on 6/5/2017) (Entered: 06/05/2017)
 06/06/2017         556 NOTICE of Appearance by Sylvia Rivera
                        (Rivera, Sylvia) (Filed on 6/6/2017) (Entered:
                        06/06/2017)
 06/06/2017         557 NOTICE of Appearance by Kevin Alexander
                        Smith (Smith, Kevin) (Filed on 6/6/2017)
                        (Entered: 06/06/2017)
 06/06/2017         558 EXHIBITS re 541 Administrative Motion to File
                        Under Seal Waymo's Sur-Reply in Opposition to
                        Levandowski's Motion for Intervention and
                        Modification and Exhibits Thereto --Declaration
                        of Michelle Yang in Support of Plaintiff's
                        Administrative Motion to File Under Seal
                        Portions of Its Sur-Reply and Exhibits Thereto
                        (Dkt. 541) filed byOttomotto LLC, Uber



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                          Technologies, Inc.. (Related document(s) 541 )
                          (Gonzalez, Arturo) (Filed on 6/6/2017) (Entered:
                          06/06/2017)
 06/07/2017         559 TRANSCRIPT ORDER for proceedings held on
                        6/7/2017 before Hon. William Alsup by
                        Ottomotto LLC, Uber Technologies, Inc., for
                        Court Reporter Raynee Mercado. (Hume,
                        Hamish) (Filed on 6/7/2017) (Entered:
                        06/07/2017)
 06/07/2017         560 TRANSCRIPT ORDER for proceedings held on
                        June 7, 2017 before Hon. William Alsup by John
                        Lee Cooper, for Court Reporter Raynee Mercado.
                        (Cooper, John) (Filed on 6/7/2017) (Entered:
                        06/07/2017)
 06/07/2017         561 TRANSCRIPT ORDER for proceedings held on
                        06/07/2017 before Hon. William Alsup by
                        Waymo LLC, for Court Reporter Raynee
                        Mercado. (Perlson, David) (Filed on 6/7/2017)
                        (Entered: 06/07/2017)
 06/07/2017         562 ***PLEASE DISREGARD; SEE CORRECTED
                        563 CASE MANAGEMENT SCHEDULING
                        ORDER***CASE MANAGEMENT
                        SCHEDULING ORDER: Final Pretrial
                        Conference set for 9/27/2017 02:00 PM in
                        Courtroom 8, 19th Floor, San Francisco. Jury
                        Trial set for 10/10/2017 07:30 AM in Courtroom
                        8, 19th Floor, San Francisco before Hon. William
                        Alsup. Amended Pleadings due by 6/22/2017.
                        Discovery due by 8/24/2017. This matter has
                        been referred to Magistrate Judge Elizabeth
                        Laporte for mediation/settlement and Magistrate
                        Judge Jacqueline Scott Corley for discovery.
                        Signed by Judge William Alsup on 6/7/2017.
                        (whasec, COURT STAFF) (Filed on 6/7/2017)



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                          Modified on 6/7/2017 (jmdS, COURT STAFF).
                          (Entered: 06/07/2017)
 06/07/2017         563 CASE MANAGEMENT SCHEDULING
                        ORDER: Final Pretrial Conference set for
                        9/27/2017 02:00 PM in Courtroom 8, 19th
                        Floor, San Francisco. Jury Trial set for
                        10/10/2017 07:30 AM in Courtroom 8, 19th
                        Floor, San Francisco before Hon. William
                        Alsup. Amended Pleadings due by 6/22/2017.
                        Discovery due by 8/24/2017. This matter has
                        been referred to Magistrate Judge Elizabeth
                        Laporte for mediation/settlement and
                        Magistrate Judge Jacqueline Scott Corley for
                        discovery. Signed by Judge William Alsup on
                        6/7/2017. (whalc2, COURT STAFF) (Filed on
                        6/7/2017) (Entered: 06/07/2017)
 06/07/2017         564 ORDER DENYING 476 MOTION TO STAY
                        PENDING APPEAL RE ARBITRATION by
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 6/7/2017) (Entered:
                        06/07/2017)
 06/07/2017         565 ORDER DENYING 466 MOTION TO
                        INTERVENE AND MODIFY PROVISIONAL
                        RELIEF by Hon. William Alsup. (whalc2,
                        COURT STAFF) (Filed on 6/7/2017) (Entered:
                        06/07/2017)
 06/07/2017         579 Minute Entry for proceedings held before Hon.
                        William Alsup: Initial Case Management
                        Conference held on 6/7/2017. Motion Hearing
                        held on 6/7/2017 re 466 MOTION Intervention
                        and Modification of May 11, 2017 Order, 312
                        MOTION to Dismiss, 476 MOTION to Stay.
                        Case Management Order will be issued.
                        Motion to Intervene is Denied. Motion to Stay



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                          is Denied. Motion to Dismiss is Taken Under
                          Submission. Total Time in Court 2:29. Court
                          Reporter Name Raynee Mercado. Plaintiff
                          Attorney Lindsay Cooper; Jordan Jaffe; David
                          Perlson; Melissa Baily; James Judah.
                          Defendant Attorney Karen Dunn; Sylvia
                          Rivera; Eric Tate; Meredith Dearborn; Esther
                          Chang; Hamish Hume; Brett Schuman.
                          Special Master: John Cooper. Third-Party:
                          Miles Erlich; Ismail Ramsey. This is a text-
                          only Minute Entry (dl, COURT STAFF) (Date
                          Filed: 6/7/2017) (Entered: 06/09/2017)
 06/08/2017         566 ORDER by Magistrate Judge Jacqueline Scott
                        Corley granting 321 Motion to Compel.

                          ***This document is the same document as
                          docket number 549 .***

                          (ahm, COURT STAFF) (Filed on 6/8/2017)
                          (Entered: 06/08/2017)
 06/08/2017         567 ORDER REGARDING UBER'S PRIVILEGE
                        LOG. Signed by Magistrate Judge Jacqueline
                        Scott Corley on 6/8/2017. (ahm, COURT
                        STAFF) (Filed on 6/8/2017) (Entered:
                        06/08/2017)
 06/08/2017               (Court only) Per dkt. no. 549 ***Motions
                          terminated: 384 MOTION for Joinder In
                          Opposition Filed By Uber Technologies, Inc. And
                          [Proposed] Order filed by Anthony
                          Levandowski, 371 MOTION to Intervene Under
                          Rule 24(b); Memorandum Of Points and
                          Authorities; [Proposed] Order filed by Anthony
                          Levandowski, 382 MOTION for Leave to File IN
                          CAMERA SUBMISSION IN SUPPORT OF
                          OPPOSITION TO WAYMO'S MOTION TO



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                          COMPEL filed by Anthony Levandowski. (ahm,
                          COURT STAFF) (Filed on 6/8/2017) (Entered:
                          06/08/2017)
 06/08/2017         568 ORDER RE: DISCOVERY LETTER
                        REGARDING AGREEMENT BETWEEN
                        LEVANDOWSKI'S ATTORNEY AND
                        STROZ. Signed by Magistrate Judge
                        Jacqueline Scott Corley on 6/8/2017. (ahm,
                        COURT STAFF) (Filed on 6/8/2017) (Entered:
                        06/08/2017)
 06/08/2017         569 NOTICE of Appearance by Edward Takashima
                        for Uber Technologies, Inc. and Ottomotto LLC
                        (Takashima, Edward) (Filed on 6/8/2017)
                        (Entered: 06/08/2017)
 06/08/2017         570 Discovery Letter Briefre: Motion to Compel
                        Production of Documents in Response to
                        Subpoena to Stroz Friedberg filed by Waymo
                        LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2,
                        # 3 Exhibit 3)(Verhoeven, Charles) (Filed on
                        6/8/2017) (Entered: 06/08/2017)
 06/08/2017         571 NOTICE of Appearance by Patrick Thomas
                        Schmidt (Schmidt, Patrick) (Filed on 6/8/2017)
                        (Entered: 06/08/2017)
 06/08/2017         572 MOTION for Relief from Nondispositive Pretrial
                        Order of Magistrate Judge re 549 Order filed by
                        Otto Trucking LLC. Responses due by 6/22/2017.
                        (Attachments: # 1 Proposed Order)(Chatterjee,
                        Indra) (Filed on 6/8/2017) (Entered: 06/08/2017)
 06/08/2017         573 ORDER SETTING BRIEFING SCHEDULE
                        FOR 572 MOTION FOR RELIEF FROM
                        JUDGE CORLEY'S ORDER RE DUE
                        DILIGENCE REPORT. Signed by Judge
                        Alsup on 6/8/2017. Responses due by



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                          6/12/2017. Replies due by 6/13/2017. (whalc2,
                          COURT STAFF) (Filed on 6/8/2017) (Entered:
                          06/08/2017)
 06/08/2017         574 MOTION Relief from Nondispositive Pretrial
                        Order of Magistrate Judge Corley filed by
                        Anthony Levandowski. Responses due by
                        6/12/2017. Replies due by 6/13/2017. (Ramsey,
                        Ismail) (Filed on 6/8/2017) (Entered: 06/08/2017)
 06/08/2017         575 MOTION for Relief from Nondispositive Pretrial
                        Order of Magistrate Judge re 566 Order on
                        Motion to Compel, 549 Order filed by Ottomotto
                        LLC, Uber Technologies, Inc.. Responses due by
                        6/22/2017. (Attachments: # 1 Proposed Order)
                        (Dunn, Karen) (Filed on 6/8/2017) (Entered:
                        06/08/2017)
 06/08/2017         576 ORDER GRANTING 312 MOTION TO
                        DISMISS UNFAIR COMPETITION LAW
                        CLAIM by Hon. William Alsup. (whalc2,
                        COURT STAFF) (Filed on 6/8/2017) (Entered:
                        06/08/2017)
 06/09/2017         577 OPPOSITION/RESPONSE (re 546 Discovery
                        Letter Brief Re: Request for Order that
                        Defendants Produce Unredacted Copy of
                        Gardner Letter ) and in Response to Order of the
                        Court (Dkt. 568) filed byOttomotto LLC, Uber
                        Technologies, Inc.. (Dunn, Karen) (Filed on
                        6/9/2017) (Entered: 06/09/2017)
 06/09/2017         578 ORDER SETTING BRIEFING SCHEDULE
                        FOR 572 574 575 MOTIONS FOR RELIEF
                        FROM 566 JUDGE CORLEY'S ORDER RE
                        DUE DILIGENCE REPORT. Signed by Judge
                        Alsup on 6/9/2017. Responses due by
                        6/12/2017. Replies due by 6/13/2017. (whalc2,
                        COURT STAFF) (Filed on 6/9/2017) (Entered:


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                          06/09/2017)
 06/09/2017         580 Discovery Letter Brief Re: Motion to Quash
                        Subpoena on Non-Party Stroz Friedberg, LLC
                        filed by Otto Trucking LLC. (Chatterjee, Indra)
                        (Filed on 6/9/2017) (Entered: 06/09/2017)
 06/09/2017         581 Discovery Letter Brief to Quash Waymo's
                        Subpoena to Stroz Friedberg LLC filed by
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit 1)(Dunn, Karen) (Filed
                        on 6/9/2017) (Entered: 06/09/2017)
 06/09/2017         582 Administrative Motion to File Under Seal filed by
                        Anthony Levandowski. (Attachments: # 1
                        Declaration of Amy Craig in Support of
                        Administrative Motion to Seal, # 2 Proposed
                        Order Granting Administrative Motion to Seal, #
                        3 Redacted Version of Discovery Letter Brief, # 4
                        Unredacted Version of Discovery Letter Brief)
                        (Ramsey, Ismail) (Filed on 6/9/2017) (Entered:
                        06/09/2017)
 06/09/2017         583 Discovery Letter Briefto Quash Waymo's
                        Subpoena to Stroz Friedberg filed by Anthony
                        Levandowski. (Ramsey, Ismail) (Filed on
                        6/9/2017) (Entered: 06/09/2017)
 06/12/2017         584 REDACTION Revised Redacted Version of
                        Waymo's Motion for a Preliminary Injunction by
                        Waymo LLC. (Attachments: # 1 Declaration
                        Revised Redacted Version of Jaffe Declaration in
                        Support of Waymo's Motion, # 2 Exhibit Jaffe
                        Exs. 1-21, # 3 Exhibit 22, # 4 Exhibit 23, # 5
                        Exhibit 24, # 6 Exhibit 25, # 7 Exhibit 26, # 8
                        Exhibit 27, # 9 Exhibit 28, # 10 Exhibit 29, # 11
                        Exhibit 30, # 12 Exhibit 31, # 13 Exhibit 32, # 14
                        Exhibit 33, # 15 Exhibit 34, # 16 Exhibit 35, # 17
                        Exhibit 36, # 18 Exhibit 37, # 19 Exhibit 38, # 20


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                          Exhibit 39, # 21 Exhibit 40, # 22 Exhibit 41, # 23
                          Exhibit 42, # 24 Exhibit 43, # 25 Exhibit 44, # 26
                          Exhibit 45, # 27 Exhibit 46, # 28 Exhibit 47, # 29
                          Exhibit 48, # 30 Exhibit 49, # 31 Exhibit 50, # 32
                          Exhibit 51, # 33 Exhibit 52, # 34 Exhibit 53, # 35
                          Exhibit 54, # 36 Exhibit 55, # 37 Exhibit 56, # 38
                          Exhibit 57, # 39 Exhibit 58, # 40 Exhibit 59, # 41
                          Exhibit 60, # 42 Declaration Revised Redacted
                          Version of Brown Declaration in Support of
                          Waymo's Motion, # 43 Declaration Revised
                          Redacted Version of Droz Declaration in Support
                          of Waymo's Motion, # 44 Exhibit Droz Exs. A-I,
                          # 45 Declaration Revised Redacted Version of
                          Grossman Declaration in Support of Waymo's
                          Motion, # 46 Exhibit Grossman Ex. 1, # 47
                          Declaration Revised Redacted Version of Janosko
                          Declaration in Support of Waymo's Motion, # 48
                          Declaration Revised Redacted Version of Kintz
                          Declaration in Support of Waymo's Motion, # 49
                          Appendix Kintz Appendix A, # 50 Appendix
                          Kintz Appendix B, # 51 Exhibit Kintz Exhibit A,
                          # 52 Exhibit Kintz Exhibit B, # 53 Declaration
                          Revised Redacted Version of Willis Declaration
                          in Support of Waymo's Motion, # 54 Exhibit
                          Willis Exs. A-I)(Cooper, Lindsay) (Filed on
                          6/12/2017) (Entered: 06/12/2017)
 06/12/2017         585 OPPOSITION/RESPONSE (re 575 MOTION for
                        Relief from Nondispositive Pretrial Order of
                        Magistrate Judge re 566 Order on Motion to
                        Compel, 549 Order , 574 MOTION Relief from
                        Nondispositive Pretrial Order of Magistrate Judge
                        Corley, 572 MOTION for Relief from
                        Nondispositive Pretrial Order of Magistrate Judge
                        re 549 Order ) filed byWaymo LLC. (Verhoeven,
                        Charles) (Filed on 6/12/2017) (Entered:
                        06/12/2017)


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 06/12/2017         586 CERTIFICATE OF SERVICE by Anthony
                        Levandowski re 582 Administrative Motion to
                        File Under Seal Proof of Service of Non-Party
                        Anthony Levandowski's Unredacted Discovery
                        Letter Brief (Craig, Amy) (Filed on 6/12/2017)
                        (Entered: 06/12/2017)
 06/12/2017         587 REDACTION Revised Redacted Version of
                        Defendants' Opposition to Waymo's Motion for a
                        Preliminary Injunction by Waymo LLC.
                        (Attachments: # 1 Declaration Revised Redacted
                        Chang Declaration in Support of Defendants'
                        Opposition, # 2 Exhibit 1, # 3 Exhibit 2, # 4
                        Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit
                        6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Declaration
                        Revised Redacted Boehmke Declaration in
                        Support of Defendants' Opposition, # 11 Exhibit
                        A-P, # 12 Declaration Revised Redacted Faulkner
                        Declaration in Support of Defendants' Opposition,
                        # 13 Declaration Revised Redacted Haslim
                        Declaration in Support of Defendants' Opposition,
                        # 14 Exhibit A-E, # 15 Declaration Revised
                        Redacted Kshirsagar Declaration in Support of
                        Defendants' Opposition, # 16 Exhibit 1-3, # 17
                        Declaration Revised Redacted Lebby Declaration
                        in Support of Defendants' Opposition, # 18
                        Exhibit 1, # 19 Exhibit 2, # 20 Exhibit 3, # 21
                        Exhibit 4, # 22 Exhibit 5, # 23 Exhibit 6, # 24
                        Exhibit 7, # 25 Exhibit 8, # 26 Exhibit 9, # 27
                        Exhibit Revised Redacted Linaval Declaration in
                        Support of Defendants' Opposition, # 28 Exhibit
                        A, # 29 Declaration Revised Redacted
                        McManamon Declaration in Support of
                        Defendants' Opposition, # 30 Exhibit 1, # 31
                        Exhibit 2, # 32 Exhibit 3, # 33 Exhibit 4, # 34
                        Declaration Revised Redacted Meall Declaration
                        in Support of Defendants' Opposition, # 35


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                          Exhibit A, # 36 Exhibit B, # 37 Declaration
                          Revised Redacted Morgan Declaration in Support
                          of Defendants' Opposition, # 38 Exhibit A, # 39
                          Exhibit B, # 40 Exhibit C, # 41 Declaration
                          Revised Redacted Muino Declaration in Support
                          of Defendants' Opposition)(Cooper, Lindsay)
                          (Filed on 6/12/2017) (Entered: 06/12/2017)
 06/12/2017         588 REDACTION Revised Redacted Version of
                        Waymo's Reply in Support of Motion for a
                        Preliminary Injunction by Waymo LLC.
                        (Attachments: # 1 Declaration Revised Redacted
                        Jaffe Declaration in Support of Waymo's Reply, #
                        2 Exhibit 61, # 3 Exhibit 62, # 4 Exhibit 63, # 5
                        Exhibit 64, # 6 Exhibit 65, # 7 Exhibit 66, # 8
                        Exhibit 67, # 9 Exhibit 68, # 10 Exhibit 69-78, #
                        11 Exhibit 79, # 12 Exhibit 80, # 13 Exhibit 81, #
                        14 Exhibit 82, # 15 Exhibit 83, # 16 Exhibit 84, #
                        17 Exhibit 85-87, # 18 Exhibit 88, # 19 Exhibit
                        89, # 20 Exhibit 90, # 21 Exhibit 92-101, # 22
                        Exhibit 102, # 23 Exhibit 103, # 24 Exhibit 104-
                        107, # 25 Exhibit 108, # 26 Exhibit 109-110, # 27
                        Exhibit 111, # 28 Exhibit 112, # 29 Exhibit 113)
                        (Cooper, Lindsay) (Filed on 6/12/2017) (Entered:
                        06/12/2017)
 06/12/2017         589 REDACTION Revised Redacted Version of
                        Defendants' Sur-Reply in Opposition to Waymo's
                        Motion for a Preliminary Injunction by Waymo
                        LLC. (Attachments: # 1 Declaration Revised
                        Redacted Rivera Declaration in Support of
                        Defendants' Sur-Reply, # 2 Exhibit 1, # 3 Exhibit
                        2, # 4 Declaration Revised Redacted Chang
                        Declaration in Support of Defendants' Sur-Reply,
                        # 5 Exhibit 9, # 6 Exhibit 10, # 7 Exhibit 11, # 8
                        Exhibit 12, # 9 Exhibit 13, # 10 Exhibit 14, # 11
                        Exhibit 15, # 12 Exhibit 16, # 13 Exhibit 17, # 14



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                          Exhibit Revised Redacted Lebby Declaration in
                          Support of Defendants' Sur-Reply, # 15 Exhibit 1,
                          # 16 Exhibit 2, # 17 Exhibit 3, # 18 Exhibit 4, #
                          19 Exhibit 5, # 20 Exhibit 6, # 21 Exhibit 7, # 22
                          Exhibit 8, # 23 Exhibit 9, # 24 Exhibit 10, # 25
                          Exhibit 11, # 26 Exhibit 12, # 27 Exhibit 13, # 28
                          Exhibit 14, # 29 Exhibit 15, # 30 Exhibit 16, # 31
                          Exhibit 17, # 32 Exhibit 18, # 33 Exhibit 19, # 34
                          Exhibit 20, # 35 Exhibit 21, # 36 Exhibit 22, # 37
                          Exhibit 23, # 38 Exhibit 24, # 39 Exhibit 25, # 40
                          Exhibit 26, # 41 Exhibit 27, # 42 Declaration
                          Revised Redacted Haslim Declaration in Support
                          of Defendants' Sur-Reply, # 43 Exhibit A, # 44
                          Exhibit B, # 45 Declaration Revised Redacted
                          Linaval Declaration in Support of Defendants'
                          Sur-Reply, # 46 Declaration Revised Redacted
                          Falkner Declaration in Support of Defendants'
                          Sur-Reply, # 47 Declaration Revised Redacted
                          Boehmke Declaration in Support of Defendants'
                          Sur-Reply, # 48 Exhibit A-D, # 49 Exhibit E)
                          (Cooper, Lindsay) (Filed on 6/12/2017) (Entered:
                          06/12/2017)
 06/12/2017         590 REDACTION Revised Redacted Version of
                        Court's Questions for Preliminary Injunction
                        Hearing by Waymo LLC. (Attachments: # 1
                        Revised Redacted Version of Defendants'
                        Responses to Court's Question, # 2 Revised
                        Redacted Version of Waymo's Response to
                        Court's Question)(Cooper, Lindsay) (Filed on
                        6/12/2017) (Entered: 06/12/2017)
 06/12/2017         591 REDACTION Revised Redacted Version of
                        Waymo's Objections to Defendants' Sur-Reply
                        Evidence by Waymo LLC. (Attachments: # 1
                        Revised Redacted Version of Defendants'
                        Response to Waymo's Objections to Defendants'



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                          Sur-Reply Evidence)(Cooper, Lindsay) (Filed on
                          6/12/2017) (Entered: 06/12/2017)
 06/12/2017         592 REDACTION Revised Redacted Version of
                        Supplemental Declaration of Jordan Jaffe in
                        Support of Waymo's Motion for a Preliminary
                        Injunction by Waymo LLC. (Attachments: # 1
                        Exhibit 128, # 2 Exhibit 129, # 3 Exhibit 130, # 4
                        Exhibit 131)(Cooper, Lindsay) (Filed on
                        6/12/2017) (Entered: 06/12/2017)
 06/12/2017         593 REDACTION Revised Redacted Version of
                        Waymo's Brief Regarding the Supplemental
                        Deposition of James Haslim by Waymo LLC.
                        (Attachments: # 1 Declaration Revised Redacted
                        Version of Jaffe Declaration in Support of
                        Waymo's Brief Regarding the Supplemental
                        Deposition of James Haslim, # 2 Exhibit 132, # 3
                        Exhibit 133-134)(Cooper, Lindsay) (Filed on
                        6/12/2017) (Entered: 06/12/2017)
 06/12/2017         594 REDACTION Revised Redacted Version of
                        Defendants' Opposition to Waymo's Brief
                        Regarding the Supplemental Deposition of James
                        Haslim by Waymo LLC. (Attachments: # 1
                        Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit
                        4, # 5 Exhibit 5, # 6 Exhibit 6)(Cooper, Lindsay)
                        (Filed on 6/12/2017) (Entered: 06/12/2017)
 06/12/2017         595 Administrative Motion to File Under Seal re:
                        Letter Brief Requesting Order Compelling
                        Anthony Levandowski to Produce Documents
                        Withheld Under the Fifth Amendment filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Patrick Schmidt, # 2 Proposed Order, # 3 Letter
                        Brief (REDACTED), # 4 Letter Brief
                        (UNREDACTED), # 5 Exhibit 1, # 6 Exhibit 2, #
                        7 Exhibit 3 (REDACTED), # 8 Exhibit 3



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                          (UNREDACTED), # 9 Exhibit 4 (REDACTED),
                          # 10 Exhibit 4 (UNREDACTED), # 11 Exhibit 5
                          (REDACTED), # 12 Exhibit 5
                          (UNREDACTED))(Verhoeven, Charles) (Filed
                          on 6/12/2017) (Entered: 06/12/2017)
 06/12/2017         596 Discovery Letter Brief re: Letter Brief Requesting
                        Order Compelling Anthony Levandowski to
                        Produce Documents Withheld Under the Fifth
                        Amendment filed by Waymo LLC. (Attachments:
                        # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3
                        (Redacted), # 4 Exhibit 4 (Redacted), # 5 Exhibit
                        5 (Redacted))(Verhoeven, Charles) (Filed on
                        6/12/2017) (Entered: 06/12/2017)
 06/12/2017         597 CERTIFICATE OF SERVICE by Waymo LLC
                        re 595 Administrative Motion to File Under Seal
                        re: Letter Brief Requesting Order Compelling
                        Anthony Levandowski to Produce Documents
                        Withheld Under the Fifth Amendment (POS of
                        unredacted Letter Brief and Exhibits)
                        (Verhoeven, Charles) (Filed on 6/12/2017)
                        (Entered: 06/12/2017)
 06/12/2017         598 EXHIBITS re 510 Administrative Motion to File
                        Under Seal February 22, 2016 Term Sheet
                        Pursuant to May 25, 2017 Minute Order 509 --
                        Redacted version of Dkt. No. 510-3 filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Sealed, highlighted version of
                        Dkt. No. 510-3)(Related document(s) 510 )
                        (Gonzalez, Arturo) (Filed on 6/12/2017) (Entered:
                        06/12/2017)
 06/12/2017         599 EXHIBITS re 444 Administrative Motion to File
                        Under Seal Waymo's Reply in Support of Motion
                        to Compel -- Redacted Version of Ex. 1 to Yang
                        Declaration ISO Motion for Reconsideration



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                          [444-6] filed byOttomotto LLC, Uber
                          Technologies, Inc.. (Attachments: # 1 Unredacted
                          Version of Ex. 1 to Yang Declaration ISO Motion
                          for Reconsideration [444-6])(Related document(s)
                          444 ) (Gonzalez, Arturo) (Filed on 6/12/2017)
                          (Entered: 06/12/2017)
 06/12/2017         600 MOTION for Reconsideration re 550 Order on
                        Administrative Motion to File Under Seal,,,,,,,
                        Defendants' Motion for Reconsideration of Order
                        Denying-In-Part Administrative Motion to File
                        Under Seal filed by Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Declaration
                        of Michelle Yang ISO Motion for
                        Reconsideration, # 2 Exhibit 1 to Yang
                        Declaration (REDACTED VERSION), # 3
                        Proposed Order)(Gonzalez, Arturo) (Filed on
                        6/12/2017) (Entered: 06/12/2017)
 06/12/2017         601 EXHIBITS re Dkt. 444 - Unsealed Version of
                        Waymo's Reply in Support of Motion to Compel
                        Due Diligence Report (Dkt. 444-3) filed
                        byWaymo LLC. (Attachments: # 1 Revised
                        Redacted Version of Dkt. 444-5 (Schmidt Ex. 9),
                        # 2 Revised Redacted Version of Dkt. 444-6
                        (Schmidt Ex. 10), # 3 Unsealed Version of Dkt.
                        444-7 (Schmidt Ex. 11))(Cooper, Lindsay) (Filed
                        on 6/12/2017) (Entered: 06/12/2017)
 06/12/2017         602 EXHIBITS re: Dkt. 458 - Unsealed Version of
                        Waymo's Letter Brief (Dkt. 458-3) filed
                        byWaymo LLC. (Attachments: # 1 Unsealed
                        Version of Dkt. 458-5 (Letter Brief Ex. 1))
                        (Cooper, Lindsay) (Filed on 6/12/2017) (Entered:
                        06/12/2017)
 06/12/2017         603 Statement re 567 Order Plaintiff Waymo LLC's
                        Statement Pursuant to Order Regarding Uber's



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                          Privilege Log by Waymo LLC. (Attachments: # 1
                          Exhibit 1)(Verhoeven, Charles) (Filed on
                          6/12/2017) (Entered: 06/12/2017)
 06/12/2017         604 CASE MANAGEMENT ORDER RE TRIAL
                        PREPARATION. Signed by Judge Alsup on
                        6/12/2017. (whalc2, COURT STAFF) (Filed on
                        6/12/2017) (Entered: 06/12/2017)
 06/13/2017         605 Statement re 567 Order Defendants Uber &
                        Ottomotto's Statement Pursuant to Order
                        Regarding Uber's Privilege Log by Ottomotto
                        LLC, Uber Technologies, Inc.. (Gonzalez,
                        Arturo) (Filed on 6/13/2017) (Entered:
                        06/13/2017)
 06/13/2017         606 TRANSCRIPT ORDER for proceedings held on
                        6/7/2017 before Hon. William Alsup by Otto
                        Trucking LLC, for Court Reporter Raynee
                        Mercado. (Chatterjee, Indra) (Filed on 6/13/2017)
                        (Entered: 06/13/2017)
 06/13/2017         607 REPLY (re 574 MOTION Relief from
                        Nondispositive Pretrial Order of Magistrate Judge
                        Corley ) Non-Party Anthony Levandowski's Reply
                        In Support Of Motion for Relief From
                        Nondispositive PreTrial Order of Magistrate
                        Judge filed byAnthony Levandowski. (Ramsey,
                        Ismail) (Filed on 6/13/2017) (Entered:
                        06/13/2017)
 06/13/2017         608 REPLY (re 575 MOTION for Relief from
                        Nondispositive Pretrial Order of Magistrate Judge
                        re 566 Order on Motion to Compel, 549 Order )
                        filed byOttomotto LLC, Uber Technologies, Inc..
                        (Dunn, Karen) (Filed on 6/13/2017) (Entered:
                        06/13/2017)
 06/13/2017         609 REPLY (re 572 MOTION for Relief from



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                          Nondispositive Pretrial Order of Magistrate Judge
                          re 549 Order ) filed byOtto Trucking LLC.
                          (Chatterjee, Indra) (Filed on 6/13/2017) (Entered:
                          06/13/2017)
 06/13/2017         610 Discovery Letter Brief in Opposition to Waymo's
                        Motion to Compel Stroz Subpoena filed by
                        Anthony Levandowski. (Ramsey, Ismail) (Filed
                        on 6/13/2017) (Entered: 06/13/2017)
 06/13/2017         611 NOTICE of Appearance by Kevin K Chang for
                        Stroz Friedberg (Chang, Kevin) (Filed on
                        6/13/2017) (Entered: 06/13/2017)
 06/13/2017         612 Certificate of Interested Entities by Stroz
                        Friedberg, LLC identifying Corporate Parent Aon
                        Corporation for Stroz Friedberg, LLC. (Chang,
                        Kevin) (Filed on 6/13/2017) (Entered:
                        06/13/2017)
 06/13/2017         613 NOTICE by Stroz Friedberg, LLC Rule 7.1
                        Disclosure Statement (Chang, Kevin) (Filed on
                        6/13/2017) (Entered: 06/13/2017)
 06/13/2017         614 Discovery Letter Brief Stroz Freidberg Response
                        to Waymo Motion to Compel Production of
                        Documents in Response to Subpoena to Stroz
                        Friedberg (Docket No. 570) filed by Stroz
                        Friedberg, LLC. (Chang, Kevin) (Filed on
                        6/13/2017) (Entered: 06/13/2017)
 06/13/2017         615 MOTION for leave to appear in Pro Hac Vice
                        Robert B. Ellis ( Filing fee $ 310, receipt number
                        0971-11466962.) filed by Stroz Friedberg, LLC.
                        (Attachments: # 1 Certificate of Good Standing)
                        (Ellis, Robert) (Filed on 6/13/2017) (Entered:
                        06/13/2017)
 06/13/2017         616 Discovery Letter Brief in Opposition to Waymo's
                        Motion to Compel Stroz Friedberg LLC to


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                          Produce Documents in Response to Waymo
                          Subpoena filed by Ottomotto LLC, Uber
                          Technologies, Inc.. (Attachments: # 1 Exhibit 1)
                          (Dunn, Karen) (Filed on 6/13/2017) (Entered:
                          06/13/2017)
 06/13/2017         617 Discovery Letter Brief Re: Otto Trucking's
                        Opposition to Waymo's Motion to Compel
                        Production of Documents in Response to
                        Subpoena on Stroz Friedberg LLC 570 filed by
                        Otto Trucking LLC. (Chatterjee, Indra) (Filed on
                        6/13/2017) (Entered: 06/13/2017)
 06/13/2017         618 MOTION for leave to appear in Pro Hac Vice by
                        Michael A. Brille ( Filing fee $ 310, receipt
                        number 0971-11468822.) filed by Ottomotto
                        LLC, Uber Technologies, Inc.. (Brille, Michael)
                        (Filed on 6/13/2017) (Entered: 06/13/2017)
 06/13/2017         619 ORDER DENYING 615 PRO HAC VICE
                        APPLICATION by Hon. William Alsup.
                        (whalc2, COURT STAFF) (Filed on 6/13/2017)
                        (Entered: 06/13/2017)
 06/13/2017         620 ORDER GRANTING 618 APPLICATION
                        FOR ADMISSION OF ATTORNEY
                        MICHAEL BRILLE PRO HAC VICE by
                        Hon. William Alsup. (whalc2, COURT
                        STAFF) (Filed on 6/13/2017) (Entered:
                        06/13/2017)
 06/14/2017         621 ORDER REGARDING PRODUCTION OF
                        LEVANDOWSKI STROZ AGREEMENTS.
                        Signed by Magistrate Judge Jacqueline Scott
                        Corley on 6/14/2017. (ahm, COURT STAFF)
                        (Filed on 6/14/2017) (Entered: 06/14/2017)
 06/14/2017         622 ORDER RE SCHEDULING OF
                        DEPOSITIONS. Signed by Judge Alsup on



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                          6/14/2017. Case Management Statement due
                          by 6/21/2017. (whalc2, COURT STAFF) (Filed
                          on 6/14/2017) (Entered: 06/14/2017)
 06/14/2017         623 MOTION for leave to appear in Pro Hac Vice
                        Robert B. Ellis ( Filing fee $ 310, receipt number
                        0971-11466962.) Filing fee previously paid on
                        6/13/2017 filed by Stroz Friedberg, LLC.
                        (Attachments: # 1 Certificate of Good Standing)
                        (Ellis, Robert) (Filed on 6/14/2017) (Entered:
                        06/14/2017)
 06/14/2017         624 ORDER GRANTING 623 APPLICATION
                        FOR ADMISSION OF ATTORNEY
                        ROBERT ELLIS PRO HAC VICE by Hon.
                        William Alsup. (whalc2, COURT STAFF)
                        (Filed on 6/14/2017) (Entered: 06/14/2017)
 06/14/2017         625 Transcript of Proceedings held on June 7, 2017,
                        before Judge William H. Alsup. Court Reporter
                        Raynee H. Mercado, CSR, telephone number
                        510-502-6175, cacsr8258@gmail.com. Per
                        General Order No. 59 and Judicial Conference
                        policy, this transcript may be viewed only at the
                        Clerk's Office public terminal or may be
                        purchased through the Court Reporter until the
                        deadline for the Release of Transcript Restriction.
                        After that date it may be obtained through
                        PACER. Any Notice of Intent to Request
                        Redaction, if required, is due no later than 5
                        business days from date of this filing. (Re 560
                        Transcript Order, 559 Transcript Order, 561
                        Transcript Order, 606 Transcript Order ) Release
                        of Transcript Restriction set for 9/12/2017.
                        (Related document(s) 560 , 559 , 561 , 606 )
                        (rhm) (Filed on 6/14/2017) (Entered: 06/14/2017)
 06/14/2017         626 TRANSCRIPT ORDER for proceedings held on



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                          3/29/2017 before Hon. William Alsup by Otto
                          Trucking LLC, for Court Reporter Katherine
                          Sullivan. (Chatterjee, Indra) (Filed on 6/14/2017)
                          (Entered: 06/14/2017)
 06/14/2017         627 Administrative Motion to File Under Seal
                        Waymo's Letter Brief in Opposition to Anthony
                        Levandowski's Motion to Quash the Stroz
                        Subpoena filed by Waymo LLC. (Attachments: #
                        1 Declaration of Lindsay Cooper in Support of
                        Waymo's Administrative Motion to Seal, # 2
                        Proposed Order, # 3 Unredacted Version of
                        Waymo's Letter Brief in Opposition to Anthony
                        Levandowski's Motion to Quash the Stroz
                        Subpoena, # 4 Redacted Version of Waymo's
                        Letter Brief in Opposition to Anthony
                        Levandowski's Motion to Quash the Stroz
                        Subpoena)(Verhoeven, Charles) (Filed on
                        6/14/2017) (Entered: 06/14/2017)
 06/14/2017         628 Discovery Letter Brief Waymo's Opposition to
                        Anthony Levandowski's Motion to Quash the
                        Stroz Subpoena filed by Waymo LLC.
                        (Verhoeven, Charles) (Filed on 6/14/2017)
                        (Entered: 06/14/2017)
 06/14/2017         629 CERTIFICATE OF SERVICE by Waymo LLC
                        re 627 Administrative Motion to File Under Seal
                        Waymo's Letter Brief in Opposition to Anthony
                        Levandowski's Motion to Quash the Stroz
                        Subpoena (Verhoeven, Charles) (Filed on
                        6/14/2017) (Entered: 06/14/2017)
 06/14/2017         630 OPPOSITION/RESPONSE (re 529 MOTION to
                        Strike 526 Administrative Motion to File Under
                        Seal Waymo's Opposition to Defendants'
                        Administrative Motion to File Under Seal ) filed
                        byWaymo LLC. (Verhoeven, Charles) (Filed on



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                          6/14/2017) (Entered: 06/14/2017)
 06/15/2017         631 OPPOSITION/RESPONSE (re 580 Discovery
                        Letter Brief Re: Motion to Quash Subpoena on
                        Non-Party Stroz Friedberg, LLC ) filed
                        byWaymo LLC. (Verhoeven, Charles) (Filed on
                        6/15/2017) (Entered: 06/15/2017)
 06/15/2017         632 OPPOSITION/RESPONSE (re 581 Discovery
                        Letter Brief to Quash Waymo's Subpoena to Stroz
                        Friedberg LLC ) filed byWaymo LLC.
                        (Verhoeven, Charles) (Filed on 6/15/2017)
                        (Entered: 06/15/2017)
 06/15/2017         633 Administrative Motion to File Under Seal
                        Portions of Waymo's Letter Brief Regarding
                        Privilege Issues filed by Waymo LLC.
                        (Attachments: # 1 Affidavit Declaration of
                        Lindsay Cooper in Support of Waymo's
                        Administrative Motion to Seal, # 2 Sealed
                        Version of Exhibit 1, # 3 Public Version of
                        Exhibit 1, # 4 Sealed Version of Exhibit 2, # 5
                        Public Version of Exhibit 2, # 6 Sealed Version
                        of Exhibit 3, # 7 Public Version of Exhibit 3, # 8
                        Sealed Version of Exhibit 13, # 9 Public Version
                        of Exhibit 13, # 10 Proposed Order)(Verhoeven,
                        Charles) (Filed on 6/15/2017) (Entered:
                        06/15/2017)
 06/15/2017         634 *** DOCUMENT LOCKED AT FILER'S
                        REQUEST. DOCUMENT TO BE REFILED
                        LATER. ***
                        Discovery Letter Brief Waymo's Discovery Letter
                        Brief Regarding Privilege Issues filed by Waymo
                        LLC. (Attachments: # 1 Declaration of Kevin
                        Smith in Support of Waymo's Letter Brief, # 2
                        Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit
                        4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9



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                          Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12
                          Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15
                          Exhibit 14)(Verhoeven, Charles) (Filed on
                          6/15/2017) Modified on 6/16/2017 (ewn, COURT
                          STAFF). (Main Document 634 replaced on
                          6/23/2017) (rcsS, COURT STAFF). (Entered:
                          06/15/2017)
 06/15/2017         635 CERTIFICATE OF SERVICE by Waymo LLC
                        re 633 Administrative Motion to File Under Seal
                        Portions of Waymo's Letter Brief Regarding
                        Privilege Issues (Verhoeven, Charles) (Filed on
                        6/15/2017) (Entered: 06/15/2017)
 06/16/2017         636 Administrative Motion to File Under Seal
                        Correction of Docket # 633 - Administrative
                        Motion to File Under Seal Portions of Waymo's
                        Letter Brief Regarding Privilege Issues filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Lindsay Cooper in Support of Waymo's
                        Administrative Motion to Seal, # 2 Proposed
                        Order, # 3 Unredacted Version of Waymo's Letter
                        Brief Regarding Privilege Issues, # 4 Redacted
                        Version of Waymo's Letter Brief Regarding
                        Privilege Issues, # 5 Sealed Smith Ex. 1, # 6
                        Public Smith Ex. 1, # 7 Sealed Smith Ex. 2, # 8
                        Public Smith Ex. 2, # 9 Sealed Smith Ex. 3, # 10
                        Public Smith Ex. 3, # 11 Sealed Smith Ex. 13, #
                        12 Public Smith Ex. 13)(Verhoeven, Charles)
                        (Filed on 6/16/2017) (Entered: 06/16/2017)
 06/16/2017         637 Discovery Letter Brief Correction of Docket #
                        634 - Waymo's Letter Brief Regarding Privilege
                        Issues filed by Waymo LLC. (Attachments: # 1
                        Declaration of Kevin Smith in Support of
                        Waymo's Letter Brief, # 2 Exhibit 1, # 3 Exhibit
                        2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7
                        Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10


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                          Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13
                          Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14)
                          (Verhoeven, Charles) (Filed on 6/16/2017)
                          (Entered: 06/16/2017)
 06/16/2017         638 ADMINISTRATIVE MOTION to Remove
                        Incorrectly Filed Document filed by Waymo
                        LLC. Responses due by 6/20/2017. (Attachments:
                        # 1 Proposed Order)(Verhoeven, Charles) (Filed
                        on 6/16/2017) (Entered: 06/16/2017)
 06/16/2017         639 NOTICE RE CASE MANAGEMENT
                        DEADLINE AND COMMUNICATION
                        FROM SPECIAL MASTER. Signed by Judge
                        Alsup on 6/16/2017. (whalc2, COURT STAFF)
                        (Filed on 6/16/2017) (Entered: 06/16/2017)
 06/16/2017         640 Administrative Motion to File Under Seal Precis
                        on Motions in Limine filed by Waymo LLC.
                        (Attachments: # 1 Declaration of Lindsay Cooper
                        in support of Administrative Motion, # 2
                        Proposed Order granting Administrative Motion,
                        # 3 Redacted Precis, # 4 Unredacted Precis)
                        (Verhoeven, Charles) (Filed on 6/16/2017)
                        (Entered: 06/16/2017)
 06/16/2017         641 RESPONSE to re 604 Order by Ottomotto LLC,
                        Uber Technologies, Inc.. (Dunn, Karen) (Filed on
                        6/16/2017) (Entered: 06/16/2017)
 06/16/2017         642 CERTIFICATE OF SERVICE by Waymo LLC
                        re 640 Administrative Motion to File Under Seal
                        Precis on Motions in Limine (Verhoeven,
                        Charles) (Filed on 6/16/2017) (Entered:
                        06/16/2017)
 06/16/2017         643 NOTICE by Otto Trucking LLC re 641 Response
                        ( Non Motion ) (Otto Trucking LLC's Notice to
                        Join and Adopt Defendants Uber Technologies,



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                          Inc. and Ottomotto, LLC Response Re Dkt. No.
                          604 Order) (Chatterjee, Indra) (Filed on
                          6/16/2017) (Entered: 06/16/2017)
 06/16/2017         644 NOTICE of Appearance by Hayes Phillips Hyde
                        (Hyde, Hayes) (Filed on 6/16/2017) (Entered:
                        06/16/2017)
 06/16/2017         645 OPPOSITION/RESPONSE (re 596 Discovery
                        Letter Brief re: Letter Brief Requesting Order
                        Compelling Anthony Levandowski to Produce
                        Documents Withheld Under the Fifth
                        Amendment ) filed byAnthony Levandowski.
                        (Ramsey, Ismail) (Filed on 6/16/2017) (Entered:
                        06/16/2017)
 06/16/2017         646 MOTION to Quash Subpoenas filed by Lyft, Inc..
                        Responses due by 6/19/2017. Replies due by
                        6/22/2017. (Attachments: # 1 Declaration of
                        Carolyn Hoecker Luedtke, # 2 Declaration of
                        Taggart Matthiesen, # 3 Proposed Order)
                        (Luedtke, Carolyn) (Filed on 6/16/2017)
                        (Entered: 06/16/2017)
 06/16/2017         647 Statement re 563 Order,, Joint Statement
                        Regarding Deadline for Trade Secret Narrowing
                        by Waymo LLC. (Verhoeven, Charles) (Filed on
                        6/16/2017) (Entered: 06/16/2017)
 06/16/2017         648 EXHIBITS re 595 Administrative Motion to File
                        Under Seal re: Letter Brief Requesting Order
                        Compelling Anthony Levandowski to Produce
                        Documents Withheld Under the Fifth Amendment
                        --Declaration of Michelle Yang in Support of
                        Plaintiff's Administrative Motion to File Under
                        Seal Portions of Its Letter Brief and Exhibits 3, 4
                        and 5 Thereto filed byOttomotto LLC, Uber
                        Technologies, Inc.. (Related document(s) 595 )
                        (Gonzalez, Arturo) (Filed on 6/16/2017) (Entered:


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                          06/16/2017)
 06/19/2017         649 RESPONSE to re 604 Order (Defendant Otto
                        Trucking LLC's Response to Waymo's Precis on
                        Motions in Limine in Response to Case
                        Management Order Re: Trial Preparation) by
                        Otto Trucking LLC. (Chatterjee, Indra) (Filed on
                        6/19/2017) (Entered: 06/19/2017)
 06/19/2017         650 RESPONSE to Defendants' in Limine Precis by
                        Waymo LLC. (Verhoeven, Charles) (Filed on
                        6/19/2017) (Entered: 06/19/2017)
 06/19/2017         651 RESPONSE to re 640 Administrative Motion to
                        File Under Seal Precis on Motions in Limine by
                        Ottomotto LLC, Uber Technologies, Inc.. (Dunn,
                        Karen) (Filed on 6/19/2017) (Entered:
                        06/19/2017)
 06/19/2017         652 Discovery Letter Brief in Reply to Waymo's
                        Opposition to Motion to Quash Portions of
                        Subpoena to Stroz Friedberg filed by Anthony
                        Levandowski. (Attachments: # 1 Declaration
                        Declaration of Ismail Ramsey, # 2 Exhibit 1 to
                        Declaration of Ismail Ramsey)(Ramsey, Ismail)
                        (Filed on 6/19/2017) (Entered: 06/19/2017)
 06/19/2017         653 ORDER GRANTING DEFENDANTS UBER
                        TECHNOLOGIES, INC. AND
                        OTTOMOTTO LLC'S MOTION FOR
                        RECONSIDERATION OF ORDER
                        DENYING-IN-PART ADMINISTRATIVE
                        MOTIONS TO FILE UNDER SEAL. Signed
                        by Magistrate Judge Jacqueline Scott Corley
                        on 6/19/2017. (ahm, COURT STAFF) (Filed on
                        6/19/2017) (Entered: 06/19/2017)
 06/19/2017         654 Letter Brief re 637 Discovery Letter Brief
                        Correction of Docket # 634 - Waymo's Letter



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                          Brief Regarding Privilege Issues in opposition to
                          Waymo's Letter Brief Regarding Privilege Issues
                          filed byOtto Trucking LLC. (Related document(s)
                          637 ) (Chatterjee, Indra) (Filed on 6/19/2017)
                          (Entered: 06/19/2017)
 06/19/2017         655 EXHIBITS re 636 Administrative Motion to File
                        Under Seal Correction of Docket # 633 -
                        Administrative Motion to File Under Seal
                        Portions of Waymo's Letter Brief Regarding
                        Privilege Issues --Declaration of Michelle Yang
                        in Support of Plaintiff's Administrative Motion to
                        File Under Seal filed byOttomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Revised
                        Redacted Version of Plaintiff's Discovery Letter
                        Brief Regarding Privilege Issues, # 2 Revised
                        Unredacted Version of Plaintiff's Discovery
                        Letter Brief Regarding Privilege Issues)(Related
                        document(s) 636 ) (Gonzalez, Arturo) (Filed on
                        6/19/2017) (Entered: 06/19/2017)
 06/19/2017         656 EXHIBITS re 636 Administrative Motion to File
                        Under Seal Correction of Docket # 633 -
                        Administrative Motion to File Under Seal
                        Portions of Waymo's Letter Brief Regarding
                        Privilege Issues --CORRECTED Declaration of
                        Michelle Yang in Support of Administrative
                        Motion to File Under Seal filed byOttomotto
                        LLC, Uber Technologies, Inc.. (Related document
                        (s) 636 ) (Gonzalez, Arturo) (Filed on 6/19/2017)
                        (Entered: 06/19/2017)
 06/19/2017         657 Administrative Motion to File Under Seal filed by
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Declaration of Michelle Yang,
                        # 2 Proposed Order, # 3 [REDACTED]
                        Opposition to Motion to Compel, # 4
                        [UNREDACTED] Opposition to Motion to


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                          Compel, # 5 [UNREDACTED] Ex A to Rivera
                          Declaration, # 6 [UNREDACTED] Ex B to
                          Rivera Declaration, # 7 [UNREDACTED] Ex A
                          to DeStefano Declaration)(Gonzalez, Arturo)
                          (Filed on 6/19/2017) (Entered: 06/19/2017)
 06/19/2017         658 OPPOSITION/RESPONSE (re 637 Discovery
                        Letter Brief Correction of Docket # 634 -
                        Waymo's Letter Brief Regarding Privilege
                        Issues ) filed byOttomotto LLC, Uber
                        Technologies, Inc.. (Gonzalez, Arturo) (Filed on
                        6/19/2017) (Entered: 06/19/2017)
 06/19/2017         659 Declaration of Sylvia Rivera in Support of 658
                        Opposition/Response to Motion, filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                        Exhibit C)(Related document(s) 658 ) (Gonzalez,
                        Arturo) (Filed on 6/19/2017) (Entered:
                        06/19/2017)
 06/19/2017         660 Declaration of Rhian Morgan in Support of 658
                        Opposition/Response to Motion, filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit A)(Related document
                        (s) 658 ) (Gonzalez, Arturo) (Filed on 6/19/2017)
                        (Entered: 06/19/2017)
 06/19/2017         661 Declaration of Julie DeStefano in Support of 658
                        Opposition/Response to Motion, filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit A)(Related document
                        (s) 658 ) (Gonzalez, Arturo) (Filed on 6/19/2017)
                        (Entered: 06/19/2017)
 06/20/2017         662 CERTIFICATE OF SERVICE by Ottomotto
                        LLC, Uber Technologies, Inc. re 657
                        Administrative Motion to File Under Seal
                        (Gonzalez, Arturo) (Filed on 6/20/2017) (Entered:


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                          06/20/2017)
 06/20/2017         663 ORDER SETTING FURTHER CASE
                        MANAGEMENT CONFERENCE RE
                        MOTIONS IN LIMINE. Signed by Judge
                        Alsup on 6/20/2017. Further Case
                        Management Conference set for 6/29/2017
                        08:00 AM in Courtroom 8, 19th Floor, San
                        Francisco. No Case Management Statement
                        required. (whalc2, COURT STAFF) (Filed on
                        6/20/2017) (Entered: 06/20/2017)
 06/20/2017         664 ORDER RE CONFERENCE TO FRAME IN
                        LIMINE MOTIONS. Signed by Judge Alsup
                        on 6/20/2017. (whalc2, COURT STAFF) (Filed
                        on 6/20/2017) (Entered: 06/20/2017)
 06/20/2017         665 OPPOSITION/RESPONSE (re 646 MOTION to
                        Quash Subpoenas ) --Defendants' Opposition to
                        Lyft Inc.'s Motion to Quash Subpoena filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Declaration of Michelle Yang,
                        # 2 Exhibit 1 to Yang Declaration)(Gonzalez,
                        Arturo) (Filed on 6/20/2017) (Entered:
                        06/20/2017)
 06/20/2017         666 Administrative Motion to File Under Seal
                        Waymo's Reply in Support of its Motion to
                        Compel Regarding Privilege Issues filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Lindsay Cooper in Support of Waymo's
                        Administrative Motion to Seal, # 2 Proposed
                        Order, # 3 Sealed Version of Waymo's Letter
                        Brief, # 4 Public Version of Waymo's Letter
                        Brief, # 5 Sealed Version of Baily Ex. 1, # 6
                        Public Version of Baily Ex. 1)(Verhoeven,
                        Charles) (Filed on 6/20/2017) (Entered:
                        06/20/2017)



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 06/20/2017         667 REPLY (re 637 Discovery Letter Brief
                        Correction of Docket # 634 - Waymo's Letter
                        Brief Regarding Privilege Issues ) filed
                        byWaymo LLC. (Attachments: # 1 Declaration of
                        Melissa J. Baily in Support of Waymo's Reply, #
                        2 Exhibit 1)(Verhoeven, Charles) (Filed on
                        6/20/2017) (Entered: 06/20/2017)
 06/20/2017         668 CERTIFICATE OF SERVICE by Waymo LLC
                        re 666 Administrative Motion to File Under Seal
                        Waymo's Reply in Support of its Motion to
                        Compel Regarding Privilege Issues (Verhoeven,
                        Charles) (Filed on 6/20/2017) (Entered:
                        06/20/2017)
 06/21/2017         669 ORDER REQUIRING LISTS OF OPINIONS
                        FOR CASES-IN-CHIEF AT TRIAL. Signed
                        by Judge Alsup on 6/21/2017. (whalc2,
                        COURT STAFF) (Filed on 6/21/2017)
                        (Entered: 06/21/2017)
 06/21/2017         670 ORDER GRANTING MOTION TO
                        COMPEL STROZ DOCUMENTS AND
                        DENYING MOTIONS TO QUASH. Signed by
                        Magistrate Judge Jacqueline Scott Corley on
                        6/21/2017. (jsclc2S, COURT STAFF) (Filed on
                        6/21/2017) (Entered: 06/21/2017)
 06/21/2017         671 RESPONSE to Order Re Scheduling Depositions
                        (Dkt. 622) by Waymo LLC. (Verhoeven, Charles)
                        (Filed on 6/21/2017) (Entered: 06/21/2017)
 06/21/2017         672 RESPONSE to re 622 Order, Set Deadlines
                        Defendants Uber Technologies, Inc., Ottomotto
                        LLC and Otto Trucking LLCs Proposed
                        Deposition Schedule In Response To The Courts
                        June 14, 2017 Order by Otto Trucking LLC,
                        Ottomotto LLC, Uber Technologies, Inc.. (Dunn,
                        Karen) (Filed on 6/21/2017) (Entered:


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                          06/21/2017)
 06/21/2017         673 TRANSCRIPT ORDER for proceedings held on
                        4/5/2017 and 4/27/2017 before Hon. William
                        Alsup by Otto Trucking LLC, for Court Reporter
                        Belle Ball. (Chatterjee, Indra) (Filed on
                        6/21/2017) (Entered: 06/21/2017)
 06/21/2017         674 TRANSCRIPT ORDER for proceedings held on
                        4/6/2017 and 4/12/2017 before Hon. William
                        Alsup by Otto Trucking LLC, for Court Reporter
                        Jo Ann Bryce. (Chatterjee, Indra) (Filed on
                        6/21/2017) (Entered: 06/21/2017)
 06/21/2017         675 TRANSCRIPT ORDER for proceedings held on
                        4/27/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Otto Trucking LLC, for Court
                        Reporter Leo Mankiewicz. (Chatterjee, Indra)
                        (Filed on 6/21/2017) (Entered: 06/21/2017)
 06/21/2017         676 Administrative Motion to File Under Seal filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Patrick Schmidt ISO Admin. Mot. to Seal, # 2
                        Proposed Order Granting Admin. Mot. to Seal, #
                        3 Redacted Version of Notice of Motion and
                        Motion for Order to Show Cause, # 4 Unredacted
                        Version of Notice of Motion and Motion for
                        Order to Show Cause, # 5 Declaration of Patrick
                        Schmidt ISO Motion for Order to Show Cause, #
                        6 Exhibit 1, # 7 Exhibit 2, # 8 Exhibit 3
                        (Redacted), # 9 Exhibit 3 (Unredacted), # 10
                        Exhibit 4, # 11 Exhibit 5 (Redacted), # 12 Exhibit
                        5 (Unredacted), # 13 Exhibit 6 (Redacted), # 14
                        Exhibit 6 (Unredacted), # 15 Exhibit 7, # 16
                        Proposed Order to Show Cause)(Verhoeven,
                        Charles) (Filed on 6/21/2017) (Entered:
                        06/21/2017)
 06/21/2017         677 MOTION for Order to Show Cause filed by


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                          Waymo LLC. Motion Hearing set for 7/27/2017
                          08:00 AM in Courtroom 8, 19th Floor, San
                          Francisco before Hon. William Alsup. Responses
                          due by 7/5/2017. Replies due by 7/12/2017.
                          (Attachments: # 1 Declaration of Patrick Schmidt
                          ISO Motion for Order to Show Cause, # 2 Exhibit
                          1, # 3 Exhibit 2, # 4 Exhibit 3 (Redacted), # 5
                          Exhibit 4, # 6 Exhibit 5 (Redacted), # 7 Exhibit 6
                          (Redacted), # 8 Exhibit 7, # 9 Proposed Order to
                          Show Cause)(Verhoeven, Charles) (Filed on
                          6/21/2017) (Entered: 06/21/2017)
 06/21/2017         678 CERTIFICATE OF SERVICE by Waymo LLC
                        re 676 Administrative Motion to File Under Seal
                        (proof of service of unredacted filings)
                        (Verhoeven, Charles) (Filed on 6/21/2017)
                        (Entered: 06/21/2017)
 06/21/2017         679 SECOND ORDER RE SCHEDULING OF
                        DEPOSITIONS (re 622 671 672 ). Signed by
                        Judge Alsup on 6/21/2017. Responses due by
                        6/22/2017. (whalc2, COURT STAFF) (Filed on
                        6/21/2017) (Entered: 06/21/2017)
 06/21/2017         680 REPLY (re 529 MOTION to Strike 526
                        Administrative Motion to File Under Seal
                        Waymo's Opposition to Defendants'
                        Administrative Motion to File Under Seal ) filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Gonzalez, Arturo) (Filed on 6/21/2017) (Entered:
                        06/21/2017)
 06/21/2017         681 Administrative Motion to File Under Seal
                        Portions of Letter Brief Regarding Waymo LLC's
                        Motion to Compel filed by Waymo LLC.
                        (Attachments: # 1 Declaration of John McCauley
                        In Support of Administrative Motion to File
                        Under Seal, # 2 Proposed Order, # 3 Redacted



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                          Version of Waymo's Letter Brief Regarding
                          Waymo's Motion to Compel, # 4 Sealed Version
                          of Waymo's Letter Brief Regarding Waymo's
                          Motion to Compel, # 5 Sealed Exhibit 1, # 6
                          Redacted Version of Exhibit 2, # 7 Sealed
                          Version of Exhibit 2, # 8 Redacted Version of
                          Exhibit 3, # 9 Sealed Version of Exhibit 3, # 10
                          Sealed Exhibit 5, # 11 Sealed Exhibit 6, # 12
                          Sealed Exhibit 7, # 13 Sealed Exhibit 8, # 14
                          Sealed Exhibit 9, # 15 Sealed Exhibit 13, # 16
                          Sealed Exhibit 16)(Verhoeven, Charles) (Filed on
                          6/21/2017) (Entered: 06/21/2017)
 06/21/2017         682 Discovery Letter BriefWaymo LLC's Letter Brief
                        In Support of Waymo LLC's Motion to Compel
                        Against Defendant Otto Trucking LLC and
                        Defendants Uber Technologies, Inc. and
                        Ottomotto LLC filed by Waymo LLC.
                        (Attachments: # 1 Exhibit 1 (filed under seal), # 2
                        Exhibit 2 (redacted), # 3 Exhibit 3 (redacted), # 4
                        Exhibit 4, # 5 Exhibit 5 (filed under seal), # 6
                        Exhibit 6 (filed under seal), # 7 Exhibit 7 (filed
                        under seal), # 8 Exhibit 8 (filed under seal), # 9
                        Exhibit 9 (filed under seal), # 10 Exhibit 10, # 11
                        Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13 (filed
                        under seal), # 14 Exhibit 14, # 15 Exhibit 15, # 16
                        Exhibit 16 (filed under seal), # 17 Exhibit 17, #
                        18 Exhibit 18, # 19 Exhibit 19)(Verhoeven,
                        Charles) (Filed on 6/21/2017) (Entered:
                        06/21/2017)
 06/21/2017         683 CERTIFICATE OF SERVICE by Waymo LLC
                        re 681 Administrative Motion to File Under Seal
                        Portions of Letter Brief Regarding Waymo LLC's
                        Motion to Compel (proof of service of documents
                        filed under seal) (Verhoeven, Charles) (Filed on
                        6/21/2017) (Entered: 06/21/2017)



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 06/21/2017         684 Administrative Motion to File Under Seal
                        Exhibits to Defendants' Motion to Compel
                        Responses to Interrogatories and Production of
                        Documents filed by Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Declaration
                        of Michelle Yang, # 2 Proposed Order, # 3
                        Redacted Version of Exhibit 1A to Yang Decl.
                        ISO Defendants' Motion to Compel, # 4
                        Unredacted Version of Exhibit 1A to Yang Decl.
                        ISO Defendants' Motion to Compel, # 5
                        Unredacted Version of Exhibit 3 to Yang Decl.
                        ISO Defendants' Motion to Compel, # 6
                        Unredacted Version of Exhibit 6 to Yang Decl.
                        ISO Defendants' Motion to Compel, # 7
                        Unredacted Version of Exhibit 15 to Yang Decl.
                        ISO Defendants' Motion to Compel, # 8
                        Unredacted Version of Exhibit 18 to Yang Decl.
                        ISO Defendants' Motion to Compel, # 9 Redacted
                        Version of Exhibit 21 to Yang Decl. ISO
                        Defendants' Motion to Compel, # 10 Unredacted
                        Version of Exhibit 21 to Yang Decl. ISO
                        Defendants' Motion to Compel)(Gonzalez,
                        Arturo) (Filed on 6/21/2017) (Entered:
                        06/21/2017)
 06/21/2017         685 ORDER DENYING 572 574 575 MOTIONS
                        FOR RELIEF FROM 566 JUDGE
                        CORLEY'S NONDISPOSITIVE PRETRIAL
                        ORDER RE DUE DILIGENCE REPORT by
                        Judge Alsup. (whalc2, COURT STAFF) (Filed
                        on 6/21/2017) (Entered: 06/21/2017)
 06/21/2017         686 ORDER DENYING 575 REQUEST FOR
                        CLARIFICATION OF 566 JUDGE
                        CORLEY'S ORDER. Signed by Judge Alsup
                        on 6/21/2017. (whalc2, COURT STAFF) (Filed
                        on 6/21/2017) (Entered: 06/21/2017)



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 06/21/2017         687 Discovery Letter Brief re Defendants' Motion to
                        Compel Responses to Interrogatories and
                        Requests for Production of Documents filed by
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Gonzalez, Arturo) (Filed on 6/21/2017) (Entered:
                        06/21/2017)
 06/21/2017         688 Declaration of Michelle Yang in Support of 687
                        Discovery Letter Brief re Defendants' Motion to
                        Compel Responses to Interrogatories and
                        Requests for Production of Documents filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit 1A (REDACTED), # 2
                        Exhibit 1B, # 3 Exhibit 1C, # 4 Exhibit 2, # 5
                        Exhibit 3 (REDACTED), # 6 Exhibit 4, # 7
                        Exhibit 5, # 8 Exhibit 6 (REDACTED), # 9
                        Exhibit 7, # 10 Exhibit 8, # 11 Exhibit 9, # 12
                        Exhibit 10)(Related document(s) 687 ) (Gonzalez,
                        Arturo) (Filed on 6/21/2017) (Entered:
                        06/21/2017)
 06/21/2017         689 EXHIBITS re 688 Declaration in Support,,
                        Additional Exhibits to Declaration of Michelle
                        Yang - Exhibits 11-21 filed byOttomotto LLC,
                        Uber Technologies, Inc.. (Attachments: # 1
                        Exhibit 12, # 2 Exhibit 13, # 3 Exhibit 14, # 4
                        Exhibit 15 (REDACTED), # 5 Exhibit 16, # 6
                        Exhibit 17, # 7 Exhibit 18 (REDACTED), # 8
                        Exhibit 19, # 9 Exhibit 20, # 10 Exhibit 21
                        (REDACTED))(Related document(s) 688 )
                        (Gonzalez, Arturo) (Filed on 6/21/2017) (Entered:
                        06/21/2017)
 06/21/2017         690 CERTIFICATE OF SERVICE by Ottomotto
                        LLC, Uber Technologies, Inc. re 684
                        Administrative Motion to File Under Seal
                        Exhibits to Defendants' Motion to Compel
                        Responses to Interrogatories and Production of


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                          Documents (Gonzalez, Arturo) (Filed on
                          6/21/2017) (Entered: 06/21/2017)
 06/22/2017         691 ORDER by Magistrate Judge Jacqueline Scott
                        Corley denying 545 Administrative Motion to
                        File Under Seal. (ahm, COURT STAFF) (Filed
                        on 6/22/2017) (Entered: 06/22/2017)
 06/22/2017         692 TRANSCRIPT ORDER for proceedings held on
                        5/3/2017 before Hon. William Alsup by Otto
                        Trucking LLC, for Court Reporter Debra Pas.
                        (Chatterjee, Indra) (Filed on 6/22/2017) (Entered:
                        06/22/2017)
 06/22/2017         693 ADDITIONAL QUESTION FOR
                        CONFERENCE RE IN LIMINE MOTIONS
                        [re 664 Order, 663 Order,, Set
                        Deadlines/Hearings]. Signed by Judge William
                        Alsup on 6/22/2017. (whasec, COURT STAFF)
                        (Filed on 6/22/2017) (Entered: 06/22/2017)
 06/22/2017         694 EXHIBITS re 676 Administrative Motion to File
                        Under Seal (CORRECTION OF DOCKET #
                        [676-6]) filed byWaymo LLC. (Related
                        document(s) 676 ) (Verhoeven, Charles) (Filed on
                        6/22/2017) (Entered: 06/22/2017)
 06/22/2017         695 EXHIBITS re 677 MOTION for Order to Show
                        Cause (CORRECTION OF DOCKET # [677-2])
                        filed byWaymo LLC. (Related document(s) 677 )
                        (Verhoeven, Charles) (Filed on 6/22/2017)
                        (Entered: 06/22/2017)
 06/22/2017         696 ORDER by Magistrate Judge Jacqueline Scott
                        Corley granting 638 Administrative Motion to
                        Remove Incorrectly Filed Document.

                          (This is a text only docket entry, there is no
                          document associated with this notice.)



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                          (Corley, Jacqueline) (Filed on 6/22/2017)
                          (Entered: 06/22/2017)
 06/22/2017         697 NOTICE AND SUPPLEMENT TO 669
                        ORDER REQUIRING LISTS OF OPINIONS
                        FOR CASES-IN-CHIEF AT TRIAL. Signed
                        by Judge Alsup on 6/22/2017. (whalc2,
                        COURT STAFF) (Filed on 6/22/2017)
                        (Entered: 06/22/2017)
 06/22/2017         698 RESPONSE to re 679 Order, Set Deadlines -
                        Uber's List of Top Ten Depositions Pursuant to
                        Docket No. 679 by Ottomotto LLC, Uber
                        Technologies, Inc.. (Gonzalez, Arturo) (Filed on
                        6/22/2017) (Entered: 06/22/2017)
 06/22/2017         699 RESPONSE to re 679 Order, Set Deadlines
                        Plaintiff Waymo's Response to Second Order re
                        Scheduling Depositions by Waymo LLC.
                        (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                        Exhibit 3)(Verhoeven, Charles) (Filed on
                        6/22/2017) (Entered: 06/22/2017)
 06/22/2017         700 NOTICE by Otto Trucking LLC re 679 Order, Set
                        Deadlines (Otto Trucking LLC's Notice to Join
                        Defendant Uber Technologies, Inc. and Ottomotto
                        LLC's Response Re Dkt. No. 679) (Chatterjee,
                        Indra) (Filed on 6/22/2017) (Entered: 06/22/2017)
 06/22/2017         701 REPLY (re 646 MOTION to Quash Subpoenas )
                        filed byLyft, Inc.. (Luedtke, Carolyn) (Filed on
                        6/22/2017) (Entered: 06/22/2017)
 06/22/2017         702 Statement re 699 Response ( Non Motion )
                        Plaintiff Waymo's Supplemental Submission in
                        Connection with its Response to Second Order re
                        Scheduling of Depositions by Waymo LLC.
                        (Verhoeven, Charles) (Filed on 6/22/2017)



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                          (Entered: 06/22/2017)
 06/22/2017         703 Answer to Amended Complaint 23 Amended
                        Complaint (Defendant, Otto Trucking LLC's
                        Answer to First Amended Complaint and
                        Counterclaims) byOtto Trucking LLC.
                        (Chatterjee, Indra) (Filed on 6/22/2017) (Entered:
                        06/22/2017)
 06/22/2017         704 Defendants Uber Technologies, Inc. and
                        Ottomotto LLC's ANSWER to Amended
                        Complaint and Affirmative Defenses byOttomotto
                        LLC, Uber Technologies, Inc.. (Gonzalez,
                        Arturo) (Filed on 6/22/2017) (Entered:
                        06/22/2017)
 06/23/2017         705 Statement re 698 Response ( Non Motion ) LISTS
                        OF TOP TEN DEPOSITIONS PURSUANT TO
                        DOCKET NO. 679 by Uber Technologies, Inc..
                        (Muino, Daniel) (Filed on 6/23/2017) (Entered:
                        06/23/2017)
 06/23/2017         706 ORDER DENYING ADMINISTRATIVE
                        MOTION TO FILE UNDER SEAL RE: 627 &
                        628 . Signed by Magistrate Judge Jacqueline
                        Scott Corley on 6/22/2017. (ahm, COURT
                        STAFF) (Filed on 6/23/2017) (Entered:
                        06/23/2017)
 06/23/2017               (Court only) Per docket no. 670

                          ***Motions terminated: 581 Discovery Letter
                          Brief to Quash Waymo's Subpoena to Stroz
                          Friedberg LLC filed by Uber Technologies, Inc.,
                          Ottomotto LLC, 580 Discovery Letter Brief Re:
                          Motion to Quash Subpoena on Non-Party Stroz
                          Friedberg, LLC filed by Otto Trucking LLC, 570
                          Discovery Letter Briefre: Motion to Compel
                          Production of Documents in Response to



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                          Subpoena to Stroz Friedberg filed by Waymo
                          LLC, 616 Discovery Letter Brief in Opposition to
                          Waymo's Motion to Compel Stroz Friedberg LLC
                          to Produce Documents in Response to Waymo
                          Subpoena filed by Uber Technologies, Inc.,
                          Ottomotto LLC, 583 Discovery Letter Briefto
                          Quash Waymo's Subpoena to Stroz Friedberg
                          filed by Anthony Levandowski, 652 Discovery
                          Letter Brief in Reply to Waymo's Opposition to
                          Motion to Quash Portions of Subpoena to Stroz
                          Friedberg filed by Anthony Levandowski, 614
                          Discovery Letter Brief Stroz Freidberg Response
                          to Waymo Motion to Compel Production of
                          Documents in Response to Subpoena to Stroz
                          Friedberg (Docket No. 570) filed by Stroz
                          Friedberg, LLC, 610 Discovery Letter Brief in
                          Opposition to Waymo's Motion to Compel Stroz
                          Subpoena filed by Anthony Levandowski, 617
                          Discovery Letter Brief Re: Otto Trucking's
                          Opposition to Waymo's Motion to Compel
                          Production of Documents in Response to
                          Subpoena on Stroz Friedberg LLC 570 filed by
                          Otto Trucking LLC. (ahm, COURT STAFF)
                          (Filed on 6/23/2017) (Entered: 06/23/2017)
 06/23/2017         707 ORDER by Magistrate Judge Jacqueline Scott
                        Corley granting in part and denying in part
                        515 Administrative Motion to File Under Seal;
                        granting in part and denying in part 526
                        Administrative Motion to File Under Seal;
                        granting in part and denying in part 529
                        Motion to Strike. (ahm, COURT STAFF)
                        (Filed on 6/23/2017) (Entered: 06/23/2017)
 06/23/2017         708 Minute Entry for proceedings held before
                        Magistrate Judge Jacqueline Scott Corley:
                        Discovery Hearing held on 6/23/2017. Court to



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                          issue written order. (Court Reporter: JoAnn
                          Bryce)(Time: 1:15)

                          Special Master: John Cooper
                          Attorneys for Plaintiff: Charles Verhoeven;
                          David Perlson; Lindsay Cooper
                          Attorneys for Defendants: Martha Goodman;
                          Karen Dunn; Sylvia Rivera; Neel Chatterjee

                          This is a text-only Minute Entry (ahm,
                          COURT STAFF) (Date Filed: 6/23/2017)
                          (Entered: 06/23/2017)
 06/23/2017         709 NOTICE of Appearance by Aaron James
                        Bergstrom for Uber Technologies, Inc. and
                        Ottomotto LLC (Bergstrom, Aaron) (Filed on
                        6/23/2017) (Entered: 06/23/2017)
 06/23/2017         710 TRANSCRIPT ORDER for proceedings held on
                        06/23/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Waymo LLC, for Court Reporter
                        Jo Ann Bryce. (Perlson, David) (Filed on
                        6/23/2017) (Entered: 06/23/2017)
 06/23/2017         711 TRANSCRIPT ORDER for proceedings held on
                        6/23/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Ottomotto LLC, Uber
                        Technologies, Inc., for Court Reporter Jo Ann
                        Bryce. (Goodman, Martha) (Filed on 6/23/2017)
                        (Entered: 06/23/2017)
 06/23/2017         712 RESPONSE to re 426 Order, Notice of Lodgment
                        of Chronological Communications Logs Pursuant
                        to Paragraph 5 of This Court's Order Granting in
                        Part and Denying in Part Plaintiff's Motion for
                        Provisional Relief by Ottomotto LLC, Uber
                        Technologies, Inc.. (Bergstrom, Aaron) (Filed on
                        6/23/2017) (Entered: 06/23/2017)




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 06/23/2017         713 TRANSCRIPT ORDER for proceedings held on
                        06/23/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Anthony Levandowski, for Court
                        Reporter Jo Ann Bryce. (Ramsey, Ismail) (Filed
                        on 6/23/2017) (Entered: 06/23/2017)
 06/23/2017         714 NOTICE by Otto Trucking LLC re 471 Order,,
                        Set Motion and Deadlines/Hearings, (Defendant
                        Otto Trucking LLC's Summary of Actions Taken)
                        (Attachments: # 1 Exhibit A-D Summary of
                        Compliance)(Chatterjee, Indra) (Filed on
                        6/23/2017) (Entered: 06/23/2017)
 06/23/2017         715 RESPONSE to re 426 Order, Defendants Uber
                        Technologies, Inc. and Ottomotto LLCs
                        Accounting Pursuant to Paragraph Four of May
                        11, 2017 Preliminary Injunction Order by
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Exhibit A)(Bergstrom, Aaron)
                        (Filed on 6/23/2017) (Entered: 06/23/2017)
 06/23/2017         716 TRANSCRIPT ORDER for proceedings held on
                        6/23/2017 before Magistrate Judge Jacqueline
                        Scott Corley by Otto Trucking LLC, for Court
                        Reporter Jo Ann Bryce. (Chatterjee, Indra) (Filed
                        on 6/23/2017) (Entered: 06/23/2017)
 06/23/2017         717 NOTICE by Otto Trucking LLC re 471 Order,,
                        Set Motion and Deadlines/Hearings, (Defendant
                        Otto Trucking LLC's Summary of Actions Taken)
                        (Attachments: # 1 Exhibit A-D Summary of
                        Compliance)(Chatterjee, Indra) (Filed on
                        6/23/2017) (Entered: 06/23/2017)
 06/23/2017         718 RESPONSE to re 679 Order, Set Deadlines
                        Deposition Dates for Uber Witnesses Pursuant to
                        Docket No. 679 by Ottomotto LLC, Uber
                        Technologies, Inc.. (Gonzalez, Arturo) (Filed on
                        6/23/2017) (Entered: 06/23/2017)


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 06/23/2017         719 NOTICE OF APPEAL to the Federal Circuit as to
                        685 Order on Motion for Miscellaneous Relief,,
                        by Anthony Levandowski. Filing fee $ 505,
                        receipt number 0971-11496197. Appeal Record
                        due by 7/24/2017. (Ramsey, Ismail) (Filed on
                        6/23/2017) (Additional attachment(s) added on
                        6/26/2017: # 1 Information Sheet Federal Circuit,
                        # 2 Notice of Appeal Federal Circuit, # 3 Docket
                        Sheet Federal Circuit, # 4 Order Federal Circuit)
                        (aaaS, COURT STAFF). (Entered: 06/23/2017)
 06/23/2017         720 CERTIFICATE OF SERVICE by Ottomotto
                        LLC, Uber Technologies, Inc. re 712 Response
                        ( Non Motion ), Chronological Communications
                        Logs Pursuant to Paragraph 5 of This Court's
                        Order Granting in Part and Denying in Part
                        Plaintiff's Motion for Provisional Relief
                        (Bergstrom, Aaron) (Filed on 6/23/2017)
                        (Entered: 06/23/2017)
 06/23/2017         721 ORDER by Magistrate Judge Jacqueline Scott
                        Corley granting in part and denying in part
                        595 Administrative Motion to File Under Seal;
                        granting in part and denying in part 596
                        Discovery Letter Brief. (ahm, COURT STAFF)
                        (Filed on 6/23/2017) (Entered: 06/23/2017)
 06/23/2017         722 TRANSCRIPT ORDER for proceedings held on
                        June 23, 2017 before Magistrate Judge Jacqueline
                        Scott Corley by John Lee Cooper, for Court
                        Reporter Jo Ann Bryce. (Cooper, John) (Filed on
                        6/23/2017) (Entered: 06/23/2017)
 06/23/2017         723 Statement re 702 Statement, 699 Response ( Non
                        Motion ) Plaintiff Waymo's Second Supplemental
                        Submission in Connection with its Response to
                        Second Order re Scheduling of Depositions by
                        Waymo LLC. (Verhoeven, Charles) (Filed on



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                          6/23/2017) (Entered: 06/23/2017)
 06/23/2017         724 RESPONSE to re 670 Order Non-Party
                        Levandowski's Request for Clarification by
                        Anthony Levandowski. (Ramsey, Ismail) (Filed
                        on 6/23/2017) (Entered: 06/23/2017)
 06/23/2017         725 ORDER SETTING DEPOSITIONS (re 698
                        699 700 ). Signed by Judge Alsup on 6/23/2017.
                        (whalc2, COURT STAFF) (Filed on 6/23/2017)
                        (Entered: 06/23/2017)
 06/23/2017         726 MOTION & [PROPOSED] ORDER Relief from
                        Nondispositive Pretrial Order of Magistrate Judge
                        Corley re 670 Order filed by Anthony
                        Levandowski. Responses due by 7/7/2017.
                        Replies due by 7/14/2017. (Ramsey, Ismail)
                        (Filed on 6/23/2017) Modified on 6/26/2017
                        (aaaS, COURT STAFF). (Entered: 06/23/2017)
 06/23/2017         727 MOTION for Relief from Nondispositive Pretrial
                        Order of Magistrate Judge re 670 Order filed by
                        Ottomotto LLC, Uber Technologies, Inc..
                        Responses due by 7/7/2017. (Attachments: # 1
                        Proposed Order)(Dunn, Karen) (Filed on
                        6/23/2017) (Entered: 06/23/2017)
 06/23/2017         728 NOTICE of Appearance by Jonathan Alan
                        Patchen (Patchen, Jonathan) (Filed on 6/23/2017)
                        (Entered: 06/23/2017)
 06/23/2017         729 MOTION to Intervene and Motion for Relief filed
                        by Lior Ron. Responses due by 7/7/2017. Replies
                        due by 7/14/2017. (Attachments: # 1 Declaration
                        of Jonathan A. Patchen, # 2 Declaration of Lior
                        Ron, # 3 Proposed Order)(Patchen, Jonathan)
                        (Filed on 6/23/2017) (Entered: 06/23/2017)
 06/23/2017         730 MOTION for Relief from Nondispositive Pretrial
                        Order of Magistrate Judge re 670 Order filed by


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                          Stroz Friedberg, LLC. Responses due by
                          7/7/2017. Replies due by 7/14/2017.
                          (Attachments: # 1 Proposed Order)(Ellis, Robert)
                          (Filed on 6/23/2017) (Entered: 06/23/2017)
 06/23/2017               (Court only) *** Attorney Angela Lucia
                          Padilla,Nicole Townsend Bartow for Ottomotto
                          LLC,Angela Lucia Padilla,Nicole Townsend
                          Bartow for Uber Technologies, Inc. added. Re
                          709 Notice (aaaS, COURT STAFF) (Filed on
                          6/23/2017) (Entered: 06/26/2017)
 06/26/2017         731 ORDER RE: UBER PRIVILEGE LOG.
                        Signed by Magistrate Judge Jacqueline Scott
                        Corley on 6/26/2017. (ahm, COURT STAFF)
                        (Filed on 6/26/2017) (Entered: 06/26/2017)
 06/26/2017         732 CLERK'S NOTICE : Sent PDF Attachments by
                        E-Mail. Case Information Sheet; 719 Notice of
                        Appeal; Civil Docket Sheet; 685 Order; to the
                        California Appeals for Federal Circuit. Re 719
                        Notice of Appeals. (Attachments: # 1 Notice of
                        Appeal, # 2 Docket Sheet, # 3 Order) (aaaS,
                        COURT STAFF) (Filed on 6/26/2017) (Entered:
                        06/26/2017)
 06/26/2017         733 Letter Brief Requesting Permission to File a
                        Motion for Summary Judgment filed byOtto
                        Trucking LLC. (Chatterjee, Indra) (Filed on
                        6/26/2017) (Entered: 06/26/2017)
 06/26/2017         734 Transcript of Proceedings held on 6/23/17, before
                        Magistrate Judge Jacqueline Scott Corley. Court
                        Reporter Jo Ann Bryce, telephone number 510-
                        910-5888, joann_bryce@cand.uscourts.gov. Per
                        General Order No. 59 and Judicial Conference
                        policy, this transcript may be viewed only at the
                        Clerk's Office public terminal or may be
                        purchased through the Court Reporter until the


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                          deadline for the Release of Transcript Restriction
                          after 90 days. After that date, it may be obtained
                          through PACER. Any Notice of Intent to Request
                          Redaction, if required, is due no later than 5
                          business days from date of this filing. (Re 710
                          Transcript Order ) Release of Transcript
                          Restriction set for 9/25/2017. (Related documents
                          (s) 710 ) (jabS, COURTSTAFF) (Filed on
                          6/26/2017) (Entered: 06/26/2017)
 06/26/2017               (Court only) TRANSCRIPT COPY DELIVERED
                          re 716 Transcript Order, 711 Transcript Order,
                          713 Transcript Order, 722 Transcript Order
                          (Related documents(s) 716 , 711 , 713 , 722 )
                          (jabS, COURTSTAFF) (Filed on 6/26/2017)
                          (Entered: 06/26/2017)
 06/26/2017         735 ORDER RE RESPONSE TO 733 OTTO
                        TRUCKING'S REQUEST FOR
                        PERMISSION TO MOVE FOR SUMMARY
                        JUDGMENT. Signed by Judge Alsup on
                        6/26/2017. (whalc2, COURT STAFF) (Filed on
                        6/26/2017) (Entered: 06/26/2017)
 06/26/2017         736 Declaration of Lindsay Cooper in Support of 684
                        Administrative Motion to File Under Seal
                        Exhibits to Defendants' Motion to Compel
                        Responses to Interrogatories and Production of
                        Documents filed byWaymo LLC. (Related
                        document(s) 684 ) (Verhoeven, Charles) (Filed on
                        6/26/2017) (Entered: 06/26/2017)
 06/26/2017         737 EXHIBITS re 684 Administrative Motion to File
                        Under Seal Exhibits to Defendants' Motion to
                        Compel Responses to Interrogatories and
                        Production of Documents Exhibit 3 (Sealed) filed
                        byWaymo LLC. (Attachments: # 1 Exhibit 3
                        (Redacted), # 2 Exhibit 6 (Sealed), # 3 Exhibit 6



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                          (Redacted))(Related document(s) 684 )
                          (Verhoeven, Charles) (Filed on 6/26/2017)
                          (Entered: 06/26/2017)
 06/26/2017         738 Declaration of Hayes P. Hyde in Support of 666
                        Administrative Motion to File Under Seal
                        Waymo's Reply in Support of its Motion to
                        Compel Regarding Privilege Issues filed byOtto
                        Trucking LLC. (Related document(s) 666 )
                        (Hyde, Hayes) (Filed on 6/26/2017) (Entered:
                        06/26/2017)
 06/26/2017         739 Declaration of Hayes P. Hyde in Support of 676
                        Administrative Motion to File Under Seal filed
                        byOtto Trucking LLC. (Related document(s)
                        676 ) (Hyde, Hayes) (Filed on 6/26/2017)
                        (Entered: 06/26/2017)
 06/26/2017         740 Declaration of Hayes P. Hyde in Support of 681
                        Administrative Motion to File Under Seal
                        Portions of Letter Brief Regarding Waymo LLC's
                        Motion to Compel filed byOtto Trucking LLC.
                        (Related document(s) 681 ) (Hyde, Hayes) (Filed
                        on 6/26/2017) (Entered: 06/26/2017)
 06/26/2017         741 EXHIBITS re 681 Administrative Motion to File
                        Under Seal Portions of Letter Brief Regarding
                        Waymo LLC's Motion to Compel --Declaration of
                        Michelle Yang in Support of Plaintiff's
                        Administrative Motion to File Under Seal filed
                        byOttomotto LLC, Uber Technologies, Inc..
                        (Attachments: # 1 Revised unredacted version of
                        Waymo's Discovery Letter Brief [681-3], # 2
                        Revised unredacted version of Ex. 3 [681-9], # 3
                        Revised unredacted version of Ex. 7 [681-12], # 4
                        Revised unredacted version of Ex. 8 [681-13], # 5
                        Revised unredacted version of Ex. 13 [681-15], #
                        6 Revised unredacted version of Ex. 16 [681-16])



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                          (Related document(s) 681 ) (Gonzalez, Arturo)
                          (Filed on 6/26/2017) (Entered: 06/26/2017)
 06/27/2017         742 ORDER by Magistrate Judge Jacqueline Scott
                        Corley denying 582 Administrative Motion to
                        File Under Seal. (ahm, COURT STAFF) (Filed
                        on 6/27/2017) (Entered: 06/27/2017)
 06/27/2017         743 ORDER GRANTING IN PART AND
                        DENYING IN PART ADMINISTRATIVE
                        MOTION TO FILE UNDER SEAL. Signed by
                        Magistrate Judge Jacqueline Scott Corley on
                        6/27/2017. (ahm, COURT STAFF) (Filed on
                        6/27/2017) (Entered: 06/27/2017)
 06/27/2017         744 ORDER by Magistrate Judge Jacqueline Scott
                        Corley granting in part and denying in part
                        657 Administrative Motion to File Under Seal.
                        (ahm, COURT STAFF) (Filed on 6/27/2017)
                        (Entered: 06/27/2017)
 06/27/2017         745 ORDER DENYING 726 727 729 730
                        MOTIONS FOR RELIEF FROM 670 JUDGE
                        CORLEY'S NONDISPOSITIVE PRETRIAL
                        ORDER RE SUBPOENA TO STROZ
                        FRIEDBERG by Judge Alsup. (whalc2,
                        COURT STAFF) (Filed on 6/27/2017)
                        (Entered: 06/27/2017)
 06/27/2017         746 OPPOSITION/RESPONSE (re 687 Discovery
                        Letter Brief re Defendants' Motion to Compel
                        Responses to Interrogatories and Requests for
                        Production of Documents ) filed byWaymo LLC.
                        (Attachments: # 1 Declaration of Jeff Nardinelli,
                        # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5
                        Exhibit 4, # 6 Exhibit 5)(Verhoeven, Charles)
                        (Filed on 6/27/2017) (Entered: 06/27/2017)
 06/27/2017         747 Discovery Letter Brief(Otto Trucking's



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                          Opposition to Waymo LLC's Letter Brief in
                          Support of Waymo LLC's Motion to Compel
                          Against Defendant Otto Trucking LLC and
                          Defendants Uber Technologies, Inc. and
                          Ottomotto LLC) filed by Otto Trucking LLC.
                          (Attachments: # 1 Declaration of Non-Party Lior
                          Ron)(Chatterjee, Indra) (Filed on 6/27/2017)
                          (Entered: 06/27/2017)
 06/27/2017         748 Administrative Motion to File Under Seal
                        Defendants Uber and Ottomotto's Opposition to
                        Waymo's Letter Brief in Support of Motion to
                        Compel filed by Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Declaration
                        of Michelle Yang, # 2 Proposed Order, # 3
                        Unredacted Version of Ex. 3 (FILED ENTIRELY
                        UNDER SEAL), # 4 Redacted Version of Ex. 4, #
                        5 Unredacted Version of Ex. 4, # 6 Redacted
                        Version of Ex. 5, # 7 Unredacted Version of Ex.
                        5, # 8 Redacted Version of Ex. 6, # 9 Unredacted
                        Version of Ex. 6, # 10 Redacted Version of Ex. 7,
                        # 11 Unredacted Version of Ex. 7, # 12 Redacted
                        Version of Defendants' Opposition to Waymo's
                        Motion to Compel, # 13 Unredacted Version of
                        Defendants' Opposition to Waymo's Motion to
                        Compel)(Gonzalez, Arturo) (Filed on 6/27/2017)
                        (Entered: 06/27/2017)
 06/27/2017         749 Discovery Letter Briefin Opposition to 682
                        Waymo's Letter Brief in Support of Motion to
                        Compel filed by Ottomotto LLC, Uber
                        Technologies, Inc.. (Attachments: # 1 Exhibit 1, #
                        2 Exhibit 2, # 3 Exhibit 3 (REDACTED), # 4
                        Exhibit 4 (REDACTED), # 5 Exhibit 5
                        (REDACTED), # 6 Exhibit 6 (REDACTED), # 7
                        Exhibit 7 (REDACTED), # 8 Declaration of
                        Kevin Faulkner)(Gonzalez, Arturo) (Filed on



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                          6/27/2017) (Entered: 06/28/2017)
 06/28/2017         750 CERTIFICATE OF SERVICE by Ottomotto
                        LLC, Uber Technologies, Inc. re 748
                        Administrative Motion to File Under Seal
                        Defendants Uber and Ottomotto's Opposition to
                        Waymo's Letter Brief in Support of Motion to
                        Compel (Gonzalez, Arturo) (Filed on 6/28/2017)
                        (Entered: 06/28/2017)
 06/28/2017         751 Administrative Motion to File Under Seal filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Patrick Schmidt ISO Admin. Mot. to File Under
                        Seal, # 2 Proposed Order Granting Admin. Mot.
                        to File Under Seal, # 3 Response to Otto Trucking
                        LLC's Request to File a Motion for Summary
                        Judgment [Redacted], # 4 Response to Otto
                        Trucking LLC's Request to File a Motion for
                        Summary Judgment [Unredacted])(Verhoeven,
                        Charles) (Filed on 6/28/2017) (Entered:
                        06/28/2017)
 06/28/2017         752 RESPONSE to Otto Trucking LLC's 733 Request
                        to File a Motion for Summary Judgment by
                        Waymo LLC. (Verhoeven, Charles) (Filed on
                        6/28/2017) Modified on 6/29/2017 (aaaS,
                        COURT STAFF). (Entered: 06/28/2017)
 06/28/2017         753 CERTIFICATE OF SERVICE by Waymo LLC
                        re 751 Administrative Motion to File Under Seal
                        (proof of service of unredacted filings)
                        (Verhoeven, Charles) (Filed on 6/28/2017)
                        (Entered: 06/28/2017)
 06/28/2017         754 Administrative Motion to File Under Seal
                        Waymo's Response to the Court's Order of
                        Conference to Frame in Limine Motions filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Lindsay Cooper in Support of Waymo's


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                          Administrative Motion to Seal, # 2 Proposed
                          Order, # 3 Unredacted Version of Waymo's
                          Response to the Court's Order of Conference to
                          Frame in Limine Motions, # 4 Public Redacted
                          Version of Waymo's Response to the Court's
                          Order of Conference to Frame in Limine
                          Motions)(Verhoeven, Charles) (Filed on
                          6/28/2017) (Entered: 06/28/2017)
 06/28/2017         755 RESPONSE to re 693 Order, 664 Order
                        Defendants Uber Technologies, Inc., Ottomotto
                        LLCs, and Otto Trucking LLCs Response to the
                        Courts Ten Questions (Dkts. 664, 693) by Otto
                        Trucking LLC, Ottomotto LLC, Uber
                        Technologies, Inc.. (Dunn, Karen) (Filed on
                        6/28/2017) (Entered: 06/28/2017)
 06/28/2017         756 RESPONSE to re 664 Order Waymo's Response
                        to the Court's Order of Conference to Frame in
                        Limine Motions by Waymo LLC. (Verhoeven,
                        Charles) (Filed on 6/28/2017) (Entered:
                        06/28/2017)
 06/28/2017         757 CERTIFICATE OF SERVICE by Waymo LLC
                        re 754 Administrative Motion to File Under Seal
                        Waymo's Response to the Court's Order of
                        Conference to Frame in Limine Motions
                        (Verhoeven, Charles) (Filed on 6/28/2017)
                        (Entered: 06/28/2017)
 06/28/2017         758 NOTICE of Appearance by Hong-An Vu (Vu,
                        Hong-An) (Filed on 6/28/2017) (Entered:
                        06/28/2017)
 06/28/2017         759 NOTICE of Appearance by James Lin (Lin,
                        James) (Filed on 6/28/2017) (Entered:
                        06/28/2017)
 06/28/2017         760 NOTICE of Appearance by Angela Lucia Padilla



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                          for Defendants Uber Technologies, Inc. and
                          Ottomotto LLC (Padilla, Angela) (Filed on
                          6/28/2017) (Entered: 06/28/2017)
 06/28/2017         761 NOTICE of Appearance by Nicole Townsend
                        Bartow for Defendants Uber Technologies, Inc.
                        and Ottomotto LLC (Bartow, Nicole) (Filed on
                        6/28/2017) (Entered: 06/28/2017)
 06/28/2017         762 RESPONSE to re 715 Response ( Non Motion ),
                        426 Order, Defendants Uber Technologies, Inc.
                        and Ottomotto LLCS Supplemental Accounting
                        Pursuant to Paragraph Four of May 11, 2017
                        Preliminary Injunction Order by Ottomotto LLC,
                        Uber Technologies, Inc.. (Attachments: # 1
                        Exhibit A)(Bergstrom, Aaron) (Filed on
                        6/28/2017) (Entered: 06/28/2017)
 06/28/2017         763 EXHIBITS re 684 Administrative Motion to File
                        Under Seal Exhibits to Defendants' Motion to
                        Compel Responses to Interrogatories and
                        Production of Documents --Defendants'
                        AMENDED Administrative Motion to File Under
                        Seal Exhbits to Their Motion to Compel
                        Responses to Interrogatories and Requests for
                        Production of Documents filed byOttomotto LLC,
                        Uber Technologies, Inc.. (Attachments: # 1
                        Declaration of Michelle Yang in Support of
                        Amended Administrative Motion to File Under
                        Seal, # 2 Proposed Order, # 3 Revised Redacted
                        Version of Yang Decl. Ex. 15, # 4 Revised
                        Unredacted Version of Yang Decl. Ex. 15)
                        (Related document(s) 684 ) (Gonzalez, Arturo)
                        (Filed on 6/28/2017) (Entered: 06/28/2017)
 06/29/2017         764 ORDER DENYING 733 OTTO TRUCKING'S
                        REQUEST FOR PERMISSION TO MOVE
                        FOR SUMMARY JUDGMENT. Signed by



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                          Judge Alsup on 6/29/2017. (whalc2S, COURT
                          STAFF) (Filed on 6/29/2017) (Entered:
                          06/29/2017)
 06/29/2017         765 NOTICE OF APPEAL to the Federal Circuit as to
                        745 Order on Motion for Miscellaneous Relief,,
                        Order on Motion to Intervene, by Anthony
                        Levandowski. Filing fee $ 505, receipt number
                        0971-11509410. Appeal Record due by
                        7/31/2017. (Ramsey, Ismail) (Filed on 6/29/2017)
                        (Entered: 06/29/2017)
 06/29/2017         766 Minute Entry for proceedings held before Hon.
                        William Alsup: Further Case Management
                        Conference re frame of motions in limine held
                        on 6/29/2017. Parties must submit a
                        memorandum up to 10 pages, addressing what
                        motions in limine need to be resolved prior to
                        trial, no later than July 10, 2017, at Noon.

                          Total Time in Court: 2 hours 17 minutes.
                          Court Reporter: Lydia Zinn. Plaintiff
                          Attorneys: Charles Verhoeven; Lindsay
                          Cooper; Jordan Jaffe; David Perlson; James
                          Judah. Defendant Attorneys: Karen Dunn;
                          Meredith Dearborn; Esther Chang; Wendy
                          Ray; Rudy Kim; Neel Chatterjee. Special
                          Master: John Cooper. This is a text-only
                          Minute Entry (tmiS, COURT STAFF) (Date
                          Filed: 6/29/2017) (Entered: 06/29/2017)
 06/29/2017         767 TRANSCRIPT ORDER for proceedings held on
                        06/29/2017 before Hon. William Alsup by
                        Waymo LLC, for Court Reporter Lydia Zinn.
                        (Perlson, David) (Filed on 6/29/2017) (Entered:
                        06/29/2017)
 06/29/2017         768 TRANSCRIPT ORDER for proceedings held on



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                          6/29/2017 before Hon. William Alsup by
                          Ottomotto LLC, Uber Technologies, Inc., for
                          Court Reporter Lydia Zinn. (Dunn, Karen) (Filed
                          on 6/29/2017) (Entered: 06/29/2017)
 06/29/2017         769 RESPONSE to re 697 Order, 669 Order Uber's
                        List of Opinions for Case-In-Chief at Trial by
                        Ottomotto LLC, Uber Technologies, Inc..
                        (Gonzalez, Arturo) (Filed on 6/29/2017) (Entered:
                        06/29/2017)
 06/29/2017         770 Statement re 669 Order Regarding List of
                        Opinions and Other Scientific, Technical, or
                        Specialized Witness Testimony by Waymo LLC.
                        (Verhoeven, Charles) (Filed on 6/29/2017)
                        (Entered: 06/29/2017)
 06/29/2017         771 Statement re 697 Order, 669 Order (Defendant
                        Otto Trucking LLC's Statement Regarding Order
                        Requiring Lists of Opinions for Cases-In-Chief at
                        Trial) by Otto Trucking LLC. (Chatterjee, Indra)
                        (Filed on 6/29/2017) (Entered: 06/29/2017)
 06/29/2017         772 TRANSCRIPT ORDER for proceedings held on
                        June 29, 2017 before Hon. William Alsup by
                        John Lee Cooper, for Court Reporter Lydia Zinn.
                        (Cooper, John) (Filed on 6/29/2017) (Entered:
                        06/29/2017)
 06/29/2017         773 TRANSCRIPT ORDER for proceedings held on
                        6/29/2017 before Hon. William Alsup by Otto
                        Trucking LLC, for Court Reporter Lydia Zinn.
                        (Chatterjee, Indra) (Filed on 6/29/2017) (Entered:
                        06/29/2017)
 06/29/2017         774 CLERK'S NOTICE: A further settlement
                        conference is set for 7/6/2017 09:30 AM in
                        Courtroom E, 15th Floor, San Francisco. The
                        parties shall deliver updated settlement



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                          conference documents directly to Magistrate
                          Judge Laporte's chambers no later than 4:00 p.m.
                          on 7/3/2017. Defendant Otto Trucking shall be on
                          telephone standby during these proceedings. (This
                          is a text-only entry generated by the court. There
                          is no document associated with this entry.) (shyS,
                          COURT STAFF) (Filed on 6/29/2017) (Entered:
                          06/29/2017)
 06/29/2017         775 Transcript of Proceedings held on 6/29/2017,
                        before Judge William Alsup. Court
                        Reporter/Transcriber Lydia Zinn, telephone
                        number (415) 531-6587. Per General Order No.
                        59 and Judicial Conference policy, this transcript
                        may be viewed only at the Clerk's Office public
                        terminal or may be purchased through the Court
                        Reporter/Transcriber until the deadline for the
                        Release of Transcript Restriction. After that date
                        it may be obtained through PACER. Any Notice
                        of Intent to Request Redaction, if required, is due
                        no later than 5 business days from date of this
                        filing. (Re 768 Transcript Order, 773 Transcript
                        Order, 772 Transcript Order, 767 Transcript
                        Order ) Redacted Transcript Deadline set for
                        7/31/2017. Release of Transcript Restriction set
                        for 9/27/2017. (Related documents(s) 768 , 773 ,
                        772 , 767 ) (Zinn, Lydia) (Filed on 6/29/2017)
                        (Entered: 06/29/2017)
 06/29/2017         776 Declaration of Lindsay Cooper in Support of 748
                        Administrative Motion to File Under Seal
                        Defendants Uber and Ottomotto's Opposition to
                        Waymo's Letter Brief in Support of Motion to
                        Compel filed byWaymo LLC. (Related document
                        (s) 748 ) (Verhoeven, Charles) (Filed on
                        6/29/2017) (Entered: 06/29/2017)
 06/29/2017         777 EXHIBITS re 748 Administrative Motion to File


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                          Under Seal Defendants Uber and Ottomotto's
                          Opposition to Waymo's Letter Brief in Support of
                          Motion to Compel Redacted Version of
                          Defendants' Opposition to Waymo's Motion To
                          Compel Production of Documents and Responses
                          to Expedited Interrogatories filed byWaymo
                          LLC. (Attachments: # 1 Unredacted Version of
                          Defendants' Opposition to Waymo's Motion To
                          Compel Production of Documents and Responses
                          to Expedited Interrogatories)(Related document
                          (s) 748 ) (Verhoeven, Charles) (Filed on
                          6/29/2017) (Entered: 06/29/2017)
 06/29/2017         778 Administrative Motion to File Under Seal filed by
                        Waymo LLC. (Attachments: # 1 Declaration of
                        Patrick Schmidt ISO Admin Mot. to File Under
                        Seal, # 2 Proposed Order Granting Admin Mot. to
                        File Under Seal, # 3 Motion for Relief from Non-
                        Dispositive Pretrial Order [REDACTED], # 4
                        Motion for Relief from Non-Dispositive Pretrial
                        Order [UNREDACTED], # 5 Proposed Order
                        Granting Motion for Relief from Non-Dispositive
                        Pretrial Order)(Verhoeven, Charles) (Filed on
                        6/29/2017) (Entered: 06/29/2017)
 06/29/2017         779 MOTION for Relief from Non-Dispositive
                        Pretrial Order of Magistrate Judge re 731 Order
                        on Discovery Letter Brief, filed by Waymo LLC.
                        Responses due by 7/13/2017. Replies due by
                        7/20/2017. (Attachments: # 1 Proposed Order
                        Granting Motion for Relief from Non-Dispositive
                        Pretrial Order of Magistrate Judge)(Verhoeven,
                        Charles) (Filed on 6/29/2017) (Entered:
                        06/29/2017)
 06/29/2017         780 CERTIFICATE OF SERVICE by Waymo LLC
                        re 778 Administrative Motion to File Under Seal
                        (POS of unredacted filings) (Verhoeven, Charles)


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